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 6

 7                  United States District Court In and For The
                         Western District of Washington
 8

 9    Jerry Hoang et al.,                               Case No.: 2:17-cv-00874-JLR
                                                        Honorable James L. Robart
10
                              Plaintiffs,
                                                        Amended Verified Complaint
11
                    v.                                  for Declaratory Judgement
12                                                      and to Enforce Recission
                                                        Under TILA and
13    Bank of America, N.A. et al.,                     Washington’s Tender Laws,
                                                        RCW 62A.3-603 (a), (b), and (c)
14

15                            Defendants.                           Jury Demand

16

17
              Plaintiffs, Hoang and Le Uyen Thi Nguyen (Plaintiffs) complain against all Defendants
18
      as follows:
19
                                            I. Introduction
20
      1.1.   This action is to declare the consequences of Plaintiffs’ rescission of their home loan un-
21
      der the Truth in Lending Act (TILA), 15 U.S.C. 1601, et seq; specifically, 15 U.S.C. § 1635 and
22
      12 CFR § 1206 as an event which has already occurred under the Supreme Court’s unanimous
23
      decision in Jesinoski v. Countrywide Home Loans, Inc., 574 U.S. 259, 135 S. Ct. 790, 190 L.Ed.2d
24
      650 (2015). Further, to declare that Defendants cannot seek a judicial undoing of this rescission
25
      years after it has occurred as a means of avoiding the remedy the political branches intended to
26
      provide borrowers and society generally, including specifically Plaintiffs, for the banking
27
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 1   industries past bad practices.

 2   1.2.   This complaint requests a declaratory judgment that judicial officer James L. Robart is

 3   not qualified to act as an Article III judge exercising the judicial power of the Federal District

 4   Court for the Western District of Washington, a court within the Judicial Department of the

 5   United States (which is one of the three branches of the federal government) without the con-

 6   sent of the parties.

 7   1.3.   Additionally, this complaint requests declaratory relief that lower federal courts are re-

 8   quired to resolve cases based on the presentation of the parties in accordance with the
 9   precedential rulings of the Supreme Court (in this case Jesinowski, supra.), by following the laws
10   enacted by the political branches of both the federal government and Washington’s government.

11   1.4.   Additionally, this complaint seeks that legal and/or equitable relief which is set forth in

12   the Prayer for Relief section of this Amended Complaint.

13   1.5.   Additionally, this complaint seeks that legal and/or equitable relief which is set forth in

14   the Prayer for Relief section of this Amended Complaint.

15                                           II. Parties
16   2.1. Plaintiffs are citizens of the State of Washington and bring this action to declare the effect

17   of their TILA rescission under the facts of this case. Plaintiffs Hoang and Nyguen are natural

18   persons who at all times relevant to this amended complaint have been the fee simple owners of

19   the real property located at 13522 43rd Avenue, South Tukwila, WA. 98168, parcel ID #

20   261320015606, having the legal description of:

21                 Lot 3, City of Tukwila Short Plat L1-033
                   Recorded Under Recording No. 20040212900003,
22                 In King County, Washington

23   2.2. Defendant Bank of America N.A. (hereafter referred to individually as BANA) is a
24   national bank organized and existing under the laws of the United States with its head-
25   quarters and principal place of business located at 101 South Tryon St., North Carolina,
26   29202.
27
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 1       2.3. BANA was the original Lender and Servicer of this loan. Because BANA recorded

 2       in King County land records that its purported interests in that loan had been transferred

 3       to Defendant BAC Home Loans Servicing (BAC) it is not clear what, if any, interests

 4       BANA had in the Plaintiffs’ home loan at the time it received Plaintiffs’ notice of rescission.

 5       2.4. Plaintiffs do not know, and for that reason dispute that BANA continues to be the

 6       servicer of their loan for purposes of enforcing the note and foreclosing on their property

 7       pursuant to the standing requirements of Article III to the United States Constitution.

 8       Furthermore, Plaintiffs also assert that BANA can have no interest in the security agree-
 9       ment which has been voided as a matter of law by TILA and its implementing regulations.
10       2.5. Defendant, Federal National Mortgage Association (hereafter referred to individ-
11       ually as “Fannie Mae”) is a federally chartered corporation organized and existing under
12       the laws of the United States with its headquarters and principal place of business located
13       at 13100 Worldgate Drive, Herndon, Virginia 20170. Plaintiffs understand that Fannie
14       Mae claims to have been the past owner of Plaintiffs’ home loan, loan number
15       #220344064, at the time the rescission described herein was accomplished.
16       2.6. Plaintiffs do not know, and for that reason dispute that Fannie Mae continues to be
17       the owner of their note instrument for purposes of enforcing the note and foreclosing on
18       their property pursuant to the standing requirements of Article III to the United States

19       Constitution.

20       2.7. Plaintiffs are not sure whether Defendant Mortgage Electronic Registration Sys-

21       tem (hereafter referred to individually as “MERS”) continues to exist. 1

22       2.8. In a recent corporate disclosure statement filed by MERS in Luong v. Mortgage Elec-

23       tronic Registration Systems Inc (MERS) et al., 2:2019cv01923 (RSM) MERS’ purported

24       attorneys state:

25             Pursuant to Fed. R. Civ. P. 7.1(a), Defendant Mortgage Electronic Registration
               Systems Inc. (“MERS”), by and through its attorneys of record, hereby certifies as
26
     1
         See e.g., Wikipedia at: https://en.wikipedia.org/wiki/Mortgage_Electronic_Registration_Systems
27
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               follows: MERS is a non-governmental corporation organized and existing under the
 1             laws of the State of Delaware, with its principal place of business in Reston, Virginia.
 2       2.9. In any event MERS citizenship has nothing to do with this Court’s jurisdiction to
 3       adjudicate Plaintiffs’ case declaring and/or determining the effect of Plaintiffs undis-
 4       puted rescission because subject-matter jurisdiction is appropriate in this Court pursuant
 5       to this Court’s Federal Question subject-matter jurisdiction. See 28 U.S.C. § 1331.
 6       2.10. Defendant MERS is named as the beneficiary of Plaintiffs’ deed of trust security
 7       instrument. Defendant MERS is also named therein as the owner of that security instru-
 8       ment. 2
 9             Mortgage Electronic Registration Systems, Inc. . . . is the owner of record (or
               the owner's nominee) of the security interest arising from mortgages
10             extended by lenders, investors and their loan servicers and recorded in county
               land records.
11

12       The issue of the ownership of the various MERS entities in the MERS system “is blurred

13       between the entities to the point that courts tend to confuse the eRegistry system with

14       the nominee because they use the same ‘MERS’ acronym. Thus, for purposes of this

15       lawsuit Plaintiffs allege that as per the language of the Deed of Trust MERS is the owner

16       of the deed of trust security instrument and the parties to that security agreement agreed

17       that MERS would be the beneficiary of that loan.

18       2.11. Plaintiffs dispute that MERS was actually the “beneficiary” of their loan under

19       Washington’s Deeds of Trust Act, Ch. 61.24 RCW (DTA) as a matter of law based on

20       Bain v. Metro. Mortg. Grp., Inc. 175 Wn.2d 83, 285 P. 3d 34 (2012) which held MERS

21       cannot be a beneficiary of the deed of trust security instrument pursuant to Washington’s

22       DTA unless MERS owns and holds both the note and deed of trust security instrument

23       or such a result is accomplished by way of MERS agency with the Lender.

24       2.12. Notwithstanding MERS was not the beneficiary of Plaintiffs’ mortgage agree-

25       ments, i.e., the promissory note and deed of trust security instrument, MERS purported

26
     2
         See also Wikipedia, at https://en.wikipedia.org/wiki/Mortgage_Electronic_Registration_Systems
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 1   to assign its interest in the deed of trust security instrument together with the note from

 2   itself or BANA and itself to defendant BAC Home Loans Servicing (hereinafter referred

 3   to as “BAC”) on July 13, 2011. See Exhibit 1, attached hereto.

 4   2.13. If that assignment was valid (and BANA appears to assert that it was) then BAC

 5   may also have had rights in Plaintiffs’ home mortgage loan. As previously stated, Exhibit

 6   1 assigns all of MERS’ interests in the deed of trust and note to Defendant BAC on July

 7   13, 2011.

 8   2.14. Plaintiffs do not know, and for that reason dispute that BAC continues to have any
 9   interest in their loan for purposes of enforcing the note and foreclosing on their property
10   pursuant to the standing requirements of Article III to the United States Constitution.
11                            III. Jurisdiction and Venue
12   3.1. Plaintiffs originally filed their complaint against the four defendants named herein
13   in a Washington State Court. Plaintiffs have attached a true and correct copy of that com-
14   plaint hereto as Exhibit 2. Exhibit 2 differs substantially from the complaint Defendants
15   improperly filed with this Court as part of the removal process because that complaint
16   does not include the exhibits attached to the actual complaint. See ECF 1. Plaintiffs allege
17   the failure to provide an accurate copy of their complaint to this Court constitutes a type
18   of spoliation of evidence and was intentional.
19   3.2. This case was originally removed from the Superior Court of King County, Wash-
20   ington to this Court “based on 28 U.S.C. § 1332 (diversity jurisdiction) [as] . . .
21   authorized by 28 U.S.C. §§ 1441 and 1446” on June 7, 2017, without consideration of
22   MERS and BAC as Defendants in the notice of removal. See ECF 1.
23   3.3. A day after the notice of removal, on June 8, 2017, Senior Judge Robart (hereinafter
24   referred to as judicial officer Robart) notified Defendants BANA and Fannie Mae that
25   they must file Corporate Disclosure Statements by June 15, 2017. See Docket, Order
26   dated June 8, 2017.
27
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 1   3.4. On June 14, 2017, before this Court and judicial officer Robart had determined this

 2   Court had subject-matter jurisdiction, Defendants BANA and Fannie Mae filed a motion

 3   to dismiss Plaintiffs’ complaint for failure to state a claim pursuant to FRCP 12(b)(6).

 4   See ECF 4. Plaintiffs assert the filing of a motion to dismiss prior to a determination of

 5   whether this Court had subject-matter jurisdiction to adjudicate the merits was im-

 6   proper.

 7   3.5. On June 21, 2017, judicial officer Robart sua sponte questioned this Court’s

 8   subject-matter jurisdiction over the complaint based on 28 U.S.C. § 1332, See Order to
 9   Show Cause, ECF 7, and ordered the parties to respond to his concerns.
10   3.6. On July 6, 2017, Defendants BANA and Fannie Mae responded that this Court had
11   subject-matter jurisdiction under 28 U.S.C. 1332 because “complete diversity exists as
12   MERS and BAC are not defendants in this matter.” BANA and Fannie Mae also argued:
13   “[a]s this Court noted, Plaintiffs also assert a federal claim (see Compl., ¶¶ 1.1, 4.4, 5.1–
14   5.9) under the Truth-in-Lending Act, 15 U.S.C. § 1601, et. seq., § 1635. Therefore, fed-
15   eral question jurisdiction also exists under 28 U.S.C. § 1331, 1441(a).”
16   3.7. Plaintiffs allege that judicial officer Robart’s assertion that subject- matter jurisdic-
17   tion appeared appropriate pursuant to 28 U.S.C. §1331, notwithstanding the notice of
18   removal filed by Defendants BANA and Fannie Mae relied upon 28 U.S.C. 1332, vio-

19   lated the constitutional principle of “party presentation” as articulated by the United

20   States Supreme Court in United States v. Sineneng-Smith, 140 S.Ct. 1575, 1579 (2020)

21   where a unanimous court stated: “In our adversarial system of adjudication, we follow

22   the principle of party presentation. ‘[I]n both civil and criminal cases, in the first instance

23   and on appeal . . . , we rely on the parties to frame the issues for decision and assign to

24   courts the role of neutral arbiter of matters the parties present.’” See also Greenlaw v.

25   United States, 554 U.S. 237, 128 S. Ct. 2559 (2008); Wood v. Milyard, 566 U.S. 463, 132

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 1    S. Ct. 1826 (2012) 3.

 2    3.8. Further, Plaintiffs allege that judicial officer Robart acting as an Article III judge

 3    without first obtaining the consent of the parties to do so, coupled with his providing

 4    advice to Defendants BANA and Fannie Mae as to how those Defendants should assert

 5    subject-matter jurisdiction in violation of the principle of party presentation and with re-

 6    gard to his failure to address the limitations issues actually raised by the parties, requires

 7    recusal because objectively speaking the probability of actual bias on the part of a judicial

 8    officer helping one party at the expense of another is too high to be constitutionally tol-

 9    erable under the Supreme Court’s objective Due Process precedents. See e.g., Rippo v.

10    Baker, 137 S. Ct. 905, 907 (2017), citing Withrow v. Larkin, 421 U.S. 35, 47, 95 S. Ct.

11    1456 (1975). See also Williams v. Pennsylvania, 579 U.S. ___, ___, 136 S. Ct. 1899, 1905,

12    195 L.Ed.2d 132 (2016) (“The Court asks not whether a judge harbors an actual, subjec-

13    tive bias, but instead whether, as an objective matter, the average judge in his position is

14    likely to be neutral, or whether there is an unconstitutional potential for bias” (internal

15    quotation marks omitted))

16    3.9. Without ever ruling on the subject-matter jurisdiction issues raised in his order to

17    show cause, judicial officer Robart ruled on the FRCP 12(b)(6) motion brought by De-

18    fendants BANA and Fannie Mae. In so ruling, this District Court, through judicial officer

19    Robart, acknowledged that there was a split of authority in the Ninth Circuit at that time

20    as to whether any statute of limitations should apply to such a recission. Hoang v. Bank

21    of Am., N.A., No. C17-0874JLR, 2017 U.S. Dist. LEXIS 190088, at *10–11 (W.D. Wash.

22    Nov. 16, 2017).

23    3.10. This District Court, through judicial officer Robart held that TILA’s one-year

24

25
      3
26      Plaintiffs acknowledge that the principal of party presentation may not apply as rigorously to subject-matter ju-
      risdiction as it does to other legal matters. See e.g. FRCP 12(h)(3). However, they still challenge the
27    appropriateness of a neutral arbiter providing their adversary with legal advice from the bench.
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 1   statute of limitations for damage actions, which no party urged should be applied 4, was

 2   applicable to Hoang’s lawsuit for declaratory relief notwithstanding TILA does not es-

 3   tablish any limitations period in which creditors are allowed to challenge a completed

 4   rescission. While TILA does allow for judicial oversight of the rescission process if a

 5   party timely requests this, Defendants have not timely requested such relief.

 6   3.11. This Court specifically rejected the contention, later adopted by the Ninth Circuit,

 7   that Washington’s six-year statute of limitations applicable to contracts was the appro-

 8   priate limitations period. In this regard, this court states in its opinion: “[t]his court
 9   declines to apply the most closely analogous Washington State limitations period, the
10   six-year limitations period for contract actions, RCW 4.16.040, because TILA’s § 1640
11   provides a much closer limitations period to a borrower’s § 1635 claim.” Id. at **23–24.)
12   3.12. On appeal to the Ninth Circuit, the reviewing Panel rejected this Court’s statute of
13   limitations analysis. The Ninth Circuit stated:
14          Applying Washington’s six-year contract statute of limitations, Hoang’s
            TILA claim is timely. Hoang’s cause of action arose in May 2013 when the
15          Bank failed to take any action to wind up the loan within 20 days of receiving
            Hoang’s notice of rescission 5 . See 15 U.S.C. § 1635(b). Because Hoang
16
            brought this suit within six years, the district court erred in dismissing the
17          claim as time barred.

18   3.13. The Ninth Circuit Court of Appeals also violated the principle of party presenta-

19   tion referenced above because that Court failed to decide this case based on the

20   contentions of the parties. Plaintiffs were asserting that because the event of rescission

21   was complete with notification—unless challenged in 20 days—the only thing left to do

22
     4
      Judicial officer Robart based his decision in this regard on a statute of limitations analysis that no party urged and
23   that was rejected by the Ninth Circuit Court of Appeals. Plaintiffs assert judicial officer Robart’s ruling in this
     regard also violated the principle of party representation that is supposed to help ensure the fairness of our adver-
24   sary system of justice.

25   5
      The Ninth Circuit Panel held that the complaint was not clear about when Bank of America actually received the
26   notice of rescission or when the 20-day period under 15 U.S.C. 1635 (b) would have run. Hoang v. Bank of Am.,
     N.A., 910 F.3d 1096, 1102 n.5 (9th Cir. 2018).
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 1   was wind up the mortgage loan unless some other grounds for post judgment relief was

 2   available pursuant to the Federal Rules of Civil Procedure. Plaintiffs re-assert that legal

 3   contention here.

 4   3.14. Notwithstanding the Ninth Circuit Court of Appeals may have violated the princi-

 5   ple of party presentation, its decision (including the Panel’s underlying reasoning) in

 6   Hoang v. Bank of Am., N.A., 910 F.3d 1096 (9th Cir. 2018) may be binding on this District

 7   Court under “both the law-of-the-case doctrine and our law-of-the-circuit rules”); Cal-

 8   ifornia v. U.S. HHS, 941 F.3d 410, 421 (9th Cir. 2019); see also Rocky Mountain Farmers
 9   Union v. Corey, 913 F.3d 940, 951 (9th Cir. 2019) (“[L]aw of the case doctrine generally
10   precludes reconsideration of an issue that has already been decided by the same court, or
11   a higher court in the identical case”); Miranda v. Selig, 860 F.3d 1237, 1243 (9th Cir.
12   2017) (“[U]nder the law-of-the-circuit rule, we are bound by decisions of prior panels[]
13   unless an en banc decision, Supreme Court decision, or subsequent legislation under-
14   mines those decisions” (internal quotation marks and alterations omitted)). Plaintiffs
15   originally made, i.e. that the rescission was legally effective by operation of law 20 days
16   after Defendants received notice of it, and cannot be challenged now. Further Plaintiffs
17   respond that to the extent Defendants claim the appropriate disclosures were accom-
18   plished, this is not true.

19   3.15. In this case it is Plaintiffs’ position that the Ninth Circuit misapplied Jesinowski in

20   holding that Defendants can litigate whether a TILA rescission occurred after the rescis-

21   sion, which was not timely challenged, became effective as a matter of law.

22                                          IV. Facts
23   4.1. Plaintiffs reallege those facts previously set forth herein.
24   4.2. On December 21, 2004, Plaintiffs purchased their residence with a home loan from
25   Wells Fargo Bank. This home is located at 13522 43rd Ave. S. Tukwila, WA 98168. See
26   Warranty Deed, attached hereto as Exhibit 3.
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 1   4.3. On April 30, 2010, Plaintiffs refinanced their home loan with Bank of America,

 2   N.A. No party has ever disputed that Plaintiffs’ are within the zone of interests that

 3   TILA is intended to protect.

 4   4.4. At the closing Plaintiffs executed the Note and the Deed of Trust security instru-

 5   ment attached hereto as Exhibit 4 and Exhibit 5 respectively.

 6   4.5. Defendants did not provide the Hoangs any notice of their right to rescind the loan

 7   pursuant to TILA at the closing on April 30, 2010. See Declaration of Jerry Hoang to this

 8   effect. See Exhibit 6 hereto. See also Exhibit D to Exhibit 2.
 9   4.6. Regulation Z provides that if a creditor fails to deliver the required disclosures,
10   “the right to rescind shall expire three years after consummation, upon transfer of all of
11   the consumer’, interest in the property, or upon sale of the property, whichever occurs
12   first.” 12 C.F.R. 226 23(a)(3); see 12 C.F.R 1026.23(a)(3).
13   4.7. On April 15, 2013, (less than three years after the loan consummation) Plaintiffs
14   sent a “Notice of Rescission/Cancellation” to Defendants. A copy of that Notice of Re-
15   scission is attached Exhibit 7 hereto. Under the law the rescission was effective upon
16   mailing. Alternatively, the notice of rescission was effective upon receipt.
17   4.8. Defendants do not dispute that they received these notices and intentionally chose
18   not to respond to them.

19   4.9. The United States Postal Service has confirmed the dates that each of the Defend-

20   ants received Plaintiffs’ rescission of the loan agreement. See copies of U.S. MAIL proof

21   of service on each of the Defendants. These are attached hereto as Exhibit 8 hereto.

22   4.10. Defendant Bank of America (BANA) received the notice of rescission on April 19,

23   2019, and thus the rescission became effective that day as to BANA because BANA did

24   not respond to the rescission within 20 days of its receipt.

25   4.11. Fannie Mae received the notice of rescission on April 18, 2013, and thus the rescis-

26   sion became effective that day as to Fannie Mae because Fannie Mae did not respond to

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 1   the rescission within 20 days of its receipt.

 2   4.12. MERS received the notice of rescission on April 17, 2013, and thus the rescission

 3   became effective that day as to MERS because MERS did not respond to the rescission

 4   within 20 days of its receipt.

 5   4.13. BAC received the notice of rescission on April 18, 2013, and thus the rescission

 6   became effective that day as to BAC because BAC did not respond to the rescission

 7   within 20 days of its receipt.

 8   4.14. A copy of this Notice of Rescission was also recorded in the King County Record-
 9   ing Office as document #20150813000493 on August 13, 2015. A copy of that Recorded
10   Notice of Rescission is attached hereto as Exhibit 9.
11   4.15. At the time the rescission was made Plaintiffs intended (and had the financial abil-
12   ity) to return all the money they had borrowed together with interest up until the time
13   their rescission became effective. They were also prepared to leave their home.
14   4.16. Plaintiffs are still able to and willing to return all the money legally owed to defend-
15   ants (or any one of them that can identify they still have an interest in the loan) as of the
16   date of rescission. Further, they are willing now to consider paying the principal and in-
17   terest up to the time of the event rescission occurred to any one of the defendants who
18   agrees to hold Plaintiffs harmless with regard to any damages this might cause them in

19   the future.

20   4.17. Since this case was remanded back to this Court by the Court of Appeals on De-

21   cember 6, 2018, Plaintiffs have consistently attempted to settle this matter based on the

22   event of rescission being effective when Defendants were notified of it as per the unani-

23   mous decision of the Supreme Court in Jesinoski v. Countrywide Home Loans, Inc., 574

24   U.S. 259, 262, 135 S. Ct. 790, 792, 190 L.Ed.2d 650, 654 (2015). (“Section 1635(a) ex-

25   plains in unequivocal terms how the right to rescind is to be exercised: It provides that a

26   borrower “shall have the right to rescind . . . by notifying the creditor, in accordance with

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 1    regulations of the Board, of his intention to do so” (emphasis added). The language

 2    leaves no doubt that rescission is effected when the borrower notifies the creditor of his

 3    intention to rescind.” Id. at 262).

 4    4.18. Defendants refusal to engage in settlement discussions the entire time this case has

 5    been remanded back to this Court based on the completed rescission has been in bad faith

 6    and has been prejudicial to Plaintiffs because they cannot get this matter resolved in the

 7    way Congress mandated that it should be. See Jesinoski, supra. It is also prejudicial be-

 8    cause Defendants are refusing to comply with Washington’s Tender of Payment statute
 9    set forth at 62A.3-603 and in such other ways as will be proved at trial.
10    4.19. Defendants purposely failed to respond to the notice of rescission in any way so as
11    to frustrate the purposes of the Truth in Lending Act. See e.g., Alaqili, Saif “Striking a
12    Balance: How Equitable Doctrine Restores the Purposes of TILA’s Rescission Right,”
13    University of Chicago Legal Forum: Vol. 2013: Iss. 1, Article 19, pp. 737-9. 6 Defendants
14    purposely did not take timely steps to rescind the loan or to challenge the validity of the
15    Rescission Notice within 20 days as is required by TILA, and Regulation Z (15 U.S.C.
16    U.S.C. § l635(b); 12 C.F.R. § 1026.23(d)(2)) and therefore forfeited, waived, and/or are
17    estopped from challenging that rescission years after the fact in the same way as they
18    would not be able to challenge a default judgment years after it was granted.

19    4.20. Plaintiffs allege that the principles of res judicata and collateral estoppel bar De-

20    fendants (each and all of them) from asserting that the Plaintiffs rescission of the loan is

21    not effective and binding on them and their successors.

22    4.21. A void deed of trust security cannot be enforced by way of a nonjudicial or judicial

23    foreclosure under Washington law.

24    4.22. The nonjudicial foreclosure of Plaintiffs property that precipitated the filing of this

25    action was initiated by Defendant BANA through Quality Loan Services Corporation of

26
      6
       Last accessed on December 17, 2020 at: https://chicagounbound.uchicago.edu/cgi/viewcontent.cgi?arti-
27    cle=1525&context=uclf
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 1   Washington (an alleged successor trustee) in February 2017. See Attached Exhibit G.

 2   (Notice of Default). That nonjudicial foreclosure is no longer pending, but Plaintiffs have

 3   a reasonable fear that if this rescission matter is not resolved Defendants or some other

 4   entities will likely attempt to foreclose upon them again based on this void deed of trust

 5   security instrument.

 6                                   V. Causes of Action

 7                                 5. Declaratory Judgment

 8   5.1. Plaintiffs incorporate by reference the previous allegations contained herein.

 9   5.2. Defendants claim they can judicially challenge the effectiveness of Plaintiffs' rescis-

10   sion now—years after it became effective after the 20-day period of time Defendants

11   were given to challenge it.

12   5.3. As a result of this contention by Defendants and the facts previously set forth

13   herein a case or controversy within the meaning of Article III exists between the parties
14   with regard to Plaintiffs’ rights under the Separation of Powers to
15        A) have this case adjudicated by an Article III judge who has life tenure; And on
16        that basis to have judicial officer Robert disqualified because Plaintiffs have not con-
17        sented to his adjudication of this case. See e.g., Wellness Int’l Network, Ltd. v. Sharif,
18        575 U.S. 665, 135 S. Ct. 1932 (2015).

19        B) have a fair trial of this case by a fair tribunal within the meaning the objective

20        Due Process precedents established by the United States Supreme Court;

21        And on this basis to have judicial officer Robart disqualified based on Rippo v. Baker,

22        137 S. Ct. 905, 907 (2017); Williams v. Pennsylvania, 579 U.S. ––––, ––––, 136 S. Ct.

23        1899, 1905, 195 L.Ed.2d 132 (2016); Withrow v. Larkin, 421 U.S. 35, 47, 95 S. Ct.

24        1456(1975).

25        C) have this case adjudicated based on the arguments made by the parties not on

26        the arguments made by judicial officers that the parties were not given an

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 1        appropriate opportunity to respond to;

 2        And on this basis to have this case between the parties adjudicated based on the

 3        parties arguments as is required by the constitutional principal that our system of

 4        justice allows the parties to represent themselves.

 5        D) have this case adjudicated based on a reasonable analysis of precedent estab-

 6        lished by the United States Supreme Court decision in Jesinowski.

 7   5.4. Plaintiffs seek a declaratory judgment that Jesinowski and its interpretation of TILA

 8   do not require that consumers must bring a lawsuit against creditors to effect a rescission
 9   of the mortgage loan under TILA because Congress intended a TILA rescission to be
10   effective without judicial intervention.
11   5.5. Plaintiffs seek a declaratory judgment that once the Defendant creditors in this
12   case, i.e., BANA, Fannie Mae, MERS, and BAC, received Plaintiffs’ notice of the TILA
13   rescission, each of them were required to take whatever steps each needed to take to

14   unwind the loan agreement or dispute the rescission as to them by filing a legal action to

15   challenge rescission on those grounds that are untimely asserting here years after the re-

16   scission occurred. Thus, Plaintiffs seek a declaratory judgment that:

17        A) Defendant BANA waived its right to dispute the rescission 20 days after April

18        19, 2013, when the notice of rescission was received by it, by defaulting on its op-

19        portunity to dispute the rescission;

20        B) Defendant Fannie Mae waived its right to dispute the rescission 20 days after

21        April 19, 2013, when the notice of rescission was received by it, by defaulting on its

22        opportunity to dispute the rescission;

23        C) Defendant MERS waived its right to dispute the rescission 20 days after April

24        17, 2013, when the notice of rescission was received by it, by defaulting on its op-

25        portunity to dispute the rescission;

26        D) Defendant BAC waived its right to dispute the rescission 20 days after April 18,

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 1        2013, when the notice of rescission was received by it, by defaulting on its oppor-

 2        tunity to dispute the rescission;

 3   5.6. Plaintiffs seek a declaratory judgment that once the Plaintiffs rescinded their loan

 4   within the time limitations set by Congress, and defendant creditors chose to not timely

 5   dispute this rescission:

 6        A) The Plaintiffs were not liable for any further finance charges or other charges,

 7        and any security interest given by them became void upon the rescission. 15 U .S.C.

 8        § 1635(b).
 9        B) The Defendants were required to begin unwinding the rescinded loan transac-
10        tion by returning to Plaintiffs any money or property given as earnest money, down
11        payment or otherwise, and to take any action necessary or appropriate to reflect
12        termination of any security interest created under the transaction. Ibid.
13        C) Plaintiffs were required to tender any property the creditor had previously de-

14        livered (or its reasonable value). Ibid.

15   5.7. Plaintiffs seek a declaratory judgment based on the evidence before this Court that

16   Defendants intentionally refused to comply with its obligation under TILA.

17   5.8. Plaintiffs seek a declaratory judgement that Defendants have failed to comply with

18   RCW 62A.3-603 by refusing to accept what Plaintiffs owe them under Washington law.

19   This statute provides:

20        (a) If tender of payment of an obligation to pay an instrument is made to a
          person entitled to enforce the instrument, the effect of tender is governed by
21        principles of law applicable to tender of payment under a simple contract.
22
          (b) If tender of payment of an obligation to pay an instrument is made to a
23        person entitled to enforce the instrument and the tender is refused, there is
          discharge, to the extent of the amount of the tender, of the obligation of an
24        indorser or accommodation party having a right of recourse with respect to
          the obligation to which the tender relates.
25
          (c) If tender of payment of an amount due on an instrument is made to a
26
          person entitled to enforce the instrument, the obligation of the obligor to pay
27
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            interest after the due date on the amount tendered is discharged. If present-
 1
            ment is required with respect to an instrument and the obligor is able and
 2          ready to pay on the due date at every place of payment stated in the instru-
            ment, the obligor is deemed to have made tender of payment on the due date
 3          to the person entitled to enforce the instrument.
 4                                    6. Enforcement of Laws
 5   6.1. Plaintiffs incorporate by reference the previous allegations of this complaint.
 6   6.2. To the extent that a declaratory judgement declaring the rights of Plaintiffs pursu-
 7   ant to the United States Constitution, TILA and its regulations, and RCW 62A.3-603
 8   may not be appropriate then Plaintiffs seek enforcement of their rights based on the facts
 9   alleged in this Amended Complaint.
10                    7. Consumer Protection Act, Ch. 19.16 RCW
11   7.1.   Plaintiffs reallege all previous allegations stated herein.
12   7.2. To prevail on a CPA action, the plaintiff must prove (A) an unfair or deceptive or illegal
13   act or practice; (B) occurring in trade or commerce; (C) which impacts the public interest; (D)
14   and proximately causes (E) injury to the plaintiff in his or her business or property.
15   7.3. Defendants have engaged in one or more of the following unfair, deceptive, and/or illegal
16   practices:
17          (a) Attempting to foreclose on a deed of trust security instrument which has been voided
18          by federal law;
19          (b) Attempting to collect monies that are not owed to them after the mortgage loan was
20          rescinded; and
21          (c) Engaging in abusive litigation and business tactics that are designed to prevent Plain-
22          tiffs from obtaining the remedy Congress intended to afford them under TILA.
23
     7.4. The unfair and deceptive practices referred to above occurred in the trade or business of
24
     each of the Defendants.
25
     7.5. The unfair and deceptive practices described above affect the public interest for the rea-
26
     sons set forth in RCW 19.16.093 (1)(2) and (3).
27
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 1   7.6. The foregoing unfair and deceptive practices (and those which will be proved at trial)

 2   affecting the public interest have proximately caused Plaintiffs injuries in their business and

 3   property, including without limitation:

 4         (a) Costs associated with rescinding the loan transaction, including among other things

 5         costs of preparation and certified mailing rescission notices to each defendant; and

 6         (b) such other economic harm as will be proved at trial.

 7                                   VIII. Prayer For Relief

 8   8.1. Plaintiffs incorporate by reference the previous allegations contained herein.
 9   WHEREFORE, Plaintiffs pray for declaratory relief and/or relief pursuant to enforcement of
10   the constitutional and statutory provisions set forth herein as follows:
11         1. Recusal of judicial officer Robart under the Separation of Powers structure of our gov-
12         ernment based on his lack of lifetime tenure and/or inability to provide a fair forum by a
13         fair tribunal within the objective precedents of the Due Process Clause of the Fifth
14         Amendment.
15         2. Declare that under Article III and the principle of Party Presentation lower federal
16         courts must comply with the provisions of TILA as it has been construed by precedent
17         established by the United States Supreme Court.
18         3. Declare that Plaintiffs rescinded their mortgage loan, i.e., both note and deed of trust,

19         as to all Defendants in April, 2013 and that such rescission voided their deed of trust se-

20         curity agreement as a matter of law.

21         4. Declare the monetary amount, subject to any recoupment, to which Defendants (or

22         any one of them) are entitled to wind up the rescission of the refinancing loan as per TILA

23         and Washington state law.

24         5. Declare Defendants are precluded from seeking foreclosure against the Plaintiff’s

25         property.

26         6. Enter such Orders necessary, as the court deems appropriate.

27
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 1             7. Demand Defendants bear the expense of Attorney fees and costs for this litigation.
2              8. Permit court in its discretion and by the Consumer Protection Act to include up to
3              triple damages caused by Defendants assertion of a lien against the property or claim
4              against Plaintiffs.
5              9. For damages, statutory treble damages, and attorney fees for Defendants' violations of
6              the Consumer Production Act.
7              10. For all such other relief as may be legally and equitably justified under the circum­
8              stances of this case.
9              DATED this 17th day of December 2020,
10
11
                                       STAFNE LA w Advocaqy & Consulting
12                                           239 N. Olympic Ave.
                                            Arlington, WA 98223
13                                              360.403.8700
14                                          Scott@stafnelaw.com

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16
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     AMENDED VERIFIED COMPLAINT                                          ST AFNE LAw Advocacy  & Consulting
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                                                                                      Arlington, WA 98223
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 1                                          Verification

 2   We, Jerry Hoang and Le Uyen Thi Nguyen, are the Plaintiffs in the above-entitled action. We

 3   have read the forgoing Amended Verified Complaint for Declaratory Judgement and to Enforce

 4   Recission Under TILA and Washington’s Tender Laws, RCW 62A.3-603 (a), (b), and (c), and

 5   know the contents thereof. The same is true of our own knowledge, except as to those matters

 6   which are therein alleged on information and belief, and as to those matters, we believe it to be

 7   true.

 8   We declare under penalty of perjury that the foregoing is true and correct and that this declara-

 9   tion was executed at Tukwila, Washington on December 17, 2020.
10
               By: /s/ Jerry Hoang x                         By: /s/ Le Uyen Thi Nguyen x
11
                JJJerry Hoang, Plaintiff                      Le Uyen Thi Nguyen, Plaintiff
12

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 1                                    Certificate of Service
 2          At the time of service, I was over 18 years of age and not a party to this action.

 3          On December 17, 2020, I served true copies of the following document(s): [Proposed]

 4    Amended Verified Complaint for Declaratory Judgement and to Enforce Recission Under

 5    TILA and Washington’s Tender Laws, RCW 62A.3-603 (a), (b), and (c), and the related Ex-

 6    hibits on the interested parties in this action as follows:

 7          DOUGLAS C. STASTNY, WSBA No. 52383 dcs@severson.com
            SEVERSON & WERSON
 8          19100 Von Karman Avenue, Suite 700
            Irvine, California 92612
 9
            Telephone: (949) 442-7110 Facsimile: (949) 442-7118
10          Attorneys for Defendants Bank of America, N.A., in its own capacity and as successor by
            July 1, 2011 de jure merger with BAC Home Loans Servicing, LP; Federal National Mort-
11          gage Association; and Mortgage Electronic Registration Systems, Inc.
12                 BY MAIL: I enclosed the document(s) in a sealed envelope or package ad-
            dressed to the persons at the addresses in a sealed envelope with postage prepaid.
13                 BY E-MAIL: I caused a copy of the document(s) to be sent from e-mail
            address to the parties referenced above.
14
                   BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
15          the document(s) with the Clerk of the Court by using the CM/ECF system. Par-
            ticipants in the case who are registered CM/ECF users will be served by the
16          CM/ECF system. Participants in the case who are not registered CM/ECF users
            will be served by mail or by other means permitted by the court rules.
17
            I declare under penalty of perjury under the laws of the United States of America that the
18
      foregoing is true and correct and that I am employed in the office of a member of the bar of this
19
      Court at whose direction the service was made.
20
            DATED this 17th day of December 2020, in Mount Vernon, Washington.
21
                                        By:x /s/ LeeAnn Halpin    x
22
                                         LeeAnn Halpin, Paralegal
23

24

25

26

27
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                                                    Exhibit 1
                                             Case No.: 2:17-cv-00874-JLR

                                 Jerry Hoang et al. v. Bank of America N.A. et al.
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                                                                   20110713001123
                                                                   INGEO SYSTEMS INC            ADT                 14:00
                                                                   Page 001 of    001
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                                                                   King County, WA




When recorded mail to:
CoreLogic
450 E. Boundary St.
Attn: Release Dept.
Chapin, SC 29036

                                             . This space for Recorder's use

                                                         Recording Requested By:
11~1111111111111111111111111
DocID#    26822034406412662
                                                         Bank of America
                                                         Prepared By:
                                                         Mercedes Judilla
                                                         888-603-9011
Tax ID: ·          261320015306
                                                         450 E. Boundary St.
                                                         Chapin, SC 29036
Property Address:
13522 43rd Ave S
Tu.kwila, WA 98168-3204
WAO-AOT l46790it           61.U/2011

                                            MIN#: 1000255-0000590497-2                  MERS Phone#: 888-679-6377
                          ASSIGNMENT OF DEEO OF TRUST '
For Value Received, the undersigned holder of a Deed of Trust (herein "Assignor'') whose address is 3300
S. W. 34TH A VENUE, SUITE 101 OCALA, FL 34474 does hereby grant, s<,11, assign, transfer and convey
unto BAC HOME LOANS SERVICING, LP FKA COUNTRYWIDE HOME LOANS                                                        ,~. ~.~ : l \' , .
SERVICING, LP whose address is 400 NATIONAL WAY, SIMI VALLEY, CA93065 all beneficial -,,. "-. ·,. 1,· : ✓:                         ''::.
interest under that certain Deed of Trust described below together with the note(s) and obligations there·     --. -. • • • • •       _.;,;f
                                                                                                                             ;-;; • • : ' . ~ t
                                                                                                              1
described and the money due and to become due thereon with interest and all rights accrued or to accru ~ ':: • •
under said Deed of Trust                                                                              : :::;: •• -         - ::        • ~ 'j-
                                                                                                                                        "::-"" r "~ /
Original Lender:           . BANK OF AMERICA, N.A.                          ;: ;::_ :                                  _:.___;..,,._": -:, ,;:: : : : ~
Made By:                     JERRY HOANG, AND LE UYEN THI NGUYEN, HUSBAND ~Yfll<'E                                          -        - ? _.,_ • :::., ;-
Original ;'histee:           l.,q XITLE OF WASHINGTON                       ·~                                .-1:. _,,- · ~                       · , :::
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Oriiilml Loan Amount:       S28!i,0O~•.oo
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Il-1 WJD~S \','HEREOF, the uil&>,:iianed has caused this Assignment of Deed of Trust to be executed on
/4/i('i/ff. ·.                                        .
                                             MORTGAGE ELECTRONIC REGISTRATION
                                             SYSTEMS, INC.


                                              By: ~
                                            , C h r i s t ~ , Assistant Secretary
State of California
County of Ventura

On (,,, - '2 0 -   2.0t
                      I before me, Norma Rojas, Notary Public, personally appeared Christopher
Herrera, who proved to me on the basis of satisfactory evidence to be the person~ whose nameC-, is!-,le                                    '·
subscn'bed to the within instrument and acknowledged to me that he/~e/tf>6'y executed the same in
hislht't'l~ir authorized capacity(i¢), and that by hislh/f/tld,ir signatur~ on the instrument the person~,
or the entity upon behalf of which the person~) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State ofC~lifornla that the foregoing
paragraph is true and correct.




                                                          (Seal)
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                                                    Exhibit 2
                                             Case No.: 2:17-cv-00874-JLR

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                                                                                   KING COUNTY
 2                                                                             SUPERIOR COURT CLERK
                                                                                      E-FILED
 3                                                                          CASE NUMBER: 17-2-11754-4 SEA

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 8
                           SUPERIOR COURT OF THE STATE OF WASHINGTON
 9                                     IN AND FOR THE COUNTY OF KING
10

11

12   Jerry Hoang and Le Uyen Thi Nguyen,           Case No. ___________________

13
                    Plaintiffs,                    VERIFIED COMPLAINT:
14
                            v.                             1. TO
15
     Bank of America N.A (BANA); Federal           ENFORCEMENT OF RESCISSION
16   National Mortgage Association (FANNIE         UNDER THE TRUTH IN LENDING
     MAE), Mortgage Electronic Registration        ACT’S (TILA AND WASHINGTON
17
     Systems, Inc. (MERS), BAC Home Loans          TENDER LAWS, RCW 62A.3-603
18   Servicing, LP, and John Does 1 -20.           (a), (b) and (c);
                                                           2. DECLARATORY
19                                                 JUDGEMENT.
                    Defendants.                            (Clerk’s Action Required)
20

21

22           Plaintiffs, Hoang and Nguyen, (hereinafter “Plaintiff”) complaint against all defendants
23
     hereby and alleges as follows:
24
                                  I.
                                  INTRODUCTION.
25                                        ________________________________
                                          ______
26   COMPLAINT FOR DECLARATORY JUDGEMENT -________________________________
                                          1               JAMES A. WEXLER, WSBA
     #7411
27                                                                         2700 NW PINE CONE DRIVE
                                                                                           SUITE 314
28                                                                               ISSAQUAH, WA. 98027
                                                                     206.849.9455; WEX@SEANET.COM
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 1          1.1     This is an action to enforce a consumer’s rescission under the Truth in
 2
                    Lending Act (TILA), 15 U.S.C. §1601 et seq; 15 U.S.C § 1635; 12 CFR
 3

 4   § 1026.23.

 5                                       II.     JURISDICTION AND VENUE.
 6
                           2.1     This Court has subject matter jurisdiction pursuant to 15 U.S.C. §
 7
     1640(e). Emrich v.Touche Ross & Co., 846 F.2d 1190, 1196 (9th Cir. 1988) (state courts
 8
     have concurrent jurisdiction with federal courts over TILA rescission claims).
 9

10          2.2     Venue is proper as the loan and real property, which is the subject of the

11   dispute, respectively, was originated in and is located in King County, Washington.
12
                                                   III.      PARTIES.
13
                           3.1.    Plaintiffs, Hoang and Nguyen are natural persons, at all times
14
     relevant to this complaint have been the owner of real property located at 13522 43rd Avenue,
15

16   South Tukwila, WA 98168, parcel ID # 261320015606 and legal description of:

17                                 LOT 3, CITY OF TUKWILA SHORT PLAT NO. L01-033,
18
                                  RECORDED UNDER RECORDING NO. 20040212900003,
19
                                               IN KING COUNTY WASHINGTON
20
            3.2.    Defendant, Bank of America N.A. (BANA) is a national bank organized and
21

22   existing under the laws of the United States with its headquarters and principal place of business

23   located at 101 South Tryon St Charlotte, North Carolina 28202.
24
     BANA is a Mortgage Loan Servicer but alleged to be the Lender of alleged loan number #
25
     220344064.
26   COMPLAINT FOR DECLARATORY JUDGEMENT - 2                             JAMES A. WEXLER, WSBA
     #7411
27                                                                           2700 NW PINE CONE DRIVE
                                                                                             SUITE 314
28                                                                                 ISSAQUAH, WA. 98027
                                                                       206.849.9455; WEX@SEANET.COM
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 1          3.3.     Defendant, Federal National Mortgage Association (Fannie Mae) is a federally
 2
     chartered corporation organized and existing under the laws of the United States with its
 3
     headquarters and principal place of business located at 13100 Worldgate Drive Herndon,
 4
     Virginia 20170. Fannie Mae is alleged to be the owner of the loan number # 220344064.
 5

 6                                         IV.     FACTS AND ALLEGATIONS.

 7          4.1.    On December 2004, Plaintiffs purchased a Home Loan with Well Fargo Bank for
 8
     their principal dwelling, which located at 13522 43rd Ave S Tukwila, WA 98168. Attached
 9
     Exhibit A (Warranty Deed)
10
            4.2.    On April 30, 2010, Plaintiffs refinanced their home loan with Bank of America,
11

12   N.A, alleged account or loan # 220344064, in which entitled to TILA. Plaintiffs executed the
13
     Note and the Deed of Trust Attached Exhibit B (Note); C (Deed of Trust).
14
                            4.3.    Neither Hoang nor Nguyen has received the “Notice of right to
15
     Cancel” on the day of closing which is April 30, 2010. Attached Exhibit D (Plaintiff’s Affidavit).
16

17
            4.4.    On April 30, 2010, Defendants failed to satisfy the TILA’s disclosure requirement
18
     by not delivering the required notice to Plaintiffs; therefore, the right to rescind is extended to 3
19

20   years after loan’s consummation. Regulation Z provides that, if a creditor fails to deliver the

21   required disclosures, “the right to rescind shall expire 3 years after consummation, upon transfer
22
     of all of the consumer’s interest in the property, or upon sale of the property, whichever occurs
23
     first.” 12 C.F.R. 226.23(a)(3); see 12 C.F.R. 1026.23(a)(3).
24

25

26   COMPLAINT FOR DECLARATORY JUDGEMENT - 3                                JAMES A. WEXLER, WSBA
     #7411
27                                                                             2700 NW PINE CONE DRIVE
                                                                                               SUITE 314
28                                                                                   ISSAQUAH, WA. 98027
                                                                         206.849.9455; WEX@SEANET.COM
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 1          4.5.    On April 15 2013, (Within 3 years of loan’s consummation), Plaintiffs timely sent
 2
     Notice of Rescission/Cancellation to defendants. Attached Exhibit E (Notice of Rescission).
 3
     Also, it was recorded in King County Recording office # 20150813000493. Attached Exhibit F
 4
     (Recorded Notice of Rescission).
 5

 6
            4.6     The United State Postal Services have confirmed that Defendants have received
 7
     Plaintiff’s notice of Rescission. Attached Exhibit G (Copy of Certified Mail and Return Receipt
 8

 9   Requested).

10          4.7     The Defendants did not file a suit seeking to invalidate nor terminate the validity
11
     of the Rescission Notice within 20 days of receipt as required by TILA, and Regulation Z. (15
12
     U.S.C. § 1635(b); 12 C.F.R. § 1026.23(d)(2)). This is a due process procedural requirement.
13
     If the Defendants wanted the Rescission Notice vacated, they must file a lawsuit. The right to
14

15   challenge the Rescission Notice has been waived. Attached Exhibit D (Plaintiff’s affidavit).

16          4.8     Defendants failed to comply with TILA’s requirement pursuant to 12 C.F.R
17
     1026(d)(2); 12 C.F.R 226.23(d)(2), and the tender laws of the State of Washington as stated
18
     RCW 62A.3-603 (a), (b) and (c), though Plaintiffs were prepared and ready to tender but
19
     Defendants ignored Plaintiffs request to tender.
20

21                         4.9     The Non-judicial foreclosure for Plaintiff’s property has been

22   initiated by Defendants (BANA) and Quality Loan Services Corporation of WA (alleged
23
     successor trustee) in February 2017. Attached Exhibit H (Notice of Default).
24

25

26   COMPLAINT FOR DECLARATORY JUDGEMENT - 4                            JAMES A. WEXLER, WSBA
     #7411
27                                                                          2700 NW PINE CONE DRIVE
                                                                                            SUITE 314
28                                                                                ISSAQUAH, WA. 98027
                                                                      206.849.9455; WEX@SEANET.COM
             Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 28 of 121



 1                         4.10    It’s an undisputed fact that Plaintiffs’ Loan contract has been
 2
     timely rescinded and was effected by the Operation of Law.
 3
                           4.11    Plaintiffs’ have never been declared in Default until Feb 2017,
 4
     which was after the notice of Rescission sent in April 15, 2013.
 5

 6                         4.12    In 2013, Plaintiff Hoang filed Quite Title case # C13-1013-JCC.

 7   Plaintiff Hoang did not bring the TILA issue into the case because there was a misunderstanding
 8
     in TILA’s law from a higher court across the country. QT’s case got dismissed without prejudice
 9
     and allowed Plaintiffs to amended complaint alleging that a foreclosure had been initiated.
10
                                              V.      CAUSE OF ACTION.
11

12          5.1.    The Federal Truth in Lending Act, 15 U.S.C. § 1635, Regulation Z § 226.23

13   allows for a borrower to rescind the Note and Deed of Trust by operation of law. This occurred
14
     in this case when Plaintiffs exercised the “right to Rescind” by sending the rescission notice to
15
     Defendants and more than 20 days had elapsed, Defendants should have filed an action
16
     necessary to reflect the termination of the security interest (Note and Deed of Trust) but the
17

18   Defendants chose not to do so.

19           5.2     TILA gives borrowers a “right to rescind” for some kinds of consumer
20
     credit transactions. 15 U.S.C. § 1635(a); see 15 U.S.C. § 1635(d) (right to rescind is unwaivable
21
     except in emergency circumstances). Rescission applies to transactions in which a creditor takes
22
     a security interest in an obligor’s “principal dwelling” and in return, provides money on property
23

24   the obligor uses for non-business purposes. 15 U.S.C. § 1635(a). In 1974, TILA was amended to

25   limit the time an obligor had to rescind a transaction to three years after the consummation of the
26   COMPLAINT FOR DECLARATORY JUDGEMENT - 5                              JAMES A. WEXLER, WSBA
     #7411
27                                                                            2700 NW PINE CONE DRIVE
                                                                                              SUITE 314
28                                                                                  ISSAQUAH, WA. 98027
                                                                        206.849.9455; WEX@SEANET.COM
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 1   transaction or sale of the property. 15 U.S.C. § 1635(f).
 2
             5.3      Of primary concern, and importance, as clarified in the United States
 3
     Supreme Court in Jesinoski v. Countrywide Home Loans, Inc., 135 S. Ct. 790, 190 L. Ed. 2d 650,
 4
     574 U.S. (2015), is the obligor’s exercise of the rescission which triggers a series of steps
 5

 6   through which the transaction is unwound. See Beach, 523 U.S. at 412-413.

 7            First, when an obligor exercises his right to rescind, he is not liable for any finance
 8
     charge or other charge, and any security interest given by the obligor becomes void upon
 9
     rescission. 15 U.S.C. § 1635(b).
10
              Second, within twenty days after receipt of the notice of rescission, the creditor shall
11

12   return to the obligor any money or property given as earnest money, down payment or otherwise,

13   and shall take any action necessary or appropriate to reflect termination of any security interest
14
     created under the transaction. Ibid.
15
              Third, upon performance by the creditor’s obligations under this section, the obligor
16
     shall tender any property the creditor has previously delivered (or its reasonable value). Ibid.
17

18   Pursuant to Reg Z notice is given by mail, telegram, or other means of written communication.

19   12 C.F.R.226.23(a)(2); See 12 C.F.R. Pt. 226, Apps. H-8, H-9 (Model forms for exercising
20
     Rescission Right); 12 C.F.R. 1026.23(a)(2).
21
                           5.4.     The alleged “Loan” under Alleged Account Number 220344064,
22
     according to TILA, HAS BEEN RESCINDED EFFECTIVE APRIL 15, 2013 and Defendants
23

24   have not filed an action against the Plaintiffs to vacate the Rescission Notice, nor have

25   Defendants has brought any actions for declarations that the Plaintiffs’ rescission was not
26   COMPLAINT FOR DECLARATORY JUDGEMENT - 6                            JAMES A. WEXLER, WSBA
     #7411
27                                                                          2700 NW PINE CONE DRIVE
                                                                                            SUITE 314
28                                                                                ISSAQUAH, WA. 98027
                                                                      206.849.9455; WEX@SEANET.COM
             Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 30 of 121



 1   effective as a matter of law. Accordingly, based on Federal authority noted herein, the rescission
 2
     of the Loan Transaction stands by operation of law and as a matter of law.
 3

 4                        5.5        Plaintiffs efforts pursuant to RCW 62A. 3-360 (a), (b) and (c) to
 5
     tender to Defendants were ignored.
 6

 7        5.6      The Supreme Court found that nowhere does § 1635(a) allow for a debate as to
 8
     disputed or undisputed notices; simply put the transaction and its contracts are void as a matter
 9
     of law upon mailing of the Notice of Rescission. Jesionski, supra, at 793. Based on the
10
     clarification of the T1LA rescission by the Supreme Court, Plaintiffs loan contracts became void
11

12   as of April 15, 2013. Regardless of whether the creditor fulfills its legal requirement to return all

13   funds paid on the loan and reflect the termination of the security instrument, the loan no longer
14
     exists. The contracts are void and any acts by any party based on the loan or contracts are illegal.
15
            5.7     Specifically, the undisputed facts and evidences shows that Plaintiffs timely
16
     rescinded both their Note and Deed of Trust under TILA 15 U.S.C. § 1635 on April 15, 2013,
17

18   effectively voiding all contract and debt. Therefore, Defendants had no standing to initiate a

19   foreclosure or collect payment under the contract because those contracts were extinguished by
20
     the operation of Law on April 15, 2013.
21
            5.8    The only way for the Rescission Notice to be undone under TILA and
22
                     Regulation Z is by another operation of law, i.e., under another judicial
23

24   proceeding, which was not initiated by anyone in this matter. See, e.g., Alexandra P. Everhart

25   Sickler, And the Truth Shall Set You Free: Explaining Judicial Hostility to the Truth in Lending
26   COMPLAINT FOR DECLARATORY JUDGEMENT - 7                              JAMES A. WEXLER, WSBA
     #7411
27                                                                            2700 NW PINE CONE DRIVE
                                                                                              SUITE 314
28                                                                                  ISSAQUAH, WA. 98027
                                                                        206.849.9455; WEX@SEANET.COM
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 1   Act’s Right to Rescind a Deed of Trust Loan, 12 Rutgers J.L. & Pub. Pol’y 463, 482 (2015) (“As
 2
     a practical consequence of [the Jesinoski\ ruling, a lender now bears the burden of filing a
 3
     lawsuit to contest the borrower’s ability to rescind. In short, any questions about the mechanics
 4
     of TILA rescission should be resolved in the lawsuit].”).
 5

 6
                         5.9       All other parties are barred for lack of standing, to wit: an effective
 7
     rescission voids the Note and Deed of Trust (see 15 U.S.C. § 1635, Regulation Z, and Jesinoski).
 8

 9   No party in any court can obtain relief based upon a void instrument.

10
                                              VI.   PRAYER FOR RELIEF.
11

12
                          6.1      Plaintiffs re-allege each of the allegations as if set forth fully
13
     herein.
14

15
                           WHEREFORE, Plaintiffs hereby request this Court for enforcement of
16
     TILA’s and declaratory relief per the April 15, 2013 rescission as follows:
17

18
                    1.     Declare Plaintiffs have already Rescinded the Loan’s transaction through
19
                           the means specified in the TILA’s statute.
20

21                  2.     Declare Plaintiff’s Rescission notice was completed properly on April 15,

22                         2013.
23                  3.     Declare any and all encumbrances on subject property are removed.
24
                    4.     Declare Defendants are precluded from seeking foreclosure.
25
                    5.     Enter such Order to prevent the Defendants from using voided instruments
26   COMPLAINT FOR DECLARATORY JUDGEMENT - 8                              JAMES A. WEXLER, WSBA
     #7411
27                                                                            2700 NW PINE CONE DRIVE
                                                                                              SUITE 314
28                                                                                  ISSAQUAH, WA. 98027
                                                                        206.849.9455; WEX@SEANET.COM
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 1                     against the Plaintiff’s property.
 2
                 6.    Enter such Orders necessary, as the court deems appropriate.
 3
                 7.    Demand Defendants bear the expense of Attorney fees and costs for this
 4
                       litigation.
 5

 6               8.    Permit court in its discretion and by the Consumer Protection Act to

 7                     include up to triple damages caused by Defendants assertion of a lien
 8
                       against the property or claim against Plaintiffs.
 9

10                     Dated: the 8th day of May 2017
11
                       Respectfully Submitted at Issaquah, Washington,
12

13                     JAMES A. WEXLER, ATTORNEY-AT-LAW
14
                       s/ James A. Wexler___________
15                     James A. Wexler, WSBA # 7411
                       2700 NW Pine Cone Drive, Suite 314
16
                       Issaquah, Washington 98027
17                     206-849-9455; wex@seanet.com
                       Attorney for Jerry Hoang and Le Uyen Thi Nguyen
18

19

20

21

22

23

24

25

26   COMPLAINT FOR DECLARATORY JUDGEMENT - 9                         JAMES A. WEXLER, WSBA
     #7411
27                                                                       2700 NW PINE CONE DRIVE
                                                                                         SUITE 314
28                                                                             ISSAQUAH, WA. 98027
                                                                   206.849.9455; WEX@SEANET.COM
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                     EXHIBIT A




           WARRANTY DEED




                     EXHIBIT A.

TILA COMPLAINT FOR HOANG AND NGUYEN.
     Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 34 of 121




AFTER REcoRl>ING MAIL TO:


Jerry Hoang and le Uyen Thi Nguyen
13522 43rd Avenue South
Tukwila, WA 98168


                                             E2093495
                                             Ha'altv~~
                                             J~ $aU:l:t:U                            PAGEH1 OF tt1
Flied for Record at Request or:                                ...." ,.,.   0 1 .-      Rrst American Title
First American 11tle Insurance Company                        ~ InsurallOI Company


                                  STATIJTORY WARRANTY DEED                             dIi 20
File No: 4204-449916 (CMN)                                                     Date: December 21, 2004
Grantx>r(s): Bay Development Corp
Grantee(s): Jerry Hoang and Le Uyen Thi Nguyen



=!
Abbreviated Legal: i.ot 3, CITY OF TUKWILA SHORT PLAT NO. L01-033, Remrding No.
20040212900003
             ~~~~s>= 2&132001530&                RAST AMERICAN L-t 4 Ct41 L
THE GRANTOR(S) Bay Development Corporation, a Washington Corporation for and In
cxmsidel'ation d. Ten Dollars and other Good and Valuable Consideration, In hand paid, conveys,
and warrants to Jerry Hoang and Le Uyen Thi Nguyen, husband and wife, the following desalbed
real estate, situated In the COunty of King, State of Washington.

Lot 3 of CITY OF TUKWILA SHORT Pl.AT NO. L01•033, recorded under Recording No.
20040212900003, in King County, Washington.

Subject To: This conveyance Is subject tX> covenants, conditions, restrictions and easements, If any,
affecting title, which may appear in the public record, Including those shown on any recorded plat or
survey.




                                         Page 1of2                                             LPB-10 7/97
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APN:2'1320015306                                                                    Ra No.: 4204-449916 (CMN)
                                                                                              Date: 12/21/2004




Bay Development           , a Washington
Corporation




STATE OF        Washington               )
                                         )-ss
COUNlY OF       King                     )

I certify that I know or have satisfactory evidence that Mark LuddenA/~ the persoJJOO who appeared
before me, and~Id perso~ acknowledged that         9ske/they   signedtfils'lnstrumen~ on oath stated that
f/Jjstte/ttw!!f fNa,e. authorized to exeaJte the Instrument and aknowledged It as
the Secretary/TreaSurer d Bay Development Corp to be the free and volunt.ary act of such
~ ) for the uses and pu.,,.... mentioned In this m s t r u ~ ~
Dated:      /2-/1-ltf
                                                         Ouisttna' M. Nordyke
                                                         Notary Public In and for the State of Washington
                                                         Residing at: Sumner
                                                         My appointment expires: 10-9-07




                                                                                            .        ~   .   .   • I
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                                             Page 2of2                                      : ·. ~B-~0_7/97,::
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                                              STATE OF WASHINGTON }
                                              County of King

                                              The Director of Records & Licensing, King County, State of
                                              Washington and e:1:officio Recorder or Deeds and other
             ,,,,,,,,.,                       instruments. do hereby certify the foregoing copy has bee!I
         ,,,.,~iY 1:_'~,,..,                  compared with the original instrument as the same appears
                                              on file and of rcconl in the office ,ind that the same is A true
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- - - --                      - - - ----·-···-··




                        EXHIBIT B




          PROMISSORY NOTE




                        EXHIBIT B

  TILA COMPLAINT FOR HOANG AND NGUYEN.
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   Pnpued by, lll\lmRA R. IIORlAllTY

                                                                                                                   LOAN#: 220344064

                                                                    NOTE


        "APRIL 28, 2010                                              'l'OKIIILA
                !Ootol                                                  !Cllyj

                                           13522 43RD AVB S, TUXWILA( WA 98168-3204
                                                                   IPn>f-ly~

  1. BORROWER'S PROMISE TO PAY
        rn return for a loan that I have recelv!d, I promise to pay U.S. szae, ooo. oo               (thls amount ls called 'Principal'),
  plus Interest, to the ordec of the Lender. The Lender Is
  BANI( OP JIMBRICA, N.A.                                                                                                                 ,
  I will make all payments under this Note In the fonn ofcash. check or money order.
        I undel:$tand that the lender may transfer this Note. The Lellder or anyone who takes this Note by transfer and who ts entitled to
  recet¥8 payments under this Note Is called the "NO(e Holder.•

  2.     INTERl!ST
         Interest will be charged on unpaid prtndpal lll1tll the full amount of Principal has been paid. I will pay Interest at a yearly rate
  of      5.625 'l6.
        The Interest rate requ1red by this 5',ctlon 2 Is the rate I wtll pay both before alld after any default desalbed In Sedlon 6(B)
  of this Note.
  3.     PAYMJ!Nl'S
        (A) nme UNI Place . r P ~
        I will pay principal and Interest by making a payment f!Vef)' month.
        I wlll make my monthly payment on the FIRST                         day of each !OODth beginning on JtJNB 01 , 2010                 .
  I Will make these payments l!YflrY 111011th untU I have paid all of the pnndpal 111d Interest and any other charges desc:rtbed be1aw that I
  may owe under this Note. Each monthly payment WIil be applied as of Its scheduled clue date and WI))' be applied to Interest before
  Principal. If, on MAY 01, 2040                   . h tW owe amoWIIS Ullder this Note, I wW pay thme amounts In full on that date, which
  Is called the "Maturity Date.•
        I will make my monlhly payments at
  P.O. Box 5 15503, Loa Angeles, CA jOOSl-6803
  or at a different place If requln:d by the Note Holder.
        (B)AIDlalltofM..w.,Pa,-..
        My monthly paymenlwlll be In lhellllOWllofU.S, $1,657 . 89
  4.    BOllOWER'S lUGHTTO PREPAY
        I have the right to make payments of Principal at any time befoie they are due. A payment of Prtnctpal only Is known M a
  "Prepayment.• When I make a Prepayment, I wlU tell the Note Holder ln writing that I am doing so. I may not dmgnate a (ll.Ylllelll as
  a Prepeyment IfI have not made all lhe mon&hly payments due under the Nate.
     · I may make a full Prepayment or partial PrepaymenlS without paying a Prepayment charge. The Note Holder will use my
  Prepaymerus to teduce the amount of Prlllcipal that I owe under this Note. However. the Note Holdef may apply my Prepayment to
  the acaued and unpaid tncmst on the Prepayment amount. befote applytng my Prepayment to reduce !he Prlnctpal amount of the
  Note. If I make II partial Prepayment, there will be no chqes In the due date or In the amount of my IIIOlll:hly payment unless the
  Note HoJder agrees tn writing t o ~ changes.
  5.    LOAN CHARGES
       (fa law, which applies to this loan and which sets maximum loan charges. Is flnally Interpreted .so that the lntereSt or odler loan
  charges collected or to be collected ~ oomiectlon with this loan exceed the pennllted limits, then: (I,) any such loan chllge shall be
  reduced by tile amount ~sa,y to reduce the charge to lbe permitted limit; and (b) any SUlll5 already collected Crom me which
  exceeded permitted limits Will be refunded to me. The Note Holder may choose to make this mund by reduclllg the Pr!ndpal I owe
  under this Note or by making a direct payment to rne. If a refund teduces Prtnc1pal, the redudlon will be treated as a partial
  Prepayment.

  6.    BORROWER'SPAILVllRTOPAY MREQVJRED
         (A) Late Cllup ferOffnlM Payaenta
  If   the Note Holder has not rewved the full amount of      any llllllllhly payment by the end of PIFTKBN         calendar
  days after the date \t Is due, I will pay a late chatge to the Note Holdet. The amount of the charge wtll be 5. ooo '36 of
  my overdue payment of prtnctpal and Interest. I will pay this late charge promptly but only once on each late payment.
         (B) Default
         If I do not pay the full amount of each IIIOlltbly payment OIi the date u Is due, I will ·be In defaulL



  MULllSTATE FIXED RATE NOl£-Single Famly-FM!nle Mlell'Nddle Mee UNIFORM INSll!tJMENT                                        Form   uoo 1/Cn
                                                                     P11191orz




 II
  • 23991•
                                                                                        -'22034 ♦ 0~4000002005N'
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       (C) NotlceofDefault
       lfhm In default. the Note Holder may send me a written notice ttWng me tbatlfl do not pay the overdue amount by a certain
 date, the Note Holder may requlr8 me to pay llnmedlately the~ IIJIOUllt of l'I1ndpal which bu not been paid and all tbe tneere5t that
 I owe on that amount That dale mimt bo ac lea.st 30 days aft« the date 011 which lhe notice b ll'lllled to me o,- dell\lffld by other
 means.
       (D) No Wamr By Nau Holder
       Even If, at a tun~ when I 1111 In default. the Note Holder does not require me to pay Immediately In full as described above, ths
 Note Holder will sUll have the rlgbt to do so IfI am In default ata later time.
     · (E) ~efNmHolder'1C...udl!speala
       If the Note Holder has required me to pay lmmedlately ln full as described above, the Nore Holder will have the right to be paid
 back by me for an of tts costs and expe11Se$ In ~ this Note to the extent not prohlbill!d by applicable law. 'l'hme expenses
 !nclude, for example, n:asonable attorneys' fees.

 7.    GIVING OP N011CES
       Unl111& applicable Jaw n,qoJn,s a cllfterent IIIOlhod. any natk:e that .must be given, to me under this Note wtll be glwn by
 deltVfflll8 It or by malling It by first dais mail 10 1111 at !he Property~ abow or ct a cllff. .u addl9U IfI gt,,,, the Note Holder a
 ~ of my dlt1erentaddre#.                                                                                         ·
       Any nodce that must be gtven to the Note Holder under this Note wt1I be given by delivering It Of by llllll!ng It by ftnt class mail
 to the Note Holder al the addms stated In Section 3(A) above ar at a dlfTerent address If I am given a notice ofthat dlfferert acfdnm.
 I.    OBUGATIONS OF PERSONS l/NDER nus NOTE
       If more than 011e person signs lhl$ Note, each ~ Is fully and pmooally oblig.ted to keep all of the promises made In this
 Note, Including the promise to pay the rul1-1111011nt owed. Any person who Is a guarantor, surety or endorser or this Note Is also
 obligated to do these things. Any person who takes over these obllgallons. iTidudlllg 1he obllgatlom of a gumncor, surety or endcmer
 of this Note, Is also obligated to keep all of the promises made In thls Nole. The Note Holder may enforce Its rts)lts under this Note
 tplD5t oach person Individually or against all of ust<>selher, This means that any one of11$ may beteqlllred to pay all of the amounts
 owed under this Note.

 9,   WAIVERS
       I and any other person who has obllgatloll$ under thJs Note waive the rl&hts of Presentment and Nodce of Dishonor,
 "Pre$ffltme!ll" means the rlght to requl?e the Note Holder to demand payment of amounl5 due. 'Notice of Dishonor• means the right
 to requlre the Note Holckr to give~ ID other persons that amounts due have not been paid.
 10, UNIFORM SECVRED NOTE
      ThJs Note Is a uniform lnstrument with limited vamtions In some jurisdlctlons. In addition to the protection, gtvffl to the Note
 Holder under this Note, • Mortgage, Deed of Trust. or Security Deed (the "Security Instrument"). dal!d the same date as this Note,
 protects the Note Holder l'nml possible losses which might result If I do not keep the pnlllllses wh~ I INke In this Note. That
 Security lnsttument desa1bes how and under what condltlona I may be required ID maJce immediate piyment In full of all IIIIOllntl
 1owe under this Nol8. Some of those i:ondltlollS are described as follows:
       ·       If all or any pan of the Property or any IDwe$t In the Property Is sold or transferred (or If Borrower Is not a
          natural person and a beneflclal tntmst In Borrower Is sold or transfemd) Wltoout ~ • prior written cmisent,
          Lender may reqlllre Immediate payment In lWI ofall -        secured by this Security wtrumenl However. this Opl!On
          shall not be exm:lsed by Lender If such exm:ISe ts prohibited by Appllcable Law.
               If Lender exercises this option, Leoder shall glw! &rrower nodce of acceleration. The notice shall provide a
          period of not less than 30 days from the date the nol1ce Is given In aa:ontance with Section 15 within which
          Borrower must pay all sums seem by'thls Security Instrument. If Borrower falls lo pay these sums prior to the
          expiration Qf this penod, Lender may Invoke any remedies pennltted by this Security lnmument wlthwt flll1her
          no~ce or demand on Borrower.


                                                                                                                                         •




 WI1NBSS 11iE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.


                                                                                                                                     (Seal)
                                                                                                                                -Borrower



 ----------------:_B,. . o(Seal)
                           nuwer                                        --------,.,-------=-(Seal)
                                                                                                                                -Bonower
                                                                                                                     {Sign Original 011ly]

                                                                                                                           form '200 1/01
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                      EXHIBIT C




             DEED OF TRUST




                      EXHIBIT C

TILA COMPLAINT FOR HOANG AND NGUYEN.
,--- - - - - - - - - - - - -2:17-cv-00874-JLR
                     Case    -· · ------------. -
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                Bank of America, NA
                Recon Trust Co./TX2-979-01·07
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                                                                        20100505001375
                PO Box 619003                                            TICOR NIITIONL DT             73 N
                Dallas, TX 75261-9003                                   l'ACl!-4111 Of' ...,             •
                                                                        15/15/2911 t:1·47
                                                                        ICJHC COUNTY. WA




               After Reainltng Relllnl To:
               BANI(  OF IIHBJUCA, N.A.
               ReconTrua~ co./TX2•979•0l•07
               P.O . Box 619003
               Dallas, TX 75261•9003
               Assessor's Parcel or Accowit Number: 261320015306
               Abbreviated legal Descnpdon:
               LT 3 , 'nJKWILA SPL #LOl-033, REC #20040212900003


                                                     (IIIClladelotWoa...Spllt•........ ~ - ....1
               Full legal descrlpUon localed on page      3

               Trusiee:
               LS TITLE OF 'IIASKDICTON
                                                                            Additional Giantees located on page
               ---n
                 ....1CO-..,R-J"']""J·t2----1s,oc,rANTeTIIIILIMFer-.r111ou.1 - - - - - - - - -
                   1 J'I   t,t:"11 ,n '.:1   , ~ ,                   6453622                        00022034406404010
                   \(f'1 I'".}N      V   V    {./               (llecrow/Clo•i"9 II                     (Doe ID ti



                                         @               DEED OFTR~~!o2ss-oooos90491-2




               DERNITIONS

               Words used Ill nmlUple sections of this dDcumem are defined below lad odler words are defined In Sections 3.
               II. 13. 18, 20 and 21. Cen.111111G regardlog the usage of words used In this document are also provided In
               Sectloal&.
               (.4) "Smn"lty lmtnameat" means this document, which Is daled APRIL 28, 2010                           . cogether
               wllb all Riden to Ibis doaunenL
               (8) "Borrower" Is
               JERRY HOANG; AND LI! UYBN THI NGUYEN, HUSBAND AND WIFI!




               Borrower IS die tn1S10r under lhls SecurUy lnstrumen1.
               (C) "LfflCkr" Is
               BANK OF JIMERICA, N.A.




               WASHINGTOll-!ilngll f1mlly-F.,.,.. MNll'Nddle Mic UNFORMINSTRUMEIIT (IIERSJ                        form304l1I01
               MERSO-SofT.-.WA
               2006A•WA (OMJS)(l#O                             Pago 1 al 11




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                                                                          DOC ID•• 00022034406404010
 Lender IS I NATIONAL ASSOCIATION
 organized and exlsUn8 under die laws of THS UNITaP STATBS                        • Lender's iddms Is
 101 South Tryon Street, Charlotte, NC 28255
 (Dl "Trustee" Is
 l,S   TITLB OP WASHINGTON
 2707 COLBY AVB, ST£. 1118, BVBRffr, 'NA ,8201                                                               .
 (E) "MERS" Is Mortgage Elec:IJ'Olllc Reglstradoll Systems. Inc. MERS Is. separate corporalloll 1hat Is acting
 solely as I nomlJlee for Lender and Leoder's successors and mlgns. MERS I, tbe lleaeficiary under 11111
 Staartty lutna-t. MERS Is organized and exlstlPg under the laws of Ddawme. and his an add!as ud
 1elephone number of P.O. Box ZOZ6, Flint, MI 48501-2026. tel (888) 679-MERS.
 (I') "Note" -        lhe proml$$OI)' note :signed by BorroMr and dated APRIL 28, 2010                        . The
 NOie SlalS Iha! Borrower owes Leader
 TIIO HUNDRED EIGHTY P:IGHT THOUSAND and 00/100

 Dollars (U.S. S 288, ooo. 00           ) plus Interest. Borraw11r has promtsed 10 pay this debt In regular Pa1odlc
 Plyments and 10 pay the deblln full not Iller than MAY 01, 2 04 0                 •
 (G) "Property" tmMS th property that Is desaibed below under tile heading "Transfer of Rlglm In the
 Propeny.·
 (If) "Loa•" -        the debt evldellced by die Nace. plus labnst, any prepaymesu charges Mid lale charges due
 under the Note, and all sums due under thb Secur1ly blsUumenl. plus lnlerCSL
 (I) "Riden" l!leU$ all Riders 10 lhls Secmlty lmUumenl 1h11 a r e ~ by Bonvwer. The follovrlng Riden


       B    Mjmlable Rate Rider
            Balloon Rider
                                       B
 are to be executed by BocTOWU' (check box IS appllcableJ:
                                            Condominium Rfder                     0 Second Home Rider
                                            Planned U.111 Developmenl Rider 0 1-4 Family Rider
       0 VA Rider                      O Biweekly Payment Rider                    0 Olher(s) fspedlyJ
  (J) ..AppUcable Law" means all conlrOlling applicable fedenl. SUie and local SIIIUles, regulaUons. ordlnances
  and edmlnlstrallve n&les and Olden (that have lhe effect or law) as well as all applicable final. 1101Hppt.alable
  Judicial oplnloCls.
  (K) "Commu■lty ~ Dues, Fees, lad Allaameata" means Ill dues. fees. ISRSSIIICRIS 11111 Oilier
  charges 1h11 are Imposed 011 Bonowcr or chi, Property by a condominium moc:lldon. hameowoers ISICldalion or
· similar orpnmtlon.
  (L) "Electronic Fuads Tnufer" mNDS any uaml'er of f°und$, other lhan a ttansac11oo originated by check.
  draft. or similar paper lnslrumellt. whldl Is lnltlaled through an eledronlc tennlnll. telephonic insUUmelll,
  tomputer, or magnellc tape so• to order. lnslNct, or audlorlze a fliaacial IDstitUlion to debit or aall1 an
  at'CO\lllt. Such term lndudes. bul Is 11111 llmlled 10, point-of-sale tnnsfen. automated teller machine tnnsad!OGS.
   trwfen llllllaled by telephone, wire ttamfers. and aummated dearlngbouse lrllnSfers..
  (M} "Escrow ltuu" maas those lelllS that are desaibed In Secllan 3-
   (N) "Mltcellaaeou, Proceed," means aay c:ompen,alloo. seuJement. awad of damages. or proceeds paid by
  any lhlrd party (Giber lhan 1nsur111C1e proceeds paid uadet die --aes described In Sedlon 5) for: (0 damage
  10, or desbudlon of, dte Property; (U) condenntlon or other la.king of all or any part of the Property;
   (IH) conveyance la lieu of c:oodemnllloa; or {Iv) ~atlons of. or omissions as lo, the value and/or
 condition oflhe Propetty.
 (0) "Mortpge IU11n-" means 1nsur1ncc procec:Ung Lender against die IIOllpaymenl of, or default on, the
 Loan.
 (P) "Ptnodic Payment" meam die regularly scheduled III_IOUlll due for (I) pl1ndpll and Interest under die
 Nole. plua (II) any_. under S«llon 3 of this Security lnsnmall.
 (Q) "RF.SPA" meaas the Real Eslale Seulemeal Proc:edwes Aa (12 U.S.C. Sectloa 2601 et aeq.) aad IIS
 Implementing segulatlon, Regulatloo X (24 C.F.R. Pan 3500), • they mlgbr be amended from time ID time, or
 any addlllonal or sua:euor leplallon at regulallon that 81Mf11S die same subject matter. As used lo lllls
 Seaully lnslrmnent. "RESPA• ref'en ID all requlremenls and mlJlcdons lbll . . llllposed In reprd to a
 "federally related martgage toan• -  ir lhe Lo.a cloG no1 qualify as a "fedenlly relalm mortgage loan" under
 RESPA.
 (R) " S - r ill Interest or Borrower" fflWIS any party that Im 11km Ulle 10 die Property, wllelher or not
 that patty Im •urned Bom>wer'J obUptlOns under die Note and/or !his Security lnslrument.
 TRANSFER Of RIGHTS IN 11IE PROPERTY
 The bene!lc:ialy oflbls Security lmll1lmcnt Is MERS (solely IS nomlaee for Lender and Lender's S1ICCCSSOD and
 asslglls) aad t h e ~ 811d ass1pS ofMERS. This Security hlslrunlfa secures IO Lender: (I} the iq,aymet1t
 oC lhe Loan. ud all .-ts, extaislons and modlflatlons of die Nole: and (II) die perfonnmc:e of Bonowct's
 c-«s 111d ~ ader dds Setmtly Instniment and the Nore. Por this JIID1IOR, Bonower lmvocably




 WASHINGTON-s.tglll Famlly-f'.,,.MHll'reclllle MK UIIFORM 1\1$-muMENT ~ )                             Fann 304111D1
 MERS Deed Ill Trvll•WA
 Z006A-WA (OI/OI)                                    Pege2ol 11
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                                                                         DOC ID I: 00022034406404010
granis and cooveys to Tnistce, In trust. wllh power of sale. the following desalbed property located In the
                        COUNTY                            of                        ltDlG                          :
              rr,p.at~Jslsdlcllonl                  iN.aoafkanllasJunsdlcslonJ
1.0'1' 3, CITY or TOXWILA SHORT PLAT NO . L01•033, RBCORDBD URl)BR RllCORDING NO.
20040212900003, IN IUNG COONTY, WIISHING'l'OK




v.tilc:h currently has 1he addre$s or
                                         l3522 43RD AVES, TUKWILA
                                                     1Slnev01YI
Washington 98168·3:lOt rPropeny Adc1tess•):
             IZlp Code!

       TOCETHER Wmf all the lmptl,Yements 1111W ot hereafter encted oa the property, and all easemenis.
appurtenances, and ftxtuns now ar beleafler a pan of the pn,perty. All repllcemen1S and addlliom shall also be
covered by this Security lnsmunenl. All of die forqolng Is memd to In lhJs Seturtty ll'ISlnm1ent u the
'Property: Bormwer uodmtaiids and agrees 1h11 MERS bolds ooly lepl title to the ldemts granted by
Borrower In this Security Instrument, but, If necessary to comply with law ar custom, MERS (as nominee for
Lender and lender's sucaaon and asslgas} 11115 the right: to excrcbe uy or all of those Interests, includin8- but
llOI limited to, the rtght to foreclose and sell the Property; and to I.Ike any action required of Lender Including.
but not llmlted to, Rlsslng 11111 anallng lhls Security lllsCnunml.
       BORROWER COVENANTS that Borrower ts lawfully selsed of the estate hereby conveyed and 11&1 the
right to gram and convey the Property and !bat the Property IJ unencumbeffil. except for aicumbrances or
record. ~ warranl$ and will defend generally Ille title to the Property against all claims and demands.
subject to any ~ of record.
       THIS SECURITY INS1RUMl!NT combllles uniform c:OYelllllls for na1icma1 me and IIOIHllllform
COYellal!IS Wltll llmlted wlalJoll$ by jutlsdlctlon to c:onstllllle .. uniform securfly ln.fllument coverioa real
propeny.
       UNIFORM COVENANI"S. Bonower and Lender aMllllll 111d ape u follows:
     . I. Pa:Jllttal o( Prliu:lpel, latenst. IKlcnlw ICeau, Prepay,aeat Clulrps, aad Late CJi1rps.
Bonower shall pay when due the principal of, ud loteresl on, the debt evldenc:ed by the Note and uy
prepayment charges and late charges due under the Nole. 8orrowff shall also pay ftmds for Escrow Items
pursuant 10 Section 3. Payments due ander the Note and this Security lmtrument wll be Jude In U.S. c:urmx::y.
JiOWl:Yef, If any c:hedc or other lnslrumellt ~ved by Lender as payrunt undir the Note or lhls Securily
Ins1rumen1 Is returned to Lender unpald. Lender may ""lllire that any or aD 111bsequenc payments due under the
Nole and this Seairlty lnstnunent be made In one or -           of the following fonns. as selected by Lender:
(a) cash; lb) money order; (c) artJfled check. bink check, treasurer's check or casbJcr's check. provided any :iuch
cllec:k Is drawn upon In Institution whose deposll:s are lnsuml by a federal agenc:y, lnstnunentallty, or entity; or
CcO Electronic   Funds Transfer.
     PaymcalS me dcesncd iecdved by Lender when secelwd al the location designated In the Note or al $11Ch
0lher location as may be designated by Lender In accordance with the notice provisions In Section 15. Lender
may return any payment or partial payment If the payment or partial paymms are lmufflclenl to bring the Loan
c:unent. Lender may aa:ept uy payment or panlll payment lmufflc:lenl to bring the Loan euttenl. w:itllout
wiJwr of my rights lwnunder or ~ to Us rights to refuse sucll payment or partial paynla!IS In die future,
bat Lender ls llOI obllgatld to IIJl)ly ,udl pa)'llllllllS II the time Mb paymencs are accepted. If eldi Periodic
Payment Is applied as of Us scheduied due dale. lben Leadlr Deed not pay lllteraa 1111 uaappUed funds. Luder
inay bold such unapplled funds undl Burowu makes payment ID bring die Loan cumut. lf 8orrvwu does not
doz within a -..ble period of Iba, Lender -11 either apply such raadt or n:tum them to Bonowa-. If not
applted earller, such fllllds will be applled to die 0Qlslnln8 prlDdpaI baJance under die Note Immediately prior
lo foteel4ue. No offset or c:lllm which Banuwer might have now or In the future against I.aider shall relleve
8onower from malting pa}'l!ll!ftts due oder the Note and this Seairlty Instrument or pedormlng the covenants
and agreements secured by this Secutity lnsttumenl.
     2. Appllatltll of h,-atl or P,-cb. Except as otherwise desatbed hi this Section 2, .U payments
accepted and applied by Lender shaD be ,pplled In the following order of priOrlty: (a) lnlerat due under the
Note: (b) principal due under the Nole: (c) amounts due under Section 3. Such pa~ shall be applied to each
Periodic Paymenc In the order In which lt became due. Any Jefflllnlns mnoants shall be applied lust to late



WASHIIGTON-Slngle F.....,...,_ _        __,,.......Mac   UNFOAMINSTRUMENt .,US)
MERS DMcl r//TMl WA 0


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                                                                            DOC ~D #: 000~~034406404010
 c:harga. secoild to any olher amouais due under dlis Secur1iy laslnlmmt. and then to reduce die principal
 bawlce of' die Note.
        If Lender recelves a iayment from Bonower for a delinquent Periodic Payment which Includes a suffldenl
 lfflOlll!I to pay 1111)' late cbarp due, Ille payment may be applied to !he dellnquent payment and the late cbaJie. If
more 111111 one Periodic Payment Is OUISlandlng. Lender may apply any payment recdved fium Borrower to the
rqiaymem of the Periodic Payments If, and to the txteat that, each payment can be paid In full To the extenl tMt
any exteSS eidsts al\er the J)iyment Is applied to the full payment of ooe or more Periodic Payments. such ellte3S
may be applied 10 any late charies due. Vobmtary prtpayments shall be applied Ont to IIIY prepayment chuges
and then as d.escrlbcd In the Note.
       Any application or payments, lnsumlce proceeds, or MisoolUlfflllS Proceeds to principal due under tbe
Note shall not extend or postpone llae due date. or chaage tile IUIIOWII, of the Periodic PaymenlS.
       3. FulKb for E.scrow llcau. 8omiwer sbllJ pay to Lender on the day 1'riodlc PlymenlS 1ft due under
tbe Nole. Ulllll lhe Nole 1s pdd tn liill, a 511111 (die "Ftals1 to pn,vlde for paymeat or 81110W11S due for: (a) taxes
and assessmeots and ocher iteJID wbJch WI attain prforlly ovcr Ibis Secur1ly lnslniment as a lien or encwnbnnce
on the Property. (b) le8sebold payments or ground rents oo die Property, If any. (c} premiums for 1111)' and all
Insurance requind by Lender under Section 5; and (d) Mortgage 1 - pie!lllwm, If any, or any swm
payable by 8orraww 10 Leader In lleu of the paymesit of Mortgage WUl'IIICe pmnhum la accotdanc:e witla !be
provisions ofSecdoo 10. Tllae Items an: called "&crow l'telm." At orlglnalloa or It any time durlag die term of
the Loan. Lender may require thal CollllllUlllty A,socladoo Dues. Fees . . "5lasmeals. If any. be escrowed by
Borrower, and such dues. fees 1111d messmeots "'-11 be an Esaow Item. Borrower shill promptly furnlsll to
Lmkr all DOdca Df lfflDIIIIIS to be paid under tNs Sectfoo. Borrower sllall pay Lender IAe Fuads for Escrow
Items un1'ss Leader walYtS BorrVMl's obllptloa So pay the Funds ror 1111 or all Escrow Items. Lender may
waive Borrower's obllgatlon to pay to Lender Fllllds fur ll'lf or all Esaow Itmis at 1111)' time. Ally such waiver
may only be In writing. In Ille event of such WIIIYu, Bonower shall pay dlrecdy, wbea and wbae payable, lbe
amounts due for any Escrow Items ror which payment of Funds bas beat waived by Lmler and. II Lender
requles, shall furnish to Leader recelpCs evidfJlclng such paymellt WltblJI such time period IS Leader may
require. Borrower's obligation to male such paymears and to provide teeetpta ahall foe all purposes be deemed to
be a CO\lffllllt and agreemeGt contained In this Seaslly Instrument, u the pllras. "QMlllllt end ..--,r• Is
used In Section 9. If Borroww Is obllpted to pay &aow lleml directly, puquut to I waiver. and Borrower
falls to pay the 8Jll0WII due for an P.saow Item. Lender may exen:lse Its rfgbts llllder Section 9 and pay such
111101111t and Bonower shall then be abUgated 1lllder Secdon 9 to repay ID Lender 111y such amount Lender may
revoke the waiver as to any or all Esauw Itesm II any time by a notice Blvea lo accordance with Seciton 15 ml,
upon such rellOCatlon. Bonuwer shall pay 10 Lender all Funds. ad In such 11110W11S. that are then requlftd under
tllb Section 3.
       Lender may, It any dme. collect and hold Funds In an 1mount (I) sut8deot to pumll Lellder to apply the
Funds at Ille lime spedl\ed under RESPA. 111d (b) llOI to eiaed the mlldmwn llllOUlll a lender can require under
RESPA. Lender shall esdmate the amaunt of funds due on the basis of current dala and rasonable eswmtes of
expenditures offlltlte Escrow hems or Dlhawlse In ac:tOl'dance with Applicable Law.
       The Funds sh&ll be held tn III lnsll&IIUon whose deposllll are Insured by a federal agency, IAstnllnelltallty. or
entity (Including Leader, If Lender Is III lastlllltlon whose depo,IIS n ,o lnPral) or In My Fedml Home Loan
Bank. Lend« shall apply the Funds to pay the Escrow ltl!ms no Jaler than the time speclfled under RESPA.
Lender sball 11111 cJarge 8onvMr for lioldtng and lpplylD& the Fllllds. lllllUllly analyzing the escrow account, or
~ the Esaw ltemS, ualcss Lender pays 8onvwa lnlaat oa the Funcb and Appllcable Law permits
Lender 10 mike such a dwge. UallSI III apemeat Is made ID "'1dQ8 or Appllcable Law requires lnllftSt to be
paid on the Funds. Lender shall not be required ID pay ean- any 1 - .or elffllngs on the PIUlds. Banower
and Leader can ·asree In fflldJ,a. llowewr. 1h11 lntaest shall be paid on the Ftals. l.eftdet sir.D g1¥e to
Borrower. wtlhoat dlarge.111 w l IIXOllllll"I ofthe Funds e nqulml by RESPA.
       If there Is a surplus of Funds held In escrow, as defined under Rl!SPA. Lender shall lCC0Wll to Borrower
for the excess funds Jo accadance wltb RESPA. lftben! Is. shor1agll of Funds lltld In .saow. IS denned under
RESPA. Lender shill noclfy Borrower as required by RESPA. and Butower shall pay IO Lender the IDJOUlll
necessaiy ID make up the sholfaee In acairdance with RESPA. but Ill 110 more Iba 12 llllllllhly payments. If
there Is a defldency of Funds beld In escrow• .., delloed under RESPA. l.eDder sball nod.fy Bonvwer IS reqund
by RF.SPA. and Bonuwa- sball pay to Lender die 11m1Dt necessary to make up die def1dency In mx:ordance
with RF.SPA. but In no more than lZ monlllly paylllCIIIS.
       Upon paymcot ID full of all 1111111 5eCtlJl!II by this Stcarlty 1nslnuneat. Lender shall prompdy ~fund to
BornJwer my Funds held by Lender.
       4. Cllaraes; uem. Borrower s11a11 pay an raxes. assess,mus, charges. Ones. and 1mpo5111on$
altrlbulable to the l'ropaty whlch cu llllllln prtorlty OWJ" this Secmlty lnstrwnellt, leuebold paymen15 or ground
rents INl the Property. If any, and Community Association Dues. Fees. and Aaes.1alenll, If aoy. To the extent
that these Items are Escrow Ite1111, Bom,wu sllaU pay them la the 111111111et provided In Secdon 3.
       Borrower shall promptly clischalp ..-, lien which has priority owr 1h11 SecUltty Instrument Ullless
Borrower. (a) agrees In wrflillg to the payment of lhe obllptlon 5mlRd by the lien In I IRlllllff KCeplable ID
I.alder, but only so long • 8omJMt Is performing s1ICh agreement; (b) COD1e$1$ lhe bea In good faith by. or
defends against enfon:emelll of the lien In. lepl proceedlnp which In Leader's opinion operate to prevent the
enforcement of the lien while tllose proceedings are pending. bat only until such proceedings are t'Oncluded: or
(c) secures from the holder of the lien an agreement salisfactory to Lender subordinating the Ue11 to thls s«wlty



W~TON-Slngle Famly-f'_,.MNIFNddleMac UNFOAMIIISTRUMENI' ~
ME:RS Deed tJI Trusi,.WA
2006A-WA totll0I)                                    Page 4 Cf 11
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                                                                          DOC ID f: 0002203440&404010
lnslrumenL If Leader determines Iha! any put of die Property Is subJecl 1o • lien wblda can lltabl prlurity over
this Security IIISlnlmenl, Lender 1111y give Borrower a notkc I ~ die Ilea. Wllllln 10 days of the dale on
wllidi tllat nodce Is pm. BorroMr sball Slllllfy die lien or lake oae or men or Ille actions Kt forth aboYe In
lhls Secdoa -4.
      Lender may require Bonuwcr co pay • cwie•llme charJ!e for a -1 estale tu vert8cadon and/or reporting
sav1ce used by Lmder III COlllleCtlllll wllh 11m Lo.la.
      s. Pnlflerty IDHruce. Borrower slwl1 keep the lmpvYemenls 110W Cldstlng Ill hcrelfter erected on the
Property IIISlftd aplDSI loss by ~ "-ds Included wllll1n the lellll "Olcadcd COW'Cl1R'." and 111Y Olber
ham$ lncludhlg. but -           llmlt~ to, t.arlhqulkes and Roods. for whlcb Lender ~ lnairance. This
lnsurallc:e shall be lllllncalned Ill rite amounrs (tncludlng <Wuclli>le le'ftls) and for 1hr po1<xlJ drat !Ander
requireS. Whal Leader reqtllns puna>I lo the preceding RDleacG can dlange during the lam of the Loan. 1be
lnsunace carr1er proYldlng the 1--..ce shall be chasc:u by Bonuwl:r SllbJ«t IO Lender's rtgbt IO disapprove
Bonower's cholce. which right shall not be exercised UIIIUSOlllbly. Leader may requn Borrower ID pay. In
amnec:tlon wllh Ibis Lou. either. (1) a one-lime cbaige far flood zooe detamlDldon. certlflallon 11111 nctlnl
services; or (b) a one-time charge for ftood 1011C detennlllllloo and certlfladon services 111d subsequenl c:hlrges
each time remapplngs or similar ~ occur whlcb rasooably might affect such delermlnatlon or
cer11flcatlon. Bomlwer shall also be responsible for the peymenr orl/lf1 fees Imposed by the Federal~
Maugemeat Ager,:;y In comiectloo wldl die rme,11 Of tlfY ftood IIOlle delermlnalloD resu1IJa& from Ill ol!jectlon
byBonowa-.
     u Borrower r,Us 10 mallllal•-, of the COYall8fS delcribed above. Leader may obtain Insurance-.,
at Lender's option 111d 8orrowef's expense. l.eDder Is UDder no obllgatlon ID purdase any particular type or
IJOOUDI of covmge. Therefore, such coverage sball cover Lender, bul mlghl m might not poled Bonowu,
Bom,wet's equity In tlle Property. or the comms of the Property, . . - uy r1sk. lamd m liability 11111 llllght
provide grater or Ism" aMrage than was prr,lomly In effect. Borrower acknowledges dial die IJlll fl the
lllSUlllla! COVfflllf! so obtained 1111/Jht slgnlftancly exceed the cost of lmurance lbal Borrower could ~
obtained. Any amounts disbursed by Lender vnder Ibis Section 5 shall become addl1lcllll1 debt or Bonower
secured by this SecurUy IIISll'Ulllelll. These lmounlS shall bear lnlfflll al the Noce rare from I.lie dale of
dlsbwsemenc and sball be payable. wllh 31d lnlerat, upoo 11011ce from Leader lo Bc.lwm requesdng payment.
        All 1Dsunnce pollcles required by 1.-ls and reMWals ofIUdl polldes slwl1 be subject It> Leader's t1pt to
dlslppmYe sucb policies, sllall Include a 9lalldant martpae ci-, and shall name Lender• IIIOflp(lee aod/or
as • llddlllOnll Joa payee. Lender nil ~ die rtglll 10 hold Ille poUcles and n:newa1 artlflaees. If Lender
requlffs, Banower shall promptly gt.e 10 Lmder Ill receipts of paid prenaams and - - 1 nodces. 1f Banower
oblalm llf'f form of lllllll'IIXZ t:IMrlp, not Gdierwlse required by Leader. for damlge ID. or deslructlan of. the
Prvpeny, IUdl policy ..n lociDde • ~ - . . ~ ud IIMD- Leader as lllOnppe rnJJ« as an
addldonll loll payee.
        In lhe evenl of lost, Banower slwl1 give prompt nolk:e to the WClnlllCe can1er and Lender. Lender may
make proof of loss If not made prornpdy by Bonuwer. Unless Lender and Borrower odmwla 111J9e In wrllillg.
any lnswance proceeds, whether or not Ille Wlderlytng tnsuraoce was requlfflt by Lender, shall be applied to
restoration or repair of lhe Property, If du: ratoralloe or n:palr Is ec:ownlally C-nile and Lellder's -it)' b
not lessened. During such npdr and restontloa period. Lead• shall baYe the right to hold such . _
proceeds until Lender his had an opportunity to Inspect sucll Property to enswe the work has been completed to
Lender's satisfaction, provided that such INpectlml sball be underUkm promplly. Lucier 1111)' disburse proceeds
for the repairs and restOnlloa In a sfQgle payme11t ot bl a sertas al pnwta paynms as the wmi ls completed.
Ualm an agteemmt Is made Ill ~ or Applkable Llw requJra lnlaal It> be paid oa !Ilda lnsuranCle
procweda. Lender shall IIOI be required to pay Banower any ...,. or eamlllgl on IIUCh pn,c:eeds. Feu for
public adJtlslas. or other tlllrd patles. fflalned by BomJwer sball not lie paid out of the tnsunnce pnxeeds 11111
sull be the IOle obllpllon of Bomnver. If the nlllkllldml Ill repair Is not ecmomlcal1y fealble or Letdtn
security would be Jeaened. the bnnnce ptoeeeds shall be ,pplled IO de IIIIDIS 9eCllftd by dlJs Security
lnstnuneat. whether Ot llOI then due, wl1h d i e - , If Ill}', paid to Banower. Such imunlKz proceeds shall be
applied Ill die order provided fbr Ill Seaton 2.
        Jr Borrower abenclons the Property, Lender may Ille, negodale and settle any available tnsuraace clalm and
related llllllers. If Bonvwer does not respond wllbln 30 days to a IIOllce from Lender lhat the IIISID"ance c:amer
las offmd to settle• clllm. then Lender may llefJOfllle and settle the claim. The 30-day pmod w1ll begin when
tbe nocJce Is glvm. In either event. or If Lender acquires die Property under Secdoll 22 or olberwlse. Borrowu
hereby assigns to Leoder (II) Borrowa's rtgllCs to uy IDSuram:e proceeds In • lfflOUllt not to ac:ced the llfflQllllts
llllfllld under the Nole or this Security lnslnu.nt. and (b) any olllH or Bonowa's rtgbls (other than the rtaht to
uy rcCWld o r - . pmnt1D11S paid by Borrower) under ell tmunna pollda covertag the Property, Insofar
• std rtgbls are appUcable to the - . of the Propeny. Lender 1111y me die lllsurltlce proceeds ellber to
repair or ralDle the Praperty o, to p a y . - upald undllr die Nuce or Ilda Sccar1ly lmtrumenl. wtaewr «
IIOl thell we.         .               ·
        6. OmlPlllCJ• Bonowv sball occupy. esllbU.. 11111 use the Property as Bcinower's prtaclpal rsldm:e
within 60 days after lhe execution of this Security lmCrument ml sball coadmie to ~ die Property as
Borrower's prinClpll ialdence re.- 11 least - , - after lbe-. ol ocaipancy. uni- 1.-- odmwlse -wees
In writing. which aiment sball - be IDemilllly willlheld. Cir _ . , . . . . . . . , . JICiiiiiSlliilCt:S exist wllidl
are beyond BomrMr'a COtllrOl.




                                                                                                      , _ . . vrn

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     7.    l'relcrYatloll, Malateaaace alld Frotecltoa •f tle Property; IDlpectfou. Borrower shall not
desttoy, damage or Impair die Property, allow tbe Property to delerlotate or commit waste on the Property.
Whether or IIOI Borrower Is residing In the Property, Borrower shall malDlaJn Ille Property In order IO prevent die
Property from deterforallng or decreasing In value due to Its condllloo. Unless II Is determined pwsuant 10
Section 5 !hat repair or restoration Is 001 economially feasible. Bortower sbal1 prom¢y repair lhe Property if
damaged. to awld rwther deterlorallon or duuage. If lnsurance or coademnallon proaeds are paid In c:onnectlon
with damage 10. or the raking of. the Property, Borrower shall be respcicmble for repalrtllg or reslor1ng the
Propeny only If Lender has relewd proceeds for such purposes. Lecuter 1111}' dlsbune proceeds for die rei-1.rs
and ~ o n In• slogle payment or In• series of progress paymentl as Ille woi11 Is c:oinpleted. If the lnsunnce
or ccndemnatlon proceeds - DOI suffldelll ID repair or reslDn! die Property, Borrower ts DOI reUewd of
Bonower's obllpdoa for the completion of such repair or restor11kJG.
        Lender or Us 1gen1 may mue ~ elllrles upon aad laspec1lom of the Property. If it bas reasonable
cause. Lenda- may Inspect the Interior of the lmprovemenlS on tbe Property, Lender shall give Borrower DOllc:e
at the lime of or prior to such III lntcrtar lnspecllon specifying such IU50lable came.
       I. Borrower', Loa■ Appllcado■• Borrower shall be Ill default If, dmq lbe Loan app&auon pn>Ct'.U,
Boll'OWel' or any persons or enlilla ICIJna at the direction of Borrower or with Borrower's knowledge or Cllllffftt
pw materially fw, misleading. or lnacainte tnrllffllltlon or stalmleats to Lender (or fillled to proYlde Leader
with material lnfonmlion) In connealon wldt the Loan. Material ~ t l o n s Include, bu1 ere not llmlted to,
repraenllllons a>ncemlag Borrowe'a OCQIIIIIIC)' ofIlle Property IS Borrowlr's prlndl)II residence.
       ,. l'nltcctloa or Lellcler'a r■terat la Ille Property 1111d Rlgtltl Ullder dais Scnrtty lutnuaeat. If
(a) Borrower falls to perform the oovenants and ag,eeulellts comlnecl Ill this Securlly l■mumeal. (b) theft Is a
legal proceeding lhat m!gbt slpllkandy affect Lender's lnteteSI In the Property and/or r1gtlts under this Security
lluCrumen( (sucb IS I proceeding In bankruptcy, paoblte, for ooadema#kl!I or forfelllllt, f« enforcemedl Of I
lien which may adllln pdorlty over this Securtty lns1n11nenc or ID fflfan:e laws or regulaliom), or (c) Borrower
has abandoned the Property. lben Lender may do and pay for whaiever Is remoaable or appropriate to protect
Lellder's lnteresi In the Propeny and rights ll1lder dais Security lnsmlmeDt. lnclwllng prulflttlng and/or assessing
the value or the Property, and securing and/or repairing the Property. Lemler's action., can Include, but are not
Umlted IO: (a) paying any sums secured by a Uen whida bas priority <Mr this Secwity lnslnnnenl: (b) apparlng
In court; and (c) paying reaonable attorneys' fees to proteet Us lnlereSI In the Propeny and/or rights under this
Security Inslrwnent. Incl~ its secured poslllon In I bankruptcy ~ Secwi"8 the Property includes,
but Is noc llmlled to, entering the Property to mue repairs. change locks. replace or board up doOls and
windows. drain WIier from pipes. eliminate bulldklg or otber code vlolatlons or dangerous c:ondltlom. ud have
lllllllles turned on or oft Allhough Leader may 11ke action Wider t11b Secllon 9, Lender does DOI have to do so
and Is not under any duty or obllpdaa 10 do :io. II ls ag,:eed that Lellda IIIQIIS oo llabillty for not taking any or
all ldlons •thortzed under th&s Secllo■ 9.
        Any alllOUIII$ dlsbul$ed by l.ender under th&s Section 9 1hall become additional debt of Borrower seemed
by this Secw1ty lmtrument. These amoUIIIS shall bar tnleftsl at Ille Nole rate from the date ofcllsbuneme8' and
shall be payable, with such Interest, upon notice rrom Lendl!r to Borrower requesting paymtnl
        rr tJus Securtly .1ns1nunent 1s 011 a leasehold. l3omnftr s11a11 oomply with aJJ the provisions or the lease. n
Bomlwer acquires fee title lo the Propeny, the leaselinld and the fee title shall not merge unless Lender agrees to
the merger In wrlltng.
        10. Monpp r-n■cc. [f Lender requlRd Mlxtgap lmwaate IS a condllloll of tMkiR& the l...om,
eon-er shall pay the pmnlums required to maintain the Morqpge Jnsurance In effect. If, for uy reuon, the
Mortgage Insurance coverage requlffll by Lender c:eues to be available from the lll0n!PF taswa- that
pm'lously provldccl ad! tuurance and Bonows - ffllUIRld 10 make separately dcslpted paymcnlS towmd
the premiums f« Mortpge lmlnDce. eon-er shall pay the pmni11111S required to obtain coverage
p•bstaali.lly eqa!Yaleat to the Mortpge wurance previolaly In dfcct. at• a111t subltlndally equJvalent to the
cost to eon-er of the M011g1ge lmurance prmousJy In eff'ed. from an akemale mortpge lmun!r ,elecled by
Lender. If subs&udally equivalent Mnrtaa19 lllsuraace coverage Is 11111 av.llahlc, Borrower -.II aintloue to pay
lo Lender the amount of the separalely deslpaled payments 1h11 were dae when the lnsarance CllM!Tlp ceased
IO be In effect. Lender wtil accept. use and retain lbese paymencs IS I ~ loa -                              In Ueu of
MOl'lpge lnsuraoce. Such loss reserve shall be IIOIH'tf1111dable. no(WflbSlandtna tbe fact that the Loan Is
ultimately paid In full, and Lender shall not be required to pay Borruwer uy 1a1etts1 or ear■IJ9 on such 1cm
-         · Leader can DO longer nqube km reserve paymenis tr Mongap Insurance COYerage (Ill the - t 1111d
ror the per1oc1 Iha! Lender requires) plOYlded by an 1ns1uer se1ectec1 by Leader aga1n becomes available, 1s
oblalned, and Lender requires separaltly designated payments toward die pretnlwm for Mortgage lnslnnc:e. If
 Lender required Monpge lmurance as a condition ol mul118 tbe Loan and Borrower - required to make
separately designated paymeats toward the premiums ror Mmipge lnsliraDce. Borrower shall pay the prmuwns
n!qU1red to malataln Mortgage hlilul1ln In effect, or to prcwlde 1 -fwidahle km reseMl, undl Lendel's
ffllllln!meal ror MGnpge r - ends In acmm-. wtth any wrlnea ag,eemen1 betweec &rrower and
 Lender providing for sudl tennlnll.kNl or 1111111 termlllalion ls requhed by Applicable Law. Nothing la this
Section 10 all'ects Borrower's obl!plon to pay tateral ill die me provided In the Note.
        Mortgage Insurance relmbmses Lender (or my mllty that purchlsa the NOie} for certain losses ii may
 Incur 1r Borrower does noc repay the Loan u agreed. Borrower 1s 11111 a party to the Mortgage Insurance.
        Mortpge lnsw9s evaluate tbllr toCal risk on all sadl ~ 111 fon:e from lime to lime. and may eoter
 Into agreements wllb odler parties that share or modify their nsk, or reduce IOSHS. Tbese agreements are on




WASHINGTON-SI. Famlly-fannleMNIF,..._ Mac - O R M ~ ~ )
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ZOOIA•WA (QM)8)                         Page t ol 11
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tmns and cundlllons tml il'C sallsf1C1oiy lo the mortgage lnswu Ind the Olbet party (or parties) to these
agreea11m1s. These apmenlS may requlrc the IIIOl1pF Insurer to make peyan!S uslqJ any IOIIJte or funds
that the mangage Insurer may haw available (whlcb may Include funds obtllaed l'rllln Mortgaet lnsurance
IRJIUll!m).
      Asa iault oflhaeagreemmts, Lender, anypun:laserofllle Noce, IIIOlherlmurer, anyrclosurer, any oilier
entity, or any aftlllale of any of the foll!golng. l1IIY receive (directly or Indirectly) IIIIIJUIIIS that datve from
(or mlg1lt be characterlad as) • p:llliOII of Bom,wes's paymenlS for Mortsap Imtrm. II mblllp for sharlna
or moc!lfyt111 dte mortgaee lmurer's risk. or redlldng losses. If such ~ provides lhat an affillllle of
Lender !aka a share of the lluun!'s risk In exchallge for a share of the premiums paid 10 the ln,1urer, the
amngement b ollcn rcrmed •gipim: rcl,_nce.• funher:
      (•) Aay sac• •vee-t1 will Ht ■rrm u,e ••011•11 that Borrower bu qreecl to pay for Moc1pp
l•1ar■ntt, or any oe._r terms of flae Loaa, Sacla ■cr-eata wlU ut laere■M die ■mouat Borrowu wW
owe for Mortpee las11niaee, 1Dd 1111)' will oot entitle ~ e r IO ■-y nlb■d.
     (b) Ally 111cll agreemeall wlD aoc affect tile rlpta Bornlwer llu • If ■ay • wllll raped to Ille
Mortgaae lnsarance ■■dtr tbe Hom-en Protectloa Act or 1'91 or any otber law. These rlgbts may
lnchtcle Ille rlpt 10 rectm! cert■la dllti-ns, IO nq11ut aud obalD aaeellatloa of die Mnr!pp
IManince, to laave tlae Mortpge lnnraace ten■lnated -■t-dally, ud/or to receive a reC1111d or aoy
Mortpet lll$UrHce      p,_•ma ..         at wen 1111a1racd at the tlllW ohucla cucdl■tlaa or termiaatioa.
      It. Aulpmear or Mllcellaa- Proctedl; Forrdblre. All Mlscell•- Proceeds are hereby
mlgMi to 111d sllall be paid ID Leader.
      If the Property ls dunapl, such MIICellNJeOUS Proceed$ lhall be applied IO resloradon tit repair d the
Property, If' the teslOlltloll or fell'lr Is ec:onomlcally feasible and Leader's .teeurlty Is not 1 - d. Olmng such
repair and restonlion period. Lender shall have the dpt to '°1d such Mlscellaneoui Proceeds until Lender has
bad an opporlWllly to Inspect such Property ID -              the work has II.a complm4 tD Lendel's satisfaction,
provided dlat liUCh lnspecllOn shall be undertaken promptly. Lender may pay for the repairs and rcstoratton In a
single dlsbunement or In a series of progrea paymems • the work Is ~leted. Unless an agreemei,1 ls made
In wrltlntl or Applicable Law requlles lnlere9t to be paid OIi sud! Mllcell- Proceeds, Lender shall not be
n:qulml to pey Bonower any lntaesl ar ~ 111 such Mlsl:ellaneous Pnxeeds. If the restoration or repair 1s
not economlcally feaible or Lender's security ~ be lessened. the Ml-1Jaoeot,,s Proceeds shall be applied to
the sums seclRd by 1hls Sccurtly Instrwnenl. whedler or not thea due, With the exces,, If any, paid to Borrower.
                                                                       roe
Suell Mlscellaneous PIOCftds shall be applied 1a die order provided In Seclion 2.
      In the event ofa l0tal llklng. dalructlon, or 1cm In value of the Property. the Miscellaneous Proceeds shall
be applied to lhe S1D1S secured by this Security Instrument, wfiedler or IIC)I then due, wllb the excess. If any, paid
to Borrower.
       In lhe event ofa pmtla1 Ilka., deSlructlon. or loss In value of the Property la which tbe rair market Vliue or
the Property Immediately before the pmtlal taklna, deslnldlon, or Joa In val.., Is equal to or pater than the
lfflOIIIII of the sums secured by this Security . . , _ lmmedlately bercn the ])lldal taldag. destructlan, or
loss In value, unless Borrower and Lender odlerwlse llfP'C!e In wrtllllg. die sums aecured by lhls Seoutty
lllSlrllffltlll tllall be ll!duced by the alllOlffll or die Ml,cellueous Proceeds muWplled by die foUIMlng flactlon:
(a) the 1utal amount uf the -            secured lmmedlllely before the partial taking. destruction, or loss In value
divided by (b} the fair market value of lhe Property Immediately before the panlal taking. deslnactloa, or loss In
value. Any balance shall be paid to Borrower.
       In 1he eYt11I of a partial taldas, datruttlon, or lasa In value of the Property In which the fair market value of
the Property lmmedlately before the partial laklng. datnactlon, or loss In value Is less than the amount of the
sums secured Immediately beforc the pm1lal 111dag. de:ittucdon. or loa In value. unks., Bonower and Lender
olherwlse ape In wrfllng, lhe Miscellaneous Proceeds shall be applied 10 lhe swm secured by this Security
IIISll'Ulllellt whecher or not the sams n tben due.
       If the Property Is abandoned by Borrower, or If, afier nollce by Lender lO Borrower lhat 1he Opposing Party
 (as defined In the next smteia) off'm to make an -.d to settle a claim for daaiap. Borrower raUs to iespood
111 Lender wllhln 30 days after die date lbe nooce Is glwn, Lendel' Is aulborlml IO collect and apply the
Miscellaneous Proceeds either to mlOl'llloR or repair ofthe Propsty or IO the sums secun,d by this Security
IIISlnlmelll. whether or not dim due. 'Opposlag Pany" Ille.Ill$ die tlaJnl pllty 1h11 owes BorrCJWII' MlscellaMoit$
 Ploc:eeds or the party aplnlt whom Bonower Ills a rtghl of ICUOII ID regard to Mbcd]llN'OIIS Proceeds.
       Bonowv shall be ID dd'lalt U' any .cdon or pma,edblg. whtlher civil or a1mlllll, Is begun !bat, In Lender'i
Judgmenl, could rea11 111 forfeiture of die Property or other ma1ertll lmpalnnent of Leaders Interest In die
 Property or rights uader this Securily IIISINmeat. Borrower can cure Mdt • default and. If aa:eleradoa has
o«umd. relmlate as provided In Section 19, by CIIISlt1g the ldloa or pruceedlog ID be dlsmls,ed with a nillllg
 that, ID Lender'sJ..ign-t. preclude5 forfeitllnl of lhe Pniperty or olhs material lmpalnnenl of Lender's Interest
In the Propesty or djjlllS under dlls Sealrlty lnstrumem. 1he proceeds or my award or clalm for cfamases lhat m
allrlbutable to the Impairment or Lender's Interest lo Ille Property are heRby IS.1lped 111d shill be paid to
 Lender.
        All MiSCellaneous Proceeds dlal are not applied to ffSOradon or repair of Ille Property shall be applffd In
1he order provided ror In Section 2.
        11. Borrow.r N o t ~ Forbelraace By Lauter Not• Wllhrer. Exlenslon oftbe time for payment
 or modlflcalloll of amortization of the sums secured by lhb Security lmnmeat granted by Lender to Borrower
 or any Successo, Ill Interest of Bonower shall not Dpl!l'll(e to release Ille llabtllly of Bonowff or any Suc:asson




WASHINGTIJN..Slnglll F ~ - M N I F..... Mlc UNIFORM INSTRIMJIT l'IIER$I
MERS Deed ol Tf\111,WA
ZOQIA.WA (Ol10II                                      "-gt 7 ol 11
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                                                                          DOC ID#: 000220344064040iO
 In lntereSI or Borrower. Lemler sl:al1 oot be required to commence pmctedlngs agalDSI any Successor In IJlleftst
or Bonower or to rel'use to extend lime for payment or ocherwise modify amortmtlon of the sums 5ee11mJ by
this Sealrtty lllstrument by reason of any demand made by the lll1glnal Bonower or my SIICCe550rS ID Interest of
 Borrower. Arry forbearance by Lender In exercising 11iy rlgh1 or remedy Including. without llmltallon, Lenden
accepcance or paymenis from third persons. enlllles or Successors In Interest of Borrower or In amounts less than
the amoun1 lhtn due, shall Ill)( be a waiver ofor preclude the exercl$e ofany rtgbl or remedy.
        13. Jolllt and Several LlabHlty; eo..Ipcn; SuecaMn aad Alllpl Ba■lld, Borrower amnants and
tgtteS dill Bonowei's obllgauons and liability $hall be joint and smnl. HO\ffl'IJ, lllY Banov.v who aH!gm
this Secwtty IIISlnlmenl bul does 1111t tRCllle the Nole (a "co-slgner1: (I) Is co-signing this Seturlty lmlrwneat
only to ~ grant and COIM)' the to-5lp's 11111!11111 In the Property Wider the terms of this Security
lnslrumeat; (b) Is not pmonally obllpted to pay die :IUIIIS xand by this Secwtly la51nunent: and (c) . -
that Leader and any other 8onoMr can agri,e IO exlend, modify, forbear or make any accommoclallons with
rcganl to the lfflllS of lhls Securlty Instrument or the Nace without the co-signer's cOIISetll.
       Subject to die prow1ms of Section 18. any Sua:es.,or III lnleres( or Bcnower wllo - - Borrower's
obllgadom under lhls Securky IIIIIIUl11enl tn Witting, 111d Is approved by Lender. sball ollcaln all of Borrower's
rights and benefits under this Security lns1J'umenl ~ shall DOI be released from llorrowei's obllpl!ons
and llablllty ll1ldu Ibis Stcurlty lDS1Nlllellt unless Lender apes ID sud! re1eme 1n writing. The covenanl5 and
,areements of thls Security lnsuwnenl shall bllld (excepc as provided ln Section 20) and benefit the succmars
and asslgns of Leader.
       14. LoM O.rps. Lender may th.vae 8orrower fees for Sffllk:es performed In connectJon with
Boaower's defaull. for the purpose of prolectlll8 Leader's llllerest In the Property ud rJghlS under this Security
lmtrumeat, Including, but not 11111111:d to. attorneys' tees. propaty lmpectloll ud VU1111Gn fte&. ID regard to any
olber fees. the absence ofexpress .uthorfty In dlls Security IIIStnallelU to charge a spedfic fee to 8ol1ower sball
11111 be COIISlnlCd as I prohibition oo Ille c.blrglng of std fee. Lender may not charge fees dat arc eiqxessly
prohlblted by dtls Securtty IIISlnanellt or by Applicable Law.
       Ir the Loan Is subject to a law which seb IIIIXimwn loan charges. 1111d that law Is finally ~ so that
Ille lnlaest or olher loan cliqes collected or lo be collected In connettioD with the Lam excad tbe permitted
limits, then: (a) any such loan c:hllge si.11 be reduced by the amount necessary 10 redua! the charge to the
pennltted llmll; and (b) any sums already collec:led frOIII Borrower which exceeded pennllled llm!IS wW be
munded to Borrower. Lender may choose to make lh15 muncl by reducing the principal owed under the Noo: or
by making• dhec:t payment to BorroMr. If a refund muccs principal, the reducllon wW be lreated as a partial
prepayment without any prepaymeat chaage (whelber or not a prepaymeat cblrge Is provided ror wm the
Note). Borrower's ICCCJIIIIICe ofany such refund made by direct payment to Bonuwer will camtltute a waiver of
11iy right of ICIIOn Bonower might ban ldslng out of such overcllarge.
       15. Notices. All AOtlces giwll by Borrows or Lender Ill connectloll wkh this Security lnstrummt must be
In writing. AJJ'j IIOUc:e to Bcnower In COMeCtlon wldl tlm Security lastnuntnt shall be deemed to hml been
glvea to Bonuwer whell lllliled by litst class maO or when ICtllally delJYelld to Borrower's notice addnm If se111
by other mmns. NoUce to any - Bonuwer shall COIBlltule not1c;e to all Bonowers unless Applicable Law
exprasly rcqulm ocberwue. The nollce lddlas shall be the Properly Addras uaJess eon- bas dc:slgnatal •
substllute notice address by IIOdce to Leader. Bonvwer shall promplly imUfy Lmler of ~ s cbange of
address. If Leader spcclOes a procedure Car ~ Borrower's clw&e of addrm. lhen Borrower shall only
report • change or address d1rough Iha! specified pnadure. There may be llll1y one designated notice addras
UDder Ibis Seaaity lnslnlment ll any OIIII lime. Any nollce to Lender sbaO be given by dellwrlng II or by mall~
11 by llnt class mall to Lenden addnm staled limtn unless Lender has deslgaated IIDlllber adcltess by DOda to
Bonower. AJJ'j nodce In comedloD with this Seairlty lnslnllDeal shall DOI be deemed to have been pen to
Lender until actully received by Lender. If any noda: required by Ibis Security Illl1nunent Is also required
UJlller Applkable Law, the Applicable Law requifflnenl wfll sattsry Ille conespondlns 19q11lrement under lltls
Security lnslnuneat.
       16. Gonrwlag Llw; SevenWJ11y; llulea or Coutndlon. This Security Instrumelll shall be governed .
by federal law and the law of the Jurlsdlclloll In wblch the Property Is localed. All rlgbls and obllglllons
contained 1n this Seaarlty 1m1n1ment an: subject 10 any requirements aad 11m11111on1 or AppllcabJe Law.
Applicable Law might explldlJy or lmplldt?y .allow the parties to agiee by COllllact or II mf&ht be silent, but such
silence shall not be c:omtnled a a )llllhlbttloe aplast agieement by C0111111:t. 111 tu ewn dat any pro¥llloo or
clause or this Security lnslrument or die Nole COIIOldS With Applicable Law, such c:onl1ld shall not affect other
provisions of dUs Securlly lnsuument or the Note wflldl can be given eff"ea wlthoa! Ille coaflk:tfng pruvlslan.
       As med Ill this Security lastnlmenl: ~ wonts of lhe IIIIISalllne gender sllal1 111e111 and Include
COITeSpOlldlng aeulf:r" wonts or wonts or die feminine gender: (b) wmds In the si,..iar shall man and Include
the plural and vice 'fflla; 1111d (c) lhe wont "may" gives sole dbcretloa Wldlout ID)' obllgatloa to take any adlolL
       17. llo~■ Cepy. ~ lhall be given- copy of the Note ud mthis s«urlly lnstrumenL
       IL Tran■rtr ottbe Propeny ., ■ Beacfldal IDflftll ID Borrower. AA used In this Sealon 18, "Intaest
In the Propeny" means ID)' lepl or beaeflclal lmnst In the Property. lnc:ludliw, but not limited ID, thme
beneftdal lntaests tr.insfemd In a bond for deed, conlnCt for deed, lnstallmcnt sales contract or escrow
agreement, the Intent of which Is the transfer of !Ille by Borrower at a fu1ure date to a purdiaser.
       If all or ID)' pan of the Propa1y or any Inlfflst la the Property Is sold or lr.lnsfemd (or If Borrower Is not a
nalllral person and I bellef1clal 1n1erest In Bonowcr ii sold or transferred) without Lamr's prior wrlltell consent.
    Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 49 of 121




                                                                          DOC ID#: 00022034406404010
Lender may requlrt lmmedlate payment III fuU or -11 sums secumt by Chis Security Instrument. However, 1111s
opllon shall DIii be eardsed by Leider Ifsuch exerdse Is prohibited by Applicable Law.
      If Lender exercise$ this option, Lender 3ha1l give Borrower nolicl! of acceleralfon. The notice shall provide
a period of not less Ihm 30 days from the dale die notice ls giffll in actonlance wllh Section 15 within which
Bc>nower must pay all SUlllS secw-ed by lhls Security lnslnnneut If Bonower falb to pay these SUIM pdor to the
explrallon of this period, Lender may Invoke any remedies permllld by thb Secur1ty lllSlnlnleDt wltboul further
nollce ordemand on Borrower.
      19. Borrowu'1 Rlpl to Relastate After Aeulentloa. If Borrower meets cefllln c:ondklons. Borrower
shall have the right to have enforcement of tills Secudty lnstniment diMlntllllled at ury time prior to tile earllest
of: (a) five days before sale of the Property pumi,111 10 IRY power ofale COlllalned In this Security lnslnnnerit;
(b) such other period as AppUQble Law ffll&ht specify for the lermlalllon of Bomiwel's rfgbl to retnstallt; or
(c) - , of •Jwlgnlent ailon:!Dg thb Security IIISb'ulllelll. Those candllloas n tbal BomrMr: (a) pays Lender
111 swm which then would be due under 1hls Securky Jmtrument and the Note as Ifno acceleration had ocaimd;
(b) curtS ury default ol any other coveaants or apements; (c} pays all expenses fflt18'll!d In enf'ordng this
Secwily lnstrumenC, Including. but 1llll llmltal to, rssooable attorneys' rees. property Inspection and val111tlon
fees, and Olher fees lncumd for the purpose or prol«tlDg Lender's Interest In the Property and rlghlS under lhts
Security Instrument: and (cl) rakes 1111ch action as Lender may reuooably require to assure 1h11 Lender's lnlaeSt
In lhe Property IIDCI rlghb under this Security lmtrumenl, and 8orrower'$ obligation IO pay the sums secured by
lhts Security lnstnunent, shall conunue unchanged. Leodcr may requve that Borrower pay such mmllltement
sums and expenses In one or more of the follOWlng fonns, as selected by Lender: (a) cash; (b) money order;
(c) certified check. bank check, trwute(s check or cashier's check. provided any such check is drawn upon an
lnStltutloll who$4I deposits are Insured by • fedl!nl agency. lnstrwnentallly or entity; or (d) Eleclronlc Funds
Transfer. Upon relnslalanent by Borrower, lhls Seairily lnstrumenl and obUgatlons secUttd hereby shall remain
fully elTective as If no acceleration llad occurred. However, this right to relnstale shall llOI ,pply In die cue of
acceleration under Section 18.
      20. Sale or Note; Clui•&e of Leaa Scrvlcff; Notice of Grlmulce. The Nole or • partial lnlerest ID the
Note (togaher with tllls Security IIISll'\lmeal) can be sold 011e or more tlnies wltliout prior D011ce to Borrow.-. A
sale might result In • dwlp ID the entlly (known IS the "Loa Servlca") lllal collecss Pfflodlt Payments due
ander lbe NOie 1111d lhls Security lnstrumeRI and perfclnm other mortaaae Joan ~ obllgatioas under the
Note, thlS Securlly lnsll'ISllelll. 11111 Applicable Law. There abo mlglit be one or mare cbanp of the Loan
Servicer wnlaled to a s.ie of the Note. If thae Is a change of the Loan Servicer, Borrow.- will be &I-fen 'Mllten
notice of the change whldl will state the name and ,ddras of the new Loan Serviar, the address to wlllch
p a ~ should be made and any ocher lnformadlln RESPA ~ In cuonectloll with • nauce of lrlllSf'er of
seiv1clf18- If the Nole b ,old aod thetufter the Loan ts RIV!ml by a Lam Servicer odler dlan lhe pwdmer of
the Nace. the marlp8fl loan servicing obllgalllllls to eorr- wlll tellllln with the Loan Savk:er or be
transfened to a sucoes.sor Loan Servicer and are DOI as.mmed by the N«e pwdluer unless otherwise provldtd
by the Note pwdiaser.
      Neither Borrower not Leoder may commence. jola. or be Joined to ury Judicial action (as either an
ladiYldllll llttganl or the member of • elm) Iba& arises from the Oilier party's actlODS purwmt ID this Security
IIISlnlmenl or thal alleges that the other party bas bnadied any provision of, or any d111y owed by -         or. this
Security lnsttumellt. IDl1 such Borrower or Leoder bas DOllfled the Olhcr paty (with such nollce gmn In
compllance wllh the requltemeols of Sectloa 15) of such alleged breach 111d afforded the other party limto a
RaODable period after the glvlslg of IUCb notice to take CCllffdM ac:tlon. If Appllc:able Llw provides I time
period which must elapse before analn ICllon an be taba. that lime period will be deemed to be reasonable for
purposes of this paragraph. n. IQiCe of IICCeleratlon and opportunity to an g1-, to &rrvw..r ~ to
Section 22 and lhe notice ofacceleration given to Borrower punuatt to Section 18 sh■II be dMnied to Slllsfy the
notice and opportuolty to 11b ~ ■tt1on provlslonl oflhls Section 20.
      21. Huardotll Sobseaaces. AJ used In dlls Section 21: (a) "Hmn:lous Substances" n those subslances
deflned as toxlc or haZlldous subslMlces, polluhots. or WIS1eS by Envtronmenra1 Law and lbe following
substances: gasollne, kerosene, otllet flammable or IOldc petroleum pro6.adS, toxic pesllcldes and herbicides,
volallle solvem. 1111tertals ~ asbestos or fonnaldehyde, and ndloactlve materials; {b) "Envtronmeatal
Law" 111e111S federal laws and laws or theJurtsdlcdon where the Property Is loaled that Jelate IO heellh. safety or
e n ~ proltdion: (c) •F.nvlronmental Cleanup" Includes any ~ ICllon. remedial action, or
removal acdon. as deftned In Envinlnrnental Law; and (d) aa "EnvironnlMlal Condition" mems a condition that
can cause. COlltrlbUle to. or ocberwlse trlger III l!avlronniemai Cleaaup.
      Borrower shall nol cause or permit Ille presence. use. disposal, storage, or rdease of any Hazardous
Sllbslanc:es. or tlnalat to Mlew any Haztrdous Substances on or Ill Che Property. BomJwa- shall not do. nor
allow anyone else to do, anytblJlg affecting the Property (I) that Is In violation of any Eavlronmalla1 Law,
(b) which aates an ~ Condition. or (c) wlilcb, 4ue 10 the pmcnce, me, or releue of I Haardolls
Substance. creates a condition that advmsely .n.cis die Ylllff of the Property. The precedlag two selllllllCeS 1111D
001 apply to the in,eoce, 11Se, or Slorage on the Property of small cpnlldes of Hlmnlom Substances tllat n
gonetally recognized to be approprllte to normal residential uses and IO lllllntffllllCe of lbe Property (lncludlng.
but not limited to, hazanloas suiiaa- In CXIIIIWIIII' products).
      Borrower shall plOlllpdy give Lender wrttten IIOlk:II! of (I) sy lnYatlgallon. claim. demand. 1-lt or
other actlOft by any go,iemmental or iqulato1y 1gcncy or private paty Involving the Property and any
Hazanlous SubsUlnce or EnviroNneatal Law of. which Borrower bas ICIIIII kaawledge, (b) any Envtronmental




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Condition. lndudlng but not llmlhd to. any splDlng. leakllll, dlscNlge, release or threat of rdease or 1111}'
Hazardous Sub$1ance, and (c) Ill)' condllion c:aU5Cd by the lftSCD(e, use or rdase of • Hazardous Substance
which advenely affedS lb& value of the Propeny. If Bc:noMr leams, or Is notJfled by any goverammtal or
regui.lory 1uthorlly, or any prMte party, that 111y n!moval or oilier renicdlalloa of llllY Hmrdous Substance
affecting the Proper1y ls aeces.my, BoooMr shall promptly lake all necemry iemedlal tdlom fa acoonlaoct
with Envlromnenlll Law. N ~ herein shall create any obu,ation on Lender for an Environmental Cleanup.

       NON-UNIFORM COVENANTS. Bonowcr and Leader liKtberCIJVfflllll and 11J!1! as fDIIOM:
       ll. Aetelt!ntloa; Rmledla. Leader 1llaD pe DOtlce to Borrower prior to ■ccclcradon followbl&
Borrower'• brudl or-■)' cona■■t or acnemeat           ill""    S.Curtay lutrvmcat (but IIOt prior to ■ccclentlon
ulldcr Scct.D II 11alca Applle11ble t.w pro¥kla olllenriH). TIie no$ke lb■D specify: (1) the defl111Jt;
(b) ••• adlOII required to care tile delHlt; (c) • date, aot ,.., tllu 30 daya from da• date t h e ~ la pvea
to Borrowv, by wlllch die dcr■11lt mut be cared; ■ad (cl) tbat fallure to nre tile dcfalllt •• or before tM
date specllled • tilt notice may raalt la accefer■IIGn oftbe 111ms -red by tllls SeCllrfl)' IIIICnl-t aad
sale or tlle r,.,perty It pullllc aacdna at a date aot 1eu t11u uo days In tu ftitwrc. ne llodcc lbaU

111Mrt die --u111-
fllrt•er lafona Borr1lwer or Ille ript to reblstate after accelcndoll, die l1pt to brla& • cot1rt adioa to
                             or• default or ••1   otlla- dero.. of aon-o- to ae1:elentloa ■ad ule, ud any
ot.ber ID■tten recplred to be lacladed In the aodce by Appllc■ble t.w. If tbe ddanlt It not mred u or
before tile date specified la the IICl4kc. Leadff at lb epdoa, -■)' require la11111diate pa)'llle■t la rail orau
nma Neared II)' tlllt Sealrlty lutnaatat wltM.t r.rt11cr . , _ d ud ID■)' lnou tu power er uJe
ud/or   ••>'   odler nmedMs perml!Nd by Applleallle Law. Leder sbU ba nulled to collacl all upemn
l■carrcd le p•nalac die ,_.,., prorided la dill Sertloa 22, llldadlar. bat aot llllllted to, retllOIUlble
llftoneys' fea aad ClaSCS afU& wldeac:e.                                                                          ·
       Ir Lader Invokes tlle power of ale, Leader n•D clv• wrlttea aotlcc to Tra- of die occurrence of
■a neat of default ■■d of Leader's decllo• to c■■M the Property to be sold. Trutee . .d Lmdcr sll.U
tllllc IIICII aclloa repnllAg ■Dtke of ale ■nd sball pve 111CII ■odca lo Borrower ■ad to otller penou u
Applk:■ blc Law may require. Alln Ila• tt.w required by Applkallle Law Hd after pallllcatloa of the
aotlce ar sale, Tnstee, whllllllt dauad •• 8offll'ftr, sb■ll NII th Property 11: p■bllc Hedon to die
hlpat bidder 11 tile tillie ud place ■ad uder Ille temu dalgnatff la Illa aatlee of ale la GIit ar more
p■rcela ud la uy order Tnulee Mteraia-. Tnutee . .,, poatpHe ul■ of die Proplr1)' fer a puiDd or
perleda permitted by Applle■ble Law by pablle        -••-t
ale. Leader or Its dnipce _,, parc.bM die Pr9perCy at oey ale.
                                                                        'It ... ti.e &ad place lb:ed la tile ■otice ol

       Traatee •baD dellve.- ta die pardaucr T.-.... deed -.eybl1 t11e Preperty wltbe111t . .,
or -rra■ty, apreaed or lmpUecL TIie rectt■II la die         Tra-••                                         COY-•·
                                                                          deed 111■11 be prtma fade eriduee ottlle
1n1t1a or die stateauts aade llHnin. Tnatec lllall ■pp1y t11e ~ ot tlle ..._ ta t1ie ron.wu,1 on1er,
(a) to all eipea1a of tlle sale, lacllldla1, bvt ■ot Umlted to, re■-■b1e Tnlltee'a ■ad ■ttenaeyt' fees;
(b) to all 1ua11 secared b)' tbis Secarlty lutn•eat; ■-d (c) ■ay -                 to tllc pe.- or pcnNI leplly
eolilled to It or to Ille clerk ar tbe ••peri•r C011rt of die coa■t)' la wlilda tlie ale took place.
       U. Rccoavey■11ce. Upon l)ilymenl of 1111 sums securtd by this Security lnsllllment. Lender sball request
Trustee to ~ the Pro(laty ud shall MURac1er 1111s Smarity Insuument and all aotes evldmdng debt
secured by lhls Secunty Insaumen1 IO Tnlslee. Tnuue slla1I reconwy Ille Property without wamnty lo die
pe,son or persons legally eolllled to It. Sudl ~ or ~ smll pay Ill)' nicordalloa CCSls and the Truslee's
fee ror prepwlng the reconnyance.
       24. Salllttt■Ce Tra■tee. In ICCOldance with Applicable Law, Leader aay from time to dine appoint a
successor lnlSlee IO aayTruslee lppOlnted hereunder wbo • cemed IO ICl. Wlthollt amwy■nct of the Property,
die IUCasJor lnulee sball suc;czed ID all die title. paws and dulles confemd upon Tnalee berela and by
AflplkableL&w.
     25. U■e of Property. The Property Is not used pdndpally far agrlcultunl purposes.
     26. Attora.,..• Fees. Lender shall be entitled to reawer 11s reasonable auomeys' fees and COSIS Ill ""I
action or proceedlr1fl ID (OIISIJUe or enforce any lmn of lhJs Security lnslnuneat The leffll "attorneys' fea,"
whenever used In this Security Iastnament, shalt Include without llmllalloo attorney,· fees lllcwred by Leader Ill
viy banknip(cy proceeding or on appeal.




WASHINGTON-Single Fon-ily--F..,... MMIF-,._, UNIFORM INSTRUMENT (l,IERS)                              Fann30U11111
MERS DeeclolTMl•WA
zooeA-WA (OMII)                                     Pig,, 10 of 11
   Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 51 of 121




                                                                   DOC ID #1 00022034406404010
ORAL ACREEMENTs OR ORAL COMMITMENTS TO LOAN MONEY, EXTEND CREDIT, OR TO
FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE NOT ENFORCEABLE UNDER
WASHINGTON LAW.

    BY SIGNING BELOW, Borrower accepts and agrees to the terms and CCMIIIIIIS COlllllned in lhls Security
Jmuument and ID Ill)' Rider eQQl!ed by 8orrowu and recorded wllb IL                            .



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                              ---4--¥~~~~~G~.+-------=-.~

                              _ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ (Seal)
                                                                                                .Bom>\ftr


                              ------------------.=-Bmrower
                                                        (Seal)




STATE OF WASHINGTON
                                                                  } ss:
Cou•tyor   ~                                   •

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                                             Notuy Public In aod for the Staie of
                                                   f?..t..n-wn.~
                                             My Appolnbnent Expns 011        I:>- 1C, -   ..)•O\ ;)--

                   NO Mt C. GARCIA
                   NOTARY PUBLIC
                   STATE OF WI\Slll!iGTON
                   COMMISSION EXPIRES
                    DECEMBER 19, 2012




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20Q&A..WA (08/08)                            Page 11 GI 11
 Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 52 of 121




                                                               STATE OF WASHINGTON }
                                                               County of King

                                                               The Director of Records & l,icensing, King County, Stste of
                                                               Washington and exufficio Recorder of Deeds und other
                       ·.; ·.-~·   . .~- .
                                    '       '.                 instruments, do hereby certify the foregoing copy has b ee!!
     .     :   ,,,,,,,,,,               .
                                            .
                                                     ...
                                                 :. •·
                                                   :·,         compared with the originnl instrument as the same appenrs
         ,,~\.~i'r'            s. .,,, .                       on fl.le and of record in the office :md tbnt the same is a true
                                                               and perfect transcript of said original nnd of the whole thereof.
   ~' O': .. ·.... 4-~..-->.,.
l~rJ_.· :_,·~
         f 11ti·-···.~~~                                                    Witness IDY. hsnd nnd official senl this _ _ _ day

"'c::' •     - .      • ...\ ":
                                                                             or       MAY O3 2013              20_

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                ~                 • ITT "
                                                                                     Director of Records & Licensing

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                      EXHIBIT D




    PLAINTIFFS AFFIDAVIT




                      EXHIBIT D

TILA COMPLAINT FOR HOANG AND NGUYEN.
, - - - - - - --   - - - - - - --         - - -- -- - --           - -- - - - - - - - - · - · ·· ·······-
               Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 54 of 121




                                     AFFIDAVIT OF
                           JERRY HOANG & LE UYEN THI NGUYEN.

                    Re: Assessor's Property Tax Parcel Number 261320-0153-06.
                         Property address: 13522 43 rd Ave S Tukwila, WA 98168.
                         Bank of America, N.A Mortgage account# 220344064.


                    I, Jerry Hoang and Le Oyen Thi Nguyen, the undersigned, with
              personal knowledge of matters set forth herein, one of the people of the
             State of Washington, in correct public capacity, being of majority in age,
             competent to testify with clean hands, without waiving any rights,
             remedies, or defenses.


                    I, Jerry Hoang and Le Uyen Thi Nguyen declares, verifies and
             affirms that the facts stated herein are true, correct, and complete in all
             material fact, not misrepresented and made under the penalties of
             perjury of the laws of the United States of America and the Laws of the
             State of Washington.


                    We state as follow:


                    1.    On April 30, 2010, Jerry Hoang and Le Uyen Thi Nguyen did
             not received" Notice of right to cancel" from Loan's officer.


                    2.    On April 15, 2013, we have sent a NOTICE OF RESCISSION /
             CANCELLATION of a Mortgage Loan above (See Exhibit A) by Certified


                                             Page 1 of 4
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Mail and Return Receipt through the US Postal Services to the Parties
listed below:


Bank of America, N.A
101 South Tryon St.
Charlotte, North Carolina 28202
Certified Mail# 7007 2560 0000 6131 7416

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
1818 Library Street
Suite 300
Reston, VA 20190-6280
Certified Mail# 7011 2970 0004 4254 8695

BAC Home Loans Servicing, LP
450 American Street
Simi Valley, CA 93065.
Certified Mail# 701129700004 4254 8701

BAC Home Loans Servicing, LP
400 National Way
Simi Valley, CA 93065.
Certified Mail# 7007 2560 0000 6131 7409

Fannie Mae
13100 Worldgate Drive
Herndon, Virginia 20170.
Certified Mail# 7011 2970 0004 4254 8718

      3.    As of this present time, none of the Parties listed above has
taken any legal action required by Law to vacate or terminate the
validity of such Rescission / Cancellation of the Mortgage Loan contract.



      Respectfully Submitted


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        Dated: This 14th day of August 2015



                           By:
                                 J~Ho
                                          ':r"-7c::::_
                                 PO, Box 98032
                                 Des Moines, WA 98198


                             Notary Statement


        State of Washington}
                             } ss
        County of King       }
        BE IT REMEMBERED, that on the l t(11' day of           /la<f u{I,   2tJtf

  before me, the undersigned, a Notary Public in and for the State of
  Washington, personally appeared, Jeny Hoang who proved to me to be
  the same individual who executed the within instrument, and, affirmed
  that he is personally fully aware of the contents and accuracy of the
  statements made therein, and affirms that the document is, to the very
  best of his knowledge, true and correct.
        IN TESTIMONY WHEREOF, I have hereunto set my hand and
  affixed my Official seal the day and year last above written.


                                    By:
NATALIYA A. KHOCHAY
  NOTARY PUBLIC
                                           /Vv-h4 !r-'.&   /I k'h .:Jc/4tt?..-y
  STATE OF WASHINGTON
    ~OMMISSION EXPIRES
                                           Notary Public for    B£C/./
   ::eeRUARY 28,.2018                      Commission Expires on h'h;ll'P~f/ ~g, U/$


                                     Page 3 of 4
         Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 57 of 121




       Dated: This 14th day of August 2015


                                By.      ls7bcd
                                      Le Uyen Thi Nguyen
                                      13522 43n:1 Ave So
                                      Tukwila, WA 98168.


                                  Notary Statement


              State of Washington}
                                  } ss
              County of King      }
              BE IT REMEMBERED, that on the l t;h1          day of   #t, ptlfl
      before me, the undersigned, a Notary Public in and for the State of
      Washington, personally appeared, Le Uyen Thi Nguyen who proved to
       me to be the same individual who executed the within instrument, and,
       affirmed that he is personally fully aware of the contents and accuracy
       of the statements made therein, and affirms that the document is, to the
      very best of his knowledge, true and correct.
              IN TESTIMONY WHEREOF, I have hereunto set my hand and
       affixed my Official seal the day and year last above written.
                                         By:    ~
                                                /V:7--h/i SI"""   fl frhochc.:?--j/.
NATALIYA A. KHOCHAY
   NOTARY PUBLIC
                                               Notary Public for       .6~?:/
  STATE OF WASHINGTON                          Commission Expires on /;h ...~~Y -Z &,, Zt?1S
   COMMISSION EXPIRES
  FEBRUARY 28,_2018




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   Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 58 of 121




                      EXHIBIT E




   NOTICE OF RESCISSION




                      EXHIBIT E

TILA COMPLAINT FOR HOANG AND NGUYEN.
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                      Jerry Hoang and Le Uyen 1bi Nguyen
                            13522 43rd Avenue South
                              Tukwila, WA 98168

April 15, 2013

                   IIODCBOI' . -- ~ ,.-.1


RE:    Account Number: 220344064.

     Concerning the loan t:ranaaction, which we have entered into with Bank
of America, NA on April 28, 2010, we hereby exercise our right pursuant to the
Federal Truth in Lending Act, 15 U.S.C. § 1635, Regulation Z § 226.23.

      Federal Truth in Lending Act docs not require us to notify you of any
specific violation(s), howevei, in light of the current circumstances, below are
several violations that trigered. this notice.

On April 30, 2010, the alleged lender violated multiple counts of Truth in
Lending i\.ct.

       (a) Jerry Hoang did not receive the Right to Cancel Notice as
          requin,d by Jaw. All 00D8Wllel"8 with ~ rights must
         receive two copies of notice.

Regulation Z §226 .23(b)(l) '1lotioe of right to rescind. bl a tnmsaction subjet:t to
rescission, a creditor shall deliuer two copies of the notice of the right to resdnd
to each conswner entitled to rescind .•• "

       (b) Failure to deliver Notice of Reacission violated Regulation Z
          §226.23(b)(v) where Jeny Hoang would have had a required
          Notice where a specific date by which he would have had the
          right to Rescind/Cancel the transaction.

Regulation Z §226.23(b)(v): "77ae noCice shall be on a sepa,ute document that
 identifies the uunsadion and shall dearly and conspia,ously disclose the
following:
                   (v) The date the rescission period e.cpbes. "



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     Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 60 of 121




Failure to diacloac the dat.e the reacission period expires on the Notice of the
Right to Reacind left with consumer ext.ends the reacission period up to three
years after 00nmimmation.

      (c) Le Oyen Thi Nguyen did not receive any Material Diacloaures
          and did not receive two Right to Cancel Notices at any time, as
          requjrcd by law.

Any consumer •whoae ownenlhip interest ia or will be subject to the security
interest• baa the right to reecind the tranaaction and to receive the diaclosures.

Regulation Z §226.23 (a)(I), "Consumers right to rescind bl a credit transaction
in which a sealrity interest is or will be retainBd or acqui,ed in a consumer's
principal dwelling, each mnsumer whose ownenmv, interest ~ or will be subject
to the sealrity interest shall have the right to rescind the transaction w.

Regulation Z §226.23(b)(l) "Notice of right to rescind. In a transaction subject to
rescission, a creditor shall deliver two mpies of the notice of the right to rescind
t.o each con.sumer entitled to rescind (one copy t.o each if the notice is deliveted by
eleccnJnic communimdan as p,ouided in seaiori 226.36(b)J. The notice shall be on
a sepanzt.e .doaanent that identijiss the transaction (and shall clearly and
conspicuously disclose the following.
       (i.J The retention ar acquismon of a security interest in the consumer's
             principal dwelling.
       (ii} The consumer's right to rescind the Dansaction.
       {iii} How to exen:ise the right t.o rescind. with a form for that purpose,
              designating the address ofthe creditor's place ofbusiness.
       (iv) The ejfeda ofrescission, as described in pa,ograph (d)_ofthis sedion.
       (u) ffle date the nrscission period eq,b'eS.

ReguJation Z §226.23(3) The consumer may ~ the right to rescind until
midnight of the third business day following ~ delivery ofthe notiee
requited by pa,ograph (b) of this section, or delivery of all material discloswes,
whidlever oca.as last. If the requited notice or material disclosures are not
delivered, the right t.o rescind shall e..q,i,e 3 years after aJf'ISUffl11laD •

Failure to provide two copies of Notice of the Right to Cancel/Reacind to Le
Uyen Thi Nguyen extends the rcacission period up to three years after
con.-.immation. Failure to prov.i.de one copy of material disclosures to Le Oyen


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     Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 61 of 121




Thi Nguyen extends the resciaaion period up to three years after
COnflDJmmation.

However, please be advieed that this ia not an exhaustive lis~ and we do not
waive unliated violations, aa other violations may be uncoveJed through
discovery. Therefore, we have a continuing right to rescind the April 30, 2010
loan transaction, which we are exercising under the Jaw.

The security interest held by BANK OF AMERICAN.A. and/or BAC HOME
LOANS SERVICING, LP and/or MORTGAGE ELECTRONIC SYSTEMS, INC.,
and/or FANNIE MAE is void upon our reacission. See 15 U.S.C. § 1635;
Regulation Z § 226.23.

Pursuant to the Regulation, you have twenty (20) calendar days after receipt of
this notice of rescission to return all monies paid and to take action necessary
or appropriate to reflect termination of the aecurity interest.

We are prepared to discuss a tender obligation, should it arise, and satisfactmy
ways in which we may meet this obligation upon cn,ditor's performance of its
statutory duties. Please be advised that if you do not cancel the security
interest and return all consideration paid by us within twenty (20) calendar
days of receipt of this letter, you will be responsible for actual and statutory
damages pursuant to 15 U.S.C. § 1640 (a).

'Ibis Notice of Reaciaaion/Cancellation was aent via Certified Mail Returned
Receipt and Regular mail to the following bwunessea and addreaaea:

Bank of Ameri~ N.A
101 South Tryon St.
Charlotte, North Carolina 28202
Certified Mail# 7007 2560 0000 6131 7416

MORTGAGE ELECTRONIC REOl~'nON SYSTEMS, INC.
1818 Library Street
Suite 300
Reaton, VA 20190-6280
Certified Mail# 701129700004 4254 8695




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    Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 62 of 121




BAC Home Loans Servicing, LP
450 American Sbect
Simi Valley, CA 93065.
Certified Mail# 70112970 0004 4254 8701

BAC Home Loens 8efficin& LP
400 National Way
Simi Valley, CA 93065.
Certified Mail# 7007 2560 0000 6131 7409

Fannie Mae
13100 Worldgate Drive
Herndon, Vu:ginia 20170.
Certified Mail f 7011 2970 0004 4254 8718



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   Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 63 of 121




                      EXHIBIT F




       RECORDED
  NOTICE OF RESCISSION




                      EXHIBIT F

TILA COMPLAINT FOR HOANG AND NGUYEN.
    Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 64 of 121




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  1. JERRY HOANG
  2. LE UYEN TRI NGUYEN

  Gnmtee(1) Exacd:y as name(s) appear \lll document
    1. BANK OF AMERICA, NIA (BOA).
    2. MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC (MERS).
    3. RAC HOME LOANS SERVICING, LP (BAC).
    4. FANNIEMAL
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  SP# Lll-833 REC# 2004l'J12Jl8003 SD SP DAF-BEING LOT 19 OF SD PLAT
  LYING, PROPERTY ADD~ ll522 43"8 AVE SO TUKWILA, WA 98168

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   261321-8153-86

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               Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 65 of 121
.' ..,

                               Jerry Hoang and Le Uyen Thi Nguyen
                                     13522 43rd Avenue South
                                       Tukwila, WA 98168

         April 15, 2013
                           ROTICB or RBSCISSIOR/CAIICBLLATIOR


         RE:   Account Number: 220344064.

              Concerning the loan transaction, which we have entered into with Bank
         of America, NA on April 28, 2010, we hereby exercise our right pursuant to the
         Federal Truth in Lending Act, 15 U.S.C. § 1635, Regulation Z § 226.23.

               Federal Truth in Lending Act does not require us to notify you of any
         specific violation(s), however, in light of the current circumstances, below are
         several violations that triggered this notice~

         On April 30, 2010, the alleged lender violated multiple counts of Truth in
         Lending Act.

                (a) Jerry Hoang did not receive the Right to Cancel Notice as
                    required by law. All consumers with rescission rights must
                    receive two copies of notice.

         Regulation Z §226 .23(b)( 1) ,.Notice of right to rescind. In a transaction subject to
         rescission, a creditor shall deliver two copies of the notice of the right to rescind
         to each consumer entitled to rescind •.• "

                (b) Failure to deliver Notice of Rescission violated Regulation Z
                   §226.23(b)(v) where Jeny Hoang would have had a required
                   Notice where a specific date by which he would have had the
                   right to Rescind/Cancel the transaction.

         Regulation Z §226.23(b)(v): 'The notire shall be on a separate document that
         identifies the transacti.on and shall clearly and conspicuously disclose the
         following:
                            (v) The date the rescission period expires. ,.



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                  Case  2:17-cv-00874-JLR Document  Filed             66 of




             Failure to disclose the date the rescission period expires on the Notice of the
             Right to Rescind left with consumer ext.ends the rescission period up to three
             years after commmmation.

                    (c) Le Uyen Thi Nguyen did not receive any Material Disclosures
                       and did not receive two Right to Cancel Notices at any time, as
                       required by law.

             Any consumer "whose ownership interest is or will be subject to the security
             interest" has the right to rescind the transaction and to receive the disclosures.

             Regulation Z §226.23 (a)(I), "Consumer's right to rescind In a credit transaction
             in which a sea,,rity interest is or will be retained or acquired in a consumer's
             principal dwelling, each consumer whose ownership interest is or will be subject
             to the security interest shall have the right to rescind the transaction ".

             Regulation Z §226.23{b)( 1) "Notice of right to rescind. In a transaction subject to
             rescissio~ a creditor shall deliver two copies of the notice of the right to rescind
             to each consumer entitled to rescind (one copy to each if the notice is delivered by
             electronic communication as provided in section 226.36(b)). The notice shall be on
             a separate . doa,,ment that identifies the transaction (and shall clearly and
             conspicuously disclose the following.
                    (i) The retention or acquisition of a serurity interest in the consumer's
                          principal dwelling.
                    {ii) The consumer's right to rescind the transaction.
                    (iii) Hc,w to exercise the right to rescind, with a fonn for that purpose,
                           designating the address of the creditor's place of business.
                    {iv) The effects of rescissio~ as described in paragraph (d) of this section.
                    (v) The date the rescission period expires.

              Regulation Z §226.23(3) The consumer may exercise the right to rescind until
              midnight of the third business day following consummation, delivery of the notice
              required by paragraph (b) of this section, or delivery of all material disclosures,
              whichever occurs last. If the required notice or material disclosures are not
              delivered, the right to rescind shall expire 3 years after consummation.•

              Failure to provide two copies of Notice of the Right to Cancel/Rescind to Le
              Uyen Thi Nguyen extends the rescission period up to three years after
              conAnmmation. Failure to provide one copy of material disclosures to Le Uyen


                                                  Page2of2
     Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 67 of 121




Thi Nguyen extends the rescission period up to three years after
consummation.

However, please be advised that this is not an exhaustive list, and we do not
waive unlisted violations, as other violations may be uncovered through
discovery. Therefore, we have a continuing right to rescind the April 30, 2010
loan transaction, which we are exercising under the law.

The security interest held by BANK OF AMERICA N.A. and/or BAC HOME
WANS SERVICING, LP and/or MORTGAGE ELECTRONIC SYSTEMS, INC.,
and/or FANNIE MAE is void upon our rescission. See 15 U.S.C. § 1635;
Regulation Z § 226.23.

Pursuant to the Regulation, you have twenty (20) calendar days after receipt of
this notice of rescission to return all monies paid and t.o take action necessary
or appropriate to reflect termination of the security interest.

We are prepared to discuss a tender obligation, should it arise, and satisfactory
ways in which we may meet this obligation upon creditor's performance of its
statutory duties. Please be advised that if you do not cancel the security
interest and return all consideration paid by us within twenty (20) calendar
days of receipt of this letter, you will be responsible for actual and statutory
damages pursuant to 15 U.S.C. § 1640 {a).

This Notice of Rescission/Cancellation was sent via Certified Mail Returned
Receipt and Regular mail to the following businesses and addresses:

Bank of America, N.A
101 South Tryon St.
Charlotte, North Carolina 28202
Certified Mail # 7007 2560 0000 6131 7 416

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
1818 Library Street
Suite 300
Reston, VA 20190-6280
Certified Mail# 701129700004 4254 8695




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                                     BAC Home Loans Servicing, LP
                                     450 American Street
                                     Simi Valley, CA 93065.
                                     Certified Mail # 7011 2970 0004 4254 8701

                                     BAC Home Loans Servicing, LP
                                     400 National Way
                                     Simi Valley, CA 93065.
                                     Certified Mail# 7007 2560 0000 6131 7409

                                     Fannie Mae
                                     13100 Worldgate Drive
                                     Herndon, Vu-ginia 20170.
                                     Certified Mail# 701129700004 4254 8718


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             Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 69 of 121




                               EXHIBIT G




                    CERTIFIED MAIL &
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                               EXHIBIT G

         TILA COMPLAINT FOR HOANG AND NGUYEN.
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    Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 75 of 121




                         EXHIBIT H




            NOTICE OF DEFAULT



                         EXHIBIT H




TILA COMPLAINT FOR HOANG AND NGUYEN
Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 76 of 121




                                      NOTICE OF DEFAULT
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Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 77 of 121




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             W.A-16-755716-BB

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   200402-li,ooooJ, INtlNO-COUNTY, WASlttNG'ror,r.
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Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 78 of 121




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     Par...- call toli-tille: (166) 6'S-77ll   For,...UC,-...a IDll-free:(166)925-0241
Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 79 of 121




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                                                    Exhibit 3
                                             Case No.: 2:17-cv-00874-JLR

                                 Jerry Hoang et al. v. Bank of America N.A. et al.
     Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 81 of 121




AFTER REcoRl>ING MAIL TO:


Jerry Hoang and le Uyen Thi Nguyen
13522 43rd Avenue South
Tukwila, WA 98168


                                             E2093495
                                             Ha'altv~~
                                             J~ $aU:l:t:U                            PAGEH1 OF tt1
Flied for Record at Request or:                                ...." ,.,.   0 1 .-      Rrst American Title
First American 11tle Insurance Company                        ~ InsurallOI Company


                                  STATIJTORY WARRANTY DEED                             dIi 20
File No: 4204-449916 (CMN)                                                     Date: December 21, 2004
Grantx>r(s): Bay Development Corp
Grantee(s): Jerry Hoang and Le Uyen Thi Nguyen



=!
Abbreviated Legal: i.ot 3, CITY OF TUKWILA SHORT PLAT NO. L01-033, Remrding No.
20040212900003
             ~~~~s>= 2&132001530&                RAST AMERICAN L-t 4 Ct41 L
THE GRANTOR(S) Bay Development Corporation, a Washington Corporation for and In
cxmsidel'ation d. Ten Dollars and other Good and Valuable Consideration, In hand paid, conveys,
and warrants to Jerry Hoang and Le Uyen Thi Nguyen, husband and wife, the following desalbed
real estate, situated In the COunty of King, State of Washington.

Lot 3 of CITY OF TUKWILA SHORT Pl.AT NO. L01•033, recorded under Recording No.
20040212900003, in King County, Washington.

Subject To: This conveyance Is subject tX> covenants, conditions, restrictions and easements, If any,
affecting title, which may appear in the public record, Including those shown on any recorded plat or
survey.




                                         Page 1of2                                             LPB-10 7/97
    Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 82 of 121




APN:211320015306                                                               Ale No.: 4204-449916 (CMN)
                                                                                                   Date:12/21/2004




Bay Development           , a Washington
Corporation




STATE OF        Washington               )
                                         )-ss
COUNlYOF        Kk1g                     )

I certify that I know or have saUsfactory evidence_that Ma~ Ludden,l,fs/~ the persofJOO who appeared
before me, and.,eld _persor!OO acknowledged that SskeAhe7 signed 1irlls'1nstrument:, on oath stated that
@/_stie/ttw:t, tPa,e authorized to execute the Instrument and aknowledged It as
the Secretary/Treasu,_ d Bay Development Corp 1D be the free and voluntary act of such
~ ) fur the use, and purposes mentioned In this I~~
Dated:     12-i/-ltf
                                                       Ouistfna· M. Nordyke
                                                       Notary Public In and for the State of Washington
                                                       Residing at: Sumner
                                                        My appointment expires: 1~9-07




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Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 83 of 121




                     STATE OF WASHINGTON }
                     County of King

                     The Director of Records & Licensing, King County, State of
                     Washington and e:1:officio Recorder or Deeds and other
                     instruments, do hereby certify the foregoing copy has bee!I
                     compared with the original instrument as the same appears
                     on file and of rcconl in the office ,ind that the same is A true
                     aad perfect transcript of snid original and of the whole thereof.




                                              ��-
                                 Witness my hand and            J:ieal tbis ___ day
                                  of          MAY O      r�tt
                                                                IJ 20_
                                         Dinc:tor of Records & Licensing

                                         By                  �,,
                                                       Deputy
                                              Prlaclla Harper
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                                                    Exhibit 4
                                             Case No.: 2:17-cv-00874-JLR

                                 Jerry Hoang et al. v. Bank of America N.A. et al.
Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 85 of 121



  Pnpued by, lll\lmRA R. IIORlAllTY
                                                                                                                   LOAN#: 220344064

                                                                  NOTE


       "APRIL 28, 2010                                             'l'OKIIILA                                    WASllINCJTON
             !Ootol                                                    !Cllyj                                        ISIJlel
                                         13522 43RD AVB S, TUXWILA WA 98168-3204
                                                        IPn>f-ly�(
  1. BORROWER'S PROMISE TO PAY
        rn return for a loan that I have recelv!d, I promise to pay U.S. szae, ooo. oo               (thls amount ls called 'Principal'),
  plus Interest, to the ordec of the Lender. The Lender Is
  BANI( OP JIMBRICA, N.A.
  I will make all payments under this Note In the fonn of cash. check or money order.
        I undel:$tand that the lender may transfer this Note. The Lellder or anyone who takes this Note by transfer and who ts entitled to
  recet¥8 payments under this Note Is called the "NO(e Holder.•

  2.    INTERl!ST
        Interest will be charged on unpaid prtndpal lll1tll the full amount of Principal has been paid. I will pay Interest at a yearly rate
  of     5.625 'l6.
        The Interest rate requ1red by this 5',ctlon 2 Is the rate I wtll pay both before alld after any default desalbed In Sedlon 6(B)
  of this Note.

  3.    PAYMJ!Nl'S
         (A) nme UNI Place .rP�
        I will pay principal and Interest by making a payment f!Vef)' month.
        I wlll make my monthly payment on the FIRST                         day of each !OODth beginning on JtJNB 01, 2010                   .
  I Will make these payments l!YflrY 111011th untU I have paid all of the pnndpal 111d Interest and any other charges desc:rtbed be1aw tllat I
  may owe under this Note. Each monthly payment WIil be applied as of Its scheduled clue date and WI))' be applied to Interest before
  Principal. If, on MAY 01, 2040                   . htW owe amoWIIS Ullder this Note, I wW pay thme amounts In full on that date, which
  Is called the "Maturity Date.•
        I will make my monlhly payments at
  P.O. Box 515503, Loa Angeles, CA jOOSl-6803
  or at a different place If requln:d by the Note Holder.
        (B)AIDlalltofM..w.,Pa,-..
        My monthly paymenlwlll be In lhellllOWllofU.S, $1,657.89

  4.   BOllOWER'S lUGHTTO PREPAY
       I have the right to make payments of Principal at any time befoie they are due. A payment of Prtnctpal only Is known M a
  "Prepayment.• When I make a Prepayment, I wlU tell the Note Holder ln writing that I am doing so. I may not dmgnate a (ll.Ylllelll as
  a Prepeyment If I have not made all lhe mon&hly payments due under the Nate.
     · I may make a full Prepayment or partial PrepaymenlS without paying a Prepayment charge. The Note Holder will use my
  Prepaymerus to teduce the amount of Prlllcipal that I owe under this Note. However. the Note Holdef may apply my Prepayment to
  the acaued and unpaid tncmst on the Prepayment amount. befote applytng my Prepayment to reduce !he Prlnctpal amount of the
  Note. If I make II partial Prepayment, there will be no chqes In the due date or In the amount of my IIIOlll:hly payment unless the
  Note HoJder agrees tn writing to� changes.

  5.   LOAN CHARGES
       (fa law, which applies to this loan and which sels maximum loan charges. Is flnally Interpreted .so that the lntereSt or odler loan
  charges collected or to be collected � oomiectlon with this loan exceed the pennllted limits, then: (I,) any such loan chllge shall be
  reduced by tile amount �sa,y to reduce the charge to lbe permitted limit; and (b) any SUlll5 already collected Crom me which
  exceeded permitted limits Will be refunded to me. The Note Holder may choose to make this mund by reduclllg the Pr!ndpal I owe
  under this Note or by making a direct payment to rne. If a refund teduces Prtnc1pal, the redudlon will be treated as a partial
  Prepayment.

  6.   BORROWER'SPAILVllRTOPAY MREQVJRED
       (A) Late Cllup ferOffnlM Payaenta
  If the Note Holder has not rewved the full amount of any llllllllhly payment by the end of PIFTKBN                calendar
  days after the date \t Is due, I will pay a late chatge to the Note Holdet. The amount of the charge wtll be 5. ooo '36 of
  my overdue payment of prtnctpal and Interest. I will pay this late charge promptly but only once on each late payment.

       (B) Default
       If I do not pay the full amount of each IIIOlltbly payment OIi the date u Is due, I will ·be In defaulL




  MULllSTATE FIXED RATE NOl£-Single Famly-FM!nle Mlell'Nddle Mee UNIFORM INSll!tJMENT                                         Form   uoo 1/Cn
  FlxedRa.. NDla




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  2005N•XX (09/08)(d/O                                    P11191orz




  •23991•                                                                             - '22034♦0�4000002005N'
                                                                                                                                                 ·
Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 86 of 121




       (C) NotlceofDefault
       lfhm In default. the Note Holder may send me a written notice ttWng me tbatlfl do not pay the overdue amount by a certain
 date, the Note Holder may requlr8 me to pay llnmedlately the~ IIJIOUllt of l'I1ndpal which bu not been paid and all tbe tneere5t that
 I owe on that amount That dale mimt bo ac lea.st 30 days aft« the date 011 which lhe notice b ll'lllled to me o,- dell\lffld by other
 means.
       (D) No Wamr By Nau Holder
       Even If, at a tun~ when I 1111 In default. the Note Holder does not require me to pay Immediately In full as described above, ths
 Note Holder will sUll have the rlgbt to do so IfI am In default ata later time.
     · (E) ~efNmHolder'1C...udl!speala
       If the Note Holder has required me to pay lmmedlately ln full as described above, the Nore Holder will have the right to be paid
 back by me for an of tts costs and expe11Se$ In ~ this Note to the extent not prohlbill!d by applicable law. 'l'hme expenses
 !nclude, for example, n:asonable attorneys' fees.

 7.    GIVING OP N011CES
       Unl111& applicable Jaw n,qoJn,s a cllfterent IIIOlhod. any natk:e that .must be given, to me under this Note wtll be glwn by
 deltVfflll8 It or by malling It by first dais mail 10 1111 at !he Property~ abow or ct a cllff. .u addl9U IfI gt,,,, the Note Holder a
 ~ of my dlt1erentaddre#.                                                                                         ·
       Any nodce that must be gtven to the Note Holder under this Note wt1I be given by delivering It Of by llllll!ng It by ftnt class mail
 to the Note Holder al the addms stated In Section 3(A) above ar at a dlfTerent address If I am given a notice ofthat dlfferert acfdnm.
 I.    OBUGATIONS OF PERSONS l/NDER nus NOTE
       If more than 011e person signs lhl$ Note, each ~ Is fully and pmooally oblig.ted to keep all of the promises made In this
 Note, Including the promise to pay the rul1-1111011nt owed. Any person who Is a guarantor, surety or endorser or this Note Is also
 obligated to do these things. Any person who takes over these obllgallons. iTidudlllg 1he obllgatlom of a gumncor, surety or endcmer
 of this Note, Is also obligated to keep all of the promises made In thls Nole. The Note Holder may enforce Its rts)lts under this Note
 tplD5t oach person Individually or against all of ust<>selher, This means that any one of11$ may beteqlllred to pay all of the amounts
 owed under this Note.

 9,   WAIVERS
       I and any other person who has obllgatloll$ under thJs Note waive the rl&hts of Presentment and Nodce of Dishonor,
 "Pre$ffltme!ll" means the rlght to requl?e the Note Holder to demand payment of amounl5 due. 'Notice of Dishonor• means the right
 to requlre the Note Holckr to give~ ID other persons that amounts due have not been paid.
 10, UNIFORM SECVRED NOTE
      ThJs Note Is a uniform lnstrument with limited vamtions In some jurisdlctlons. In addition to the protection, gtvffl to the Note
 Holder under this Note, • Mortgage, Deed of Trust. or Security Deed (the "Security Instrument"). dal!d the same date as this Note,
 protects the Note Holder l'nml possible losses which might result If I do not keep the pnlllllses wh~ I INke In this Note. That
 Security lnsttument desa1bes how and under what condltlona I may be required ID maJce immediate piyment In full of all IIIIOllntl
 1owe under this Nol8. Some of those i:ondltlollS are described as follows:
       ·       If all or any pan of the Property or any IDwe$t In the Property Is sold or transferred (or If Borrower Is not a
          natural person and a beneflclal tntmst In Borrower Is sold or transfemd) Wltoout ~ • prior written cmisent,
          Lender may reqlllre Immediate payment In lWI ofall -        secured by this Security wtrumenl However. this Opl!On
          shall not be exm:lsed by Lender If such exm:ISe ts prohibited by Appllcable Law.
               If Lender exercises this option, Leoder shall glw! &rrower nodce of acceleration. The notice shall provide a
          period of not less than 30 days from the date the nol1ce Is given In aa:ontance with Section 15 within which
          Borrower must pay all sums seem by'thls Security Instrument. If Borrower falls lo pay these sums prior to the
          expiration Qf this penod, Lender may Invoke any remedies pennltted by this Security lnmument wlthwt flll1her
          no~ce or demand on Borrower.


                                                                                                                                         •




 WI1NBSS 11iE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.


                                                                                                                                     (Seal)
                                                                                                                                -Borrower



 ----------------:_B,. . o(Seal)
                           nuwer                                        --------,.,-------=-(Seal)
                                                                                                                                -Bonower
                                                                                                                     {Sign Original 011ly]

                                                                                                                           form '200 1/01
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                                                    Exhibit 5
                                             Case No.: 2:17-cv-00874-JLR

                                 Jerry Hoang et al. v. Bank of America N.A. et al.
,--- - - - - - - - - - - - -2:17-cv-00874-JLR
                     Case    -· · ------------. -
                                              Document 72 Filed 02/18/21 Page 88 of 121




                Bank of America, NA
                Recon Trust Co./TX2-979-01·07
                                                                       .11111111111111111
                                                                        20100505001375
                PO Box 619003                                            TICOR NIITIONL DT             73 N
                Dallas, TX 75261-9003                                   l'ACl!-4111 Of' ...,             •
                                                                        15/15/2911 t:1·47
                                                                        ICJHC COUNTY. WA




               After Reainltng Relllnl To:
               BANI(  OF IIHBJUCA, N.A.
               ReconTrua~ co./TX2•979•0l•07
               P.O . Box 619003
               Dallas, TX 75261•9003
               Assessor's Parcel or Accowit Number: 261320015306
               Abbreviated legal Descnpdon:
               LT 3 , 'nJKWILA SPL #LOl-033, REC #20040212900003


                                                     (IIIClladelotWoa...Spllt•........ ~ - ....1
               Full legal descrlpUon localed on page      3

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               DERNITIONS

               Words used Ill nmlUple sections of this dDcumem are defined below lad odler words are defined In Sections 3.
               II. 13. 18, 20 and 21. Cen.111111G regardlog the usage of words used In this document are also provided In
               Sectloal&.
               (.4) "Smn"lty lmtnameat" means this document, which Is daled APRIL 28, 2010                           . cogether
               wllb all Riden to Ibis doaunenL
               (8) "Borrower" Is
               JERRY HOANG; AND LI! UYBN THI NGUYEN, HUSBAND AND WIFI!




               Borrower IS die tn1S10r under lhls SecurUy lnstrumen1.
               (C) "LfflCkr" Is
               BANK OF JIMERICA, N.A.




               WASHINGTOll-!ilngll f1mlly-F.,.,.. MNll'Nddle Mic UNFORMINSTRUMEIIT (IIERSJ                        form304l1I01
               MERSO-SofT.-.WA
               2006A•WA (OMJS)(l#O                             Pago 1 al 11




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       Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 89 of 121




                                                                          DOC ID•• 00022034406404010
 Lender IS I NATIONAL ASSOCIATION
 organized and exlsUn8 under die laws of THS UNITaP STATBS                        • Lender's iddms Is
 101 South Tryon Street, Charlotte, NC 28255
 (Dl "Trustee" Is
 l,S   TITLB OP WASHINGTON
 2707 COLBY AVB, ST£. 1118, BVBRffr, 'NA ,8201                                                               .
 (E) "MERS" Is Mortgage Elec:IJ'Olllc Reglstradoll Systems. Inc. MERS Is. separate corporalloll 1hat Is acting
 solely as I nomlJlee for Lender and Leoder's successors and mlgns. MERS I, tbe lleaeficiary under 11111
 Staartty lutna-t. MERS Is organized and exlstlPg under the laws of Ddawme. and his an add!as ud
 1elephone number of P.O. Box ZOZ6, Flint, MI 48501-2026. tel (888) 679-MERS.
 (I') "Note" -        lhe proml$$OI)' note :signed by BorroMr and dated APRIL 28, 2010                        . The
 NOie SlalS Iha! Borrower owes Leader
 TIIO HUNDRED EIGHTY P:IGHT THOUSAND and 00/100

 Dollars (U.S. S 288, ooo. 00           ) plus Interest. Borraw11r has promtsed 10 pay this debt In regular Pa1odlc
 Plyments and 10 pay the deblln full not Iller than MAY 01, 2 04 0                 •
 (G) "Property" tmMS th property that Is desaibed below under tile heading "Transfer of Rlglm In the
 Propeny.·
 (If) "Loa•" -        the debt evldellced by die Nace. plus labnst, any prepaymesu charges Mid lale charges due
 under the Note, and all sums due under thb Secur1ly blsUumenl. plus lnlerCSL
 (I) "Riden" l!leU$ all Riders 10 lhls Secmlty lmUumenl 1h11 a r e ~ by Bonvwer. The follovrlng Riden


       B    Mjmlable Rate Rider
            Balloon Rider
                                       B
 are to be executed by BocTOWU' (check box IS appllcableJ:
                                            Condominium Rfder                     0 Second Home Rider
                                            Planned U.111 Developmenl Rider 0 1-4 Family Rider
       0 VA Rider                      O Biweekly Payment Rider                    0 Olher(s) fspedlyJ
  (J) ..AppUcable Law" means all conlrOlling applicable fedenl. SUie and local SIIIUles, regulaUons. ordlnances
  and edmlnlstrallve n&les and Olden (that have lhe effect or law) as well as all applicable final. 1101Hppt.alable
  Judicial oplnloCls.
  (K) "Commu■lty ~ Dues, Fees, lad Allaameata" means Ill dues. fees. ISRSSIIICRIS 11111 Oilier
  charges 1h11 are Imposed 011 Bonowcr or chi, Property by a condominium moc:lldon. hameowoers ISICldalion or
· similar orpnmtlon.
  (L) "Electronic Fuads Tnufer" mNDS any uaml'er of f°und$, other lhan a ttansac11oo originated by check.
  draft. or similar paper lnslrumellt. whldl Is lnltlaled through an eledronlc tennlnll. telephonic insUUmelll,
  tomputer, or magnellc tape so• to order. lnslNct, or audlorlze a fliaacial IDstitUlion to debit or aall1 an
  at'CO\lllt. Such term lndudes. bul Is 11111 llmlled 10, point-of-sale tnnsfen. automated teller machine tnnsad!OGS.
   trwfen llllllaled by telephone, wire ttamfers. and aummated dearlngbouse lrllnSfers..
  (M} "Escrow ltuu" maas those lelllS that are desaibed In Secllan 3-
   (N) "Mltcellaaeou, Proceed," means aay c:ompen,alloo. seuJement. awad of damages. or proceeds paid by
  any lhlrd party (Giber lhan 1nsur111C1e proceeds paid uadet die --aes described In Sedlon 5) for: (0 damage
  10, or desbudlon of, dte Property; (U) condenntlon or other la.king of all or any part of the Property;
   (IH) conveyance la lieu of c:oodemnllloa; or {Iv) ~atlons of. or omissions as lo, the value and/or
 condition oflhe Propetty.
 (0) "Mortpge IU11n-" means 1nsur1ncc procec:Ung Lender against die IIOllpaymenl of, or default on, the
 Loan.
 (P) "Ptnodic Payment" meam die regularly scheduled III_IOUlll due for (I) pl1ndpll and Interest under die
 Nole. plua (II) any_. under S«llon 3 of this Security lnsnmall.
 (Q) "RF.SPA" meaas the Real Eslale Seulemeal Proc:edwes Aa (12 U.S.C. Sectloa 2601 et aeq.) aad IIS
 Implementing segulatlon, Regulatloo X (24 C.F.R. Pan 3500), • they mlgbr be amended from time ID time, or
 any addlllonal or sua:euor leplallon at regulallon that 81Mf11S die same subject matter. As used lo lllls
 Seaully lnslrmnent. "RESPA• ref'en ID all requlremenls and mlJlcdons lbll . . llllposed In reprd to a
 "federally related martgage toan• -  ir lhe Lo.a cloG no1 qualify as a "fedenlly relalm mortgage loan" under
 RESPA.
 (R) " S - r ill Interest or Borrower" fflWIS any party that Im 11km Ulle 10 die Property, wllelher or not
 that patty Im •urned Bom>wer'J obUptlOns under die Note and/or !his Security lnslrument.
 TRANSFER Of RIGHTS IN 11IE PROPERTY
 The bene!lc:ialy oflbls Security lmll1lmcnt Is MERS (solely IS nomlaee for Lender and Lender's S1ICCCSSOD and
 asslglls) aad t h e ~ 811d ass1pS ofMERS. This Security hlslrunlfa secures IO Lender: (I} the iq,aymet1t
 oC lhe Loan. ud all .-ts, extaislons and modlflatlons of die Nole: and (II) die perfonnmc:e of Bonowct's
 c-«s 111d ~ ader dds Setmtly Instniment and the Nore. Por this JIID1IOR, Bonower lmvocably




 WASHINGTON-s.tglll Famlly-f'.,,.MHll'reclllle MK UIIFORM 1\1$-muMENT ~ )                             Fann 304111D1
 MERS Deed Ill Trvll•WA
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                                                                         DOC ID I: 00022034406404010
granis and cooveys to Tnistce, In trust. wllh power of sale. the following desalbed property located In the
                        COUNTY                            of                        ltDlG                          :
              rr,p.at~Jslsdlcllonl                  iN.aoafkanllasJunsdlcslonJ
1.0'1' 3, CITY or TOXWILA SHORT PLAT NO . L01•033, RBCORDBD URl)BR RllCORDING NO.
20040212900003, IN IUNG COONTY, WIISHING'l'OK




v.tilc:h currently has 1he addre$s or
                                         l3522 43RD AVES, TUKWILA
                                                     1Slnev01YI
Washington 98168·3:lOt rPropeny Adc1tess•):
             IZlp Code!

       TOCETHER Wmf all the lmptl,Yements 1111W ot hereafter encted oa the property, and all easemenis.
appurtenances, and ftxtuns now ar beleafler a pan of the pn,perty. All repllcemen1S and addlliom shall also be
covered by this Security lnsmunenl. All of die forqolng Is memd to In lhJs Seturtty ll'ISlnm1ent u the
'Property: Bormwer uodmtaiids and agrees 1h11 MERS bolds ooly lepl title to the ldemts granted by
Borrower In this Security Instrument, but, If necessary to comply with law ar custom, MERS (as nominee for
Lender and lender's sucaaon and asslgas} 11115 the right: to excrcbe uy or all of those Interests, includin8- but
llOI limited to, the rtght to foreclose and sell the Property; and to I.Ike any action required of Lender Including.
but not llmlted to, Rlsslng 11111 anallng lhls Security lllsCnunml.
       BORROWER COVENANTS that Borrower ts lawfully selsed of the estate hereby conveyed and 11&1 the
right to gram and convey the Property and !bat the Property IJ unencumbeffil. except for aicumbrances or
record. ~ warranl$ and will defend generally Ille title to the Property against all claims and demands.
subject to any ~ of record.
       THIS SECURITY INS1RUMl!NT combllles uniform c:OYelllllls for na1icma1 me and IIOIHllllform
COYellal!IS Wltll llmlted wlalJoll$ by jutlsdlctlon to c:onstllllle .. uniform securfly ln.fllument coverioa real
propeny.
       UNIFORM COVENANI"S. Bonower and Lender aMllllll 111d ape u follows:
     . I. Pa:Jllttal o( Prliu:lpel, latenst. IKlcnlw ICeau, Prepay,aeat Clulrps, aad Late CJi1rps.
Bonower shall pay when due the principal of, ud loteresl on, the debt evldenc:ed by the Note and uy
prepayment charges and late charges due under the Nole. 8orrowff shall also pay ftmds for Escrow Items
pursuant 10 Section 3. Payments due ander the Note and this Security lmtrument wll be Jude In U.S. c:urmx::y.
JiOWl:Yef, If any c:hedc or other lnslrumellt ~ved by Lender as payrunt undir the Note or lhls Securily
Ins1rumen1 Is returned to Lender unpald. Lender may ""lllire that any or aD 111bsequenc payments due under the
Nole and this Seairlty lnstnunent be made In one or -           of the following fonns. as selected by Lender:
(a) cash; lb) money order; (c) artJfled check. bink check, treasurer's check or casbJcr's check. provided any :iuch
cllec:k Is drawn upon In Institution whose deposll:s are lnsuml by a federal agenc:y, lnstnunentallty, or entity; or
CcO Electronic   Funds Transfer.
     PaymcalS me dcesncd iecdved by Lender when secelwd al the location designated In the Note or al $11Ch
0lher location as may be designated by Lender In accordance with the notice provisions In Section 15. Lender
may return any payment or partial payment If the payment or partial paymms are lmufflclenl to bring the Loan
c:unent. Lender may aa:ept uy payment or panlll payment lmufflc:lenl to bring the Loan euttenl. w:itllout
wiJwr of my rights lwnunder or ~ to Us rights to refuse sucll payment or partial paynla!IS In die future,
bat Lender ls llOI obllgatld to IIJl)ly ,udl pa)'llllllllS II the time Mb paymencs are accepted. If eldi Periodic
Payment Is applied as of Us scheduied due dale. lben Leadlr Deed not pay lllteraa 1111 uaappUed funds. Luder
inay bold such unapplled funds undl Burowu makes payment ID bring die Loan cumut. lf 8orrvwu does not
doz within a -..ble period of Iba, Lender -11 either apply such raadt or n:tum them to Bonowa-. If not
applted earller, such fllllds will be applled to die 0Qlslnln8 prlDdpaI baJance under die Note Immediately prior
lo foteel4ue. No offset or c:lllm which Banuwer might have now or In the future against I.aider shall relleve
8onower from malting pa}'l!ll!ftts due oder the Note and this Seairlty Instrument or pedormlng the covenants
and agreements secured by this Secutity lnsttumenl.
     2. Appllatltll of h,-atl or P,-cb. Except as otherwise desatbed hi this Section 2, .U payments
accepted and applied by Lender shaD be ,pplled In the following order of priOrlty: (a) lnlerat due under the
Note: (b) principal due under the Nole: (c) amounts due under Section 3. Such pa~ shall be applied to each
Periodic Paymenc In the order In which lt became due. Any Jefflllnlns mnoants shall be applied lust to late



WASHIIGTON-Slngle F.....,...,_ _        __,,.......Mac   UNFOAMINSTRUMENt .,US)
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                                                                            DOC ~D #: 000~~034406404010
 c:harga. secoild to any olher amouais due under dlis Secur1iy laslnlmmt. and then to reduce die principal
 bawlce of' die Note.
        If Lender recelves a iayment from Bonower for a delinquent Periodic Payment which Includes a suffldenl
 lfflOlll!I to pay 1111)' late cbarp due, Ille payment may be applied to !he dellnquent payment and the late cbaJie. If
more 111111 one Periodic Payment Is OUISlandlng. Lender may apply any payment recdved fium Borrower to the
rqiaymem of the Periodic Payments If, and to the txteat that, each payment can be paid In full To the extenl tMt
any exteSS eidsts al\er the J)iyment Is applied to the full payment of ooe or more Periodic Payments. such ellte3S
may be applied 10 any late charies due. Vobmtary prtpayments shall be applied Ont to IIIY prepayment chuges
and then as d.escrlbcd In the Note.
       Any application or payments, lnsumlce proceeds, or MisoolUlfflllS Proceeds to principal due under tbe
Note shall not extend or postpone llae due date. or chaage tile IUIIOWII, of the Periodic PaymenlS.
       3. FulKb for E.scrow llcau. 8omiwer sbllJ pay to Lender on the day 1'riodlc PlymenlS 1ft due under
tbe Nole. Ulllll lhe Nole 1s pdd tn liill, a 511111 (die "Ftals1 to pn,vlde for paymeat or 81110W11S due for: (a) taxes
and assessmeots and ocher iteJID wbJch WI attain prforlly ovcr Ibis Secur1ly lnslniment as a lien or encwnbnnce
on the Property. (b) le8sebold payments or ground rents oo die Property, If any. (c} premiums for 1111)' and all
Insurance requind by Lender under Section 5; and (d) Mortgage 1 - pie!lllwm, If any, or any swm
payable by 8orraww 10 Leader In lleu of the paymesit of Mortgage WUl'IIICe pmnhum la accotdanc:e witla !be
provisions ofSecdoo 10. Tllae Items an: called "&crow l'telm." At orlglnalloa or It any time durlag die term of
the Loan. Lender may require thal CollllllUlllty A,socladoo Dues. Fees . . "5lasmeals. If any. be escrowed by
Borrower, and such dues. fees 1111d messmeots "'-11 be an Esaow Item. Borrower shill promptly furnlsll to
Lmkr all DOdca Df lfflDIIIIIS to be paid under tNs Sectfoo. Borrower sllall pay Lender IAe Fuads for Escrow
Items un1'ss Leader walYtS BorrVMl's obllptloa So pay the Funds ror 1111 or all Escrow Items. Lender may
waive Borrower's obllgatlon to pay to Lender Fllllds fur ll'lf or all Esaow Itmis at 1111)' time. Ally such waiver
may only be In writing. In Ille event of such WIIIYu, Bonower shall pay dlrecdy, wbea and wbae payable, lbe
amounts due for any Escrow Items ror which payment of Funds bas beat waived by Lmler and. II Lender
requles, shall furnish to Leader recelpCs evidfJlclng such paymellt WltblJI such time period IS Leader may
require. Borrower's obligation to male such paymears and to provide teeetpta ahall foe all purposes be deemed to
be a CO\lffllllt and agreemeGt contained In this Seaslly Instrument, u the pllras. "QMlllllt end ..--,r• Is
used In Section 9. If Borroww Is obllpted to pay &aow lleml directly, puquut to I waiver. and Borrower
falls to pay the 8Jll0WII due for an P.saow Item. Lender may exen:lse Its rfgbts llllder Section 9 and pay such
111101111t and Bonower shall then be abUgated 1lllder Secdon 9 to repay ID Lender 111y such amount Lender may
revoke the waiver as to any or all Esauw Itesm II any time by a notice Blvea lo accordance with Seciton 15 ml,
upon such rellOCatlon. Bonuwer shall pay 10 Lender all Funds. ad In such 11110W11S. that are then requlftd under
tllb Section 3.
       Lender may, It any dme. collect and hold Funds In an 1mount (I) sut8deot to pumll Lellder to apply the
Funds at Ille lime spedl\ed under RESPA. 111d (b) llOI to eiaed the mlldmwn llllOUlll a lender can require under
RESPA. Lender shall esdmate the amaunt of funds due on the basis of current dala and rasonable eswmtes of
expenditures offlltlte Escrow hems or Dlhawlse In ac:tOl'dance with Applicable Law.
       The Funds sh&ll be held tn III lnsll&IIUon whose deposllll are Insured by a federal agency, IAstnllnelltallty. or
entity (Including Leader, If Lender Is III lastlllltlon whose depo,IIS n ,o lnPral) or In My Fedml Home Loan
Bank. Lend« shall apply the Funds to pay the Escrow ltl!ms no Jaler than the time speclfled under RESPA.
Lender sball 11111 cJarge 8onvMr for lioldtng and lpplylD& the Fllllds. lllllUllly analyzing the escrow account, or
~ the Esaw ltemS, ualcss Lender pays 8onvwa lnlaat oa the Funcb and Appllcable Law permits
Lender 10 mike such a dwge. UallSI III apemeat Is made ID "'1dQ8 or Appllcable Law requires lnllftSt to be
paid on the Funds. Lender shall not be required ID pay ean- any 1 - .or elffllngs on the PIUlds. Banower
and Leader can ·asree In fflldJ,a. llowewr. 1h11 lntaest shall be paid on the Ftals. l.eftdet sir.D g1¥e to
Borrower. wtlhoat dlarge.111 w l IIXOllllll"I ofthe Funds e nqulml by RESPA.
       If there Is a surplus of Funds held In escrow, as defined under Rl!SPA. Lender shall lCC0Wll to Borrower
for the excess funds Jo accadance wltb RESPA. lftben! Is. shor1agll of Funds lltld In .saow. IS denned under
RESPA. Lender shill noclfy Borrower as required by RESPA. and Butower shall pay IO Lender the IDJOUlll
necessaiy ID make up the sholfaee In acairdance with RESPA. but Ill 110 more Iba 12 llllllllhly payments. If
there Is a defldency of Funds beld In escrow• .., delloed under RESPA. l.eDder sball nod.fy Bonvwer IS reqund
by RF.SPA. and Bonuwa- sball pay to Lender die 11m1Dt necessary to make up die def1dency In mx:ordance
with RF.SPA. but In no more than lZ monlllly paylllCIIIS.
       Upon paymcot ID full of all 1111111 5eCtlJl!II by this Stcarlty 1nslnuneat. Lender shall prompdy ~fund to
BornJwer my Funds held by Lender.
       4. Cllaraes; uem. Borrower s11a11 pay an raxes. assess,mus, charges. Ones. and 1mpo5111on$
altrlbulable to the l'ropaty whlch cu llllllln prtorlty OWJ" this Secmlty lnstrwnellt, leuebold paymen15 or ground
rents INl the Property. If any, and Community Association Dues. Fees. and Aaes.1alenll, If aoy. To the extent
that these Items are Escrow Ite1111, Bom,wu sllaU pay them la the 111111111et provided In Secdon 3.
       Borrower shall promptly clischalp ..-, lien which has priority owr 1h11 SecUltty Instrument Ullless
Borrower. (a) agrees In wrflillg to the payment of lhe obllptlon 5mlRd by the lien In I IRlllllff KCeplable ID
I.alder, but only so long • 8omJMt Is performing s1ICh agreement; (b) COD1e$1$ lhe bea In good faith by. or
defends against enfon:emelll of the lien In. lepl proceedlnp which In Leader's opinion operate to prevent the
enforcement of the lien while tllose proceedings are pending. bat only until such proceedings are t'Oncluded: or
(c) secures from the holder of the lien an agreement salisfactory to Lender subordinating the Ue11 to thls s«wlty



W~TON-Slngle Famly-f'_,.MNIFNddleMac UNFOAMIIISTRUMENI' ~
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lnslrumenL If Leader determines Iha! any put of die Property Is subJecl 1o • lien wblda can lltabl prlurity over
this Security IIISlnlmenl, Lender 1111y give Borrower a notkc I ~ die Ilea. Wllllln 10 days of the dale on
wllidi tllat nodce Is pm. BorroMr sball Slllllfy die lien or lake oae or men or Ille actions Kt forth aboYe In
lhls Secdoa -4.
      Lender may require Bonuwcr co pay • cwie•llme charJ!e for a -1 estale tu vert8cadon and/or reporting
sav1ce used by Lmder III COlllleCtlllll wllh 11m Lo.la.
      s. Pnlflerty IDHruce. Borrower slwl1 keep the lmpvYemenls 110W Cldstlng Ill hcrelfter erected on the
Property IIISlftd aplDSI loss by ~ "-ds Included wllll1n the lellll "Olcadcd COW'Cl1R'." and 111Y Olber
ham$ lncludhlg. but -           llmlt~ to, t.arlhqulkes and Roods. for whlcb Lender ~ lnairance. This
lnsurallc:e shall be lllllncalned Ill rite amounrs (tncludlng <Wuclli>le le'ftls) and for 1hr po1<xlJ drat !Ander
requireS. Whal Leader reqtllns puna>I lo the preceding RDleacG can dlange during the lam of the Loan. 1be
lnsunace carr1er proYldlng the 1--..ce shall be chasc:u by Bonuwl:r SllbJ«t IO Lender's rtgbt IO disapprove
Bonower's cholce. which right shall not be exercised UIIIUSOlllbly. Leader may requn Borrower ID pay. In
amnec:tlon wllh Ibis Lou. either. (1) a one-lime cbaige far flood zooe detamlDldon. certlflallon 11111 nctlnl
services; or (b) a one-time charge for ftood 1011C detennlllllloo and certlfladon services 111d subsequenl c:hlrges
each time remapplngs or similar ~ occur whlcb rasooably might affect such delermlnatlon or
cer11flcatlon. Bomlwer shall also be responsible for the peymenr orl/lf1 fees Imposed by the Federal~
Maugemeat Ager,:;y In comiectloo wldl die rme,11 Of tlfY ftood IIOlle delermlnalloD resu1IJa& from Ill ol!jectlon
byBonowa-.
     u Borrower r,Us 10 mallllal•-, of the COYall8fS delcribed above. Leader may obtain Insurance-.,
at Lender's option 111d 8orrowef's expense. l.eDder Is UDder no obllgatlon ID purdase any particular type or
IJOOUDI of covmge. Therefore, such coverage sball cover Lender, bul mlghl m might not poled Bonowu,
Bom,wet's equity In tlle Property. or the comms of the Property, . . - uy r1sk. lamd m liability 11111 llllght
provide grater or Ism" aMrage than was prr,lomly In effect. Borrower acknowledges dial die IJlll fl the
lllSUlllla! COVfflllf! so obtained 1111/Jht slgnlftancly exceed the cost of lmurance lbal Borrower could ~
obtained. Any amounts disbursed by Lender vnder Ibis Section 5 shall become addl1lcllll1 debt or Bonower
secured by this SecurUy IIISll'Ulllelll. These lmounlS shall bear lnlfflll al the Noce rare from I.lie dale of
dlsbwsemenc and sball be payable. wllh 31d lnlerat, upoo 11011ce from Leader lo Bc.lwm requesdng payment.
        All 1Dsunnce pollcles required by 1.-ls and reMWals ofIUdl polldes slwl1 be subject It> Leader's t1pt to
dlslppmYe sucb policies, sllall Include a 9lalldant martpae ci-, and shall name Lender• IIIOflp(lee aod/or
as • llddlllOnll Joa payee. Lender nil ~ die rtglll 10 hold Ille poUcles and n:newa1 artlflaees. If Lender
requlffs, Banower shall promptly gt.e 10 Lmder Ill receipts of paid prenaams and - - 1 nodces. 1f Banower
oblalm llf'f form of lllllll'IIXZ t:IMrlp, not Gdierwlse required by Leader. for damlge ID. or deslructlan of. the
Prvpeny, IUdl policy ..n lociDde • ~ - . . ~ ud IIMD- Leader as lllOnppe rnJJ« as an
addldonll loll payee.
        In lhe evenl of lost, Banower slwl1 give prompt nolk:e to the WClnlllCe can1er and Lender. Lender may
make proof of loss If not made prornpdy by Bonuwer. Unless Lender and Borrower odmwla 111J9e In wrllillg.
any lnswance proceeds, whether or not Ille Wlderlytng tnsuraoce was requlfflt by Lender, shall be applied to
restoration or repair of lhe Property, If du: ratoralloe or n:palr Is ec:ownlally C-nile and Lellder's -it)' b
not lessened. During such npdr and restontloa period. Lead• shall baYe the right to hold such . _
proceeds until Lender his had an opportunity to Inspect sucll Property to enswe the work has been completed to
Lender's satisfaction, provided that such INpectlml sball be underUkm promplly. Lucier 1111)' disburse proceeds
for the repairs and restOnlloa In a sfQgle payme11t ot bl a sertas al pnwta paynms as the wmi ls completed.
Ualm an agteemmt Is made Ill ~ or Applkable Llw requJra lnlaal It> be paid oa !Ilda lnsuranCle
procweda. Lender shall IIOI be required to pay Banower any ...,. or eamlllgl on IIUCh pn,c:eeds. Feu for
public adJtlslas. or other tlllrd patles. fflalned by BomJwer sball not lie paid out of the tnsunnce pnxeeds 11111
sull be the IOle obllpllon of Bomnver. If the nlllkllldml Ill repair Is not ecmomlcal1y fealble or Letdtn
security would be Jeaened. the bnnnce ptoeeeds shall be ,pplled IO de IIIIDIS 9eCllftd by dlJs Security
lnstnuneat. whether Ot llOI then due, wl1h d i e - , If Ill}', paid to Banower. Such imunlKz proceeds shall be
applied Ill die order provided fbr Ill Seaton 2.
        Jr Borrower abenclons the Property, Lender may Ille, negodale and settle any available tnsuraace clalm and
related llllllers. If Bonvwer does not respond wllbln 30 days to a IIOllce from Lender lhat the IIISID"ance c:amer
las offmd to settle• clllm. then Lender may llefJOfllle and settle the claim. The 30-day pmod w1ll begin when
tbe nocJce Is glvm. In either event. or If Lender acquires die Property under Secdoll 22 or olberwlse. Borrowu
hereby assigns to Leoder (II) Borrowa's rtgllCs to uy IDSuram:e proceeds In • lfflOUllt not to ac:ced the llfflQllllts
llllfllld under the Nole or this Security lnslnu.nt. and (b) any olllH or Bonowa's rtgbls (other than the rtaht to
uy rcCWld o r - . pmnt1D11S paid by Borrower) under ell tmunna pollda covertag the Property, Insofar
• std rtgbls are appUcable to the - . of the Propeny. Lender 1111y me die lllsurltlce proceeds ellber to
repair or ralDle the Praperty o, to p a y . - upald undllr die Nuce or Ilda Sccar1ly lmtrumenl. wtaewr «
IIOl thell we.         .               ·
        6. OmlPlllCJ• Bonowv sball occupy. esllbU.. 11111 use the Property as Bcinower's prtaclpal rsldm:e
within 60 days after lhe execution of this Security lmCrument ml sball coadmie to ~ die Property as
Borrower's prinClpll ialdence re.- 11 least - , - after lbe-. ol ocaipancy. uni- 1.-- odmwlse -wees
In writing. which aiment sball - be IDemilllly willlheld. Cir _ . , . . . . . . . , . JICiiiiiSlliilCt:S exist wllidl
are beyond BomrMr'a COtllrOl.




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     7.    l'relcrYatloll, Malateaaace alld Frotecltoa •f tle Property; IDlpectfou. Borrower shall not
desttoy, damage or Impair die Property, allow tbe Property to delerlotate or commit waste on the Property.
Whether or IIOI Borrower Is residing In the Property, Borrower shall malDlaJn Ille Property In order IO prevent die
Property from deterforallng or decreasing In value due to Its condllloo. Unless II Is determined pwsuant 10
Section 5 !hat repair or restoration Is 001 economially feasible. Bortower sbal1 prom¢y repair lhe Property if
damaged. to awld rwther deterlorallon or duuage. If lnsurance or coademnallon proaeds are paid In c:onnectlon
with damage 10. or the raking of. the Property, Borrower shall be respcicmble for repalrtllg or reslor1ng the
Propeny only If Lender has relewd proceeds for such purposes. Lecuter 1111}' dlsbune proceeds for die rei-1.rs
and ~ o n In• slogle payment or In• series of progress paymentl as Ille woi11 Is c:oinpleted. If the lnsunnce
or ccndemnatlon proceeds - DOI suffldelll ID repair or reslDn! die Property, Borrower ts DOI reUewd of
Bonower's obllpdoa for the completion of such repair or restor11kJG.
        Lender or Us 1gen1 may mue ~ elllrles upon aad laspec1lom of the Property. If it bas reasonable
cause. Lenda- may Inspect the Interior of the lmprovemenlS on tbe Property, Lender shall give Borrower DOllc:e
at the lime of or prior to such III lntcrtar lnspecllon specifying such IU50lable came.
       I. Borrower', Loa■ Appllcado■• Borrower shall be Ill default If, dmq lbe Loan app&auon pn>Ct'.U,
Boll'OWel' or any persons or enlilla ICIJna at the direction of Borrower or with Borrower's knowledge or Cllllffftt
pw materially fw, misleading. or lnacainte tnrllffllltlon or stalmleats to Lender (or fillled to proYlde Leader
with material lnfonmlion) In connealon wldt the Loan. Material ~ t l o n s Include, bu1 ere not llmlted to,
repraenllllons a>ncemlag Borrowe'a OCQIIIIIIC)' ofIlle Property IS Borrowlr's prlndl)II residence.
       ,. l'nltcctloa or Lellcler'a r■terat la Ille Property 1111d Rlgtltl Ullder dais Scnrtty lutnuaeat. If
(a) Borrower falls to perform the oovenants and ag,eeulellts comlnecl Ill this Securlly l■mumeal. (b) theft Is a
legal proceeding lhat m!gbt slpllkandy affect Lender's lnteteSI In the Property and/or r1gtlts under this Security
lluCrumen( (sucb IS I proceeding In bankruptcy, paoblte, for ooadema#kl!I or forfelllllt, f« enforcemedl Of I
lien which may adllln pdorlty over this Securtty lns1n11nenc or ID fflfan:e laws or regulaliom), or (c) Borrower
has abandoned the Property. lben Lender may do and pay for whaiever Is remoaable or appropriate to protect
Lellder's lnteresi In the Propeny and rights ll1lder dais Security lnsmlmeDt. lnclwllng prulflttlng and/or assessing
the value or the Property, and securing and/or repairing the Property. Lemler's action., can Include, but are not
Umlted IO: (a) paying any sums secured by a Uen whida bas priority <Mr this Secwity lnslnnnenl: (b) apparlng
In court; and (c) paying reaonable attorneys' fees to proteet Us lnlereSI In the Propeny and/or rights under this
Security Inslrwnent. Incl~ its secured poslllon In I bankruptcy ~ Secwi"8 the Property includes,
but Is noc llmlled to, entering the Property to mue repairs. change locks. replace or board up doOls and
windows. drain WIier from pipes. eliminate bulldklg or otber code vlolatlons or dangerous c:ondltlom. ud have
lllllllles turned on or oft Allhough Leader may 11ke action Wider t11b Secllon 9, Lender does DOI have to do so
and Is not under any duty or obllpdaa 10 do :io. II ls ag,:eed that Lellda IIIQIIS oo llabillty for not taking any or
all ldlons •thortzed under th&s Secllo■ 9.
        Any alllOUIII$ dlsbul$ed by l.ender under th&s Section 9 1hall become additional debt of Borrower seemed
by this Secw1ty lmtrument. These amoUIIIS shall bar tnleftsl at Ille Nole rate from the date ofcllsbuneme8' and
shall be payable, with such Interest, upon notice rrom Lendl!r to Borrower requesting paymtnl
        rr tJus Securtly .1ns1nunent 1s 011 a leasehold. l3omnftr s11a11 oomply with aJJ the provisions or the lease. n
Bomlwer acquires fee title lo the Propeny, the leaselinld and the fee title shall not merge unless Lender agrees to
the merger In wrlltng.
        10. Monpp r-n■cc. [f Lender requlRd Mlxtgap lmwaate IS a condllloll of tMkiR& the l...om,
eon-er shall pay the pmnlums required to maintain the Morqpge Jnsurance In effect. If, for uy reuon, the
Mortgage Insurance coverage requlffll by Lender c:eues to be available from the lll0n!PF taswa- that
pm'lously provldccl ad! tuurance and Bonows - ffllUIRld 10 make separately dcslpted paymcnlS towmd
the premiums f« Mortpge lmlnDce. eon-er shall pay the pmni11111S required to obtain coverage
p•bstaali.lly eqa!Yaleat to the Mortpge wurance previolaly In dfcct. at• a111t subltlndally equJvalent to the
cost to eon-er of the M011g1ge lmurance prmousJy In eff'ed. from an akemale mortpge lmun!r ,elecled by
Lender. If subs&udally equivalent Mnrtaa19 lllsuraace coverage Is 11111 av.llahlc, Borrower -.II aintloue to pay
lo Lender the amount of the separalely deslpaled payments 1h11 were dae when the lnsarance CllM!Tlp ceased
IO be In effect. Lender wtil accept. use and retain lbese paymencs IS I ~ loa -                              In Ueu of
MOl'lpge lnsuraoce. Such loss reserve shall be IIOIH'tf1111dable. no(WflbSlandtna tbe fact that the Loan Is
ultimately paid In full, and Lender shall not be required to pay Borruwer uy 1a1etts1 or ear■IJ9 on such 1cm
-         · Leader can DO longer nqube km reserve paymenis tr Mongap Insurance COYerage (Ill the - t 1111d
ror the per1oc1 Iha! Lender requires) plOYlded by an 1ns1uer se1ectec1 by Leader aga1n becomes available, 1s
oblalned, and Lender requires separaltly designated payments toward die pretnlwm for Mortgage lnslnnc:e. If
 Lender required Monpge lmurance as a condition ol mul118 tbe Loan and Borrower - required to make
separately designated paymeats toward the premiums ror Mmipge lnsliraDce. Borrower shall pay the prmuwns
n!qU1red to malataln Mortgage hlilul1ln In effect, or to prcwlde 1 -fwidahle km reseMl, undl Lendel's
ffllllln!meal ror MGnpge r - ends In acmm-. wtth any wrlnea ag,eemen1 betweec &rrower and
 Lender providing for sudl tennlnll.kNl or 1111111 termlllalion ls requhed by Applicable Law. Nothing la this
Section 10 all'ects Borrower's obl!plon to pay tateral ill die me provided In the Note.
        Mortgage Insurance relmbmses Lender (or my mllty that purchlsa the NOie} for certain losses ii may
 Incur 1r Borrower does noc repay the Loan u agreed. Borrower 1s 11111 a party to the Mortgage Insurance.
        Mortpge lnsw9s evaluate tbllr toCal risk on all sadl ~ 111 fon:e from lime to lime. and may eoter
 Into agreements wllb odler parties that share or modify their nsk, or reduce IOSHS. Tbese agreements are on




WASHINGTON-SI. Famlly-fannleMNIF,..._ Mac - O R M ~ ~ )
MEAS Deed al Tnnt-WA
ZOOIA•WA (QM)8)                         Page t ol 11
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tmns and cundlllons tml il'C sallsf1C1oiy lo the mortgage lnswu Ind the Olbet party (or parties) to these
agreea11m1s. These apmenlS may requlrc the IIIOl1pF Insurer to make peyan!S uslqJ any IOIIJte or funds
that the mangage Insurer may haw available (whlcb may Include funds obtllaed l'rllln Mortgaet lnsurance
IRJIUll!m).
      Asa iault oflhaeagreemmts, Lender, anypun:laserofllle Noce, IIIOlherlmurer, anyrclosurer, any oilier
entity, or any aftlllale of any of the foll!golng. l1IIY receive (directly or Indirectly) IIIIIJUIIIS that datve from
(or mlg1lt be characterlad as) • p:llliOII of Bom,wes's paymenlS for Mortsap Imtrm. II mblllp for sharlna
or moc!lfyt111 dte mortgaee lmurer's risk. or redlldng losses. If such ~ provides lhat an affillllle of
Lender !aka a share of the lluun!'s risk In exchallge for a share of the premiums paid 10 the ln,1urer, the
amngement b ollcn rcrmed •gipim: rcl,_nce.• funher:
      (•) Aay sac• •vee-t1 will Ht ■rrm u,e ••011•11 that Borrower bu qreecl to pay for Moc1pp
l•1ar■ntt, or any oe._r terms of flae Loaa, Sacla ■cr-eata wlU ut laere■M die ■mouat Borrowu wW
owe for Mortpee las11niaee, 1Dd 1111)' will oot entitle ~ e r IO ■-y nlb■d.
     (b) Ally 111cll agreemeall wlD aoc affect tile rlpta Bornlwer llu • If ■ay • wllll raped to Ille
Mortgaae lnsarance ■■dtr tbe Hom-en Protectloa Act or 1'91 or any otber law. These rlgbts may
lnchtcle Ille rlpt 10 rectm! cert■la dllti-ns, IO nq11ut aud obalD aaeellatloa of die Mnr!pp
IManince, to laave tlae Mortpge lnnraace ten■lnated -■t-dally, ud/or to receive a reC1111d or aoy
Mortpet lll$UrHce      p,_•ma ..         at wen 1111a1racd at the tlllW ohucla cucdl■tlaa or termiaatioa.
      It. Aulpmear or Mllcellaa- Proctedl; Forrdblre. All Mlscell•- Proceeds are hereby
mlgMi to 111d sllall be paid ID Leader.
      If the Property ls dunapl, such MIICellNJeOUS Proceed$ lhall be applied IO resloradon tit repair d the
Property, If' the teslOlltloll or fell'lr Is ec:onomlcally feasible and Leader's .teeurlty Is not 1 - d. Olmng such
repair and restonlion period. Lender shall have the dpt to '°1d such Mlscellaneoui Proceeds until Lender has
bad an opporlWllly to Inspect such Property ID -              the work has II.a complm4 tD Lendel's satisfaction,
provided dlat liUCh lnspecllOn shall be undertaken promptly. Lender may pay for the repairs and rcstoratton In a
single dlsbunement or In a series of progrea paymems • the work Is ~leted. Unless an agreemei,1 ls made
In wrltlntl or Applicable Law requlles lnlere9t to be paid OIi sud! Mllcell- Proceeds, Lender shall not be
n:qulml to pey Bonower any lntaesl ar ~ 111 such Mlsl:ellaneous Pnxeeds. If the restoration or repair 1s
not economlcally feaible or Lender's security ~ be lessened. the Ml-1Jaoeot,,s Proceeds shall be applied to
the sums seclRd by 1hls Sccurtly Instrwnenl. whedler or not thea due, With the exces,, If any, paid to Borrower.
                                                                       roe
Suell Mlscellaneous PIOCftds shall be applied 1a die order provided In Seclion 2.
      In the event ofa l0tal llklng. dalructlon, or 1cm In value of the Property. the Miscellaneous Proceeds shall
be applied to lhe S1D1S secured by this Security Instrument, wfiedler or IIC)I then due, wllb the excess. If any, paid
to Borrower.
       In lhe event ofa pmtla1 Ilka., deSlructlon. or loss In value of the Property la which tbe rair market Vliue or
the Property Immediately before the pmtlal taklna, deslnldlon, or Joa In val.., Is equal to or pater than the
lfflOIIIII of the sums secured by this Security . . , _ lmmedlately bercn the ])lldal taldag. destructlan, or
loss In value, unless Borrower and Lender odlerwlse llfP'C!e In wrtllllg. die sums aecured by lhls Seoutty
lllSlrllffltlll tllall be ll!duced by the alllOlffll or die Ml,cellueous Proceeds muWplled by die foUIMlng flactlon:
(a) the 1utal amount uf the -            secured lmmedlllely before the partial taking. destruction, or loss In value
divided by (b} the fair market value of lhe Property Immediately before the panlal taking. deslnactloa, or loss In
value. Any balance shall be paid to Borrower.
       In 1he eYt11I of a partial taldas, datruttlon, or lasa In value of the Property In which the fair market value of
the Property lmmedlately before the partial laklng. datnactlon, or loss In value Is less than the amount of the
sums secured Immediately beforc the pm1lal 111dag. de:ittucdon. or loa In value. unks., Bonower and Lender
olherwlse ape In wrfllng, lhe Miscellaneous Proceeds shall be applied 10 lhe swm secured by this Security
IIISll'Ulllellt whecher or not the sams n tben due.
       If the Property Is abandoned by Borrower, or If, afier nollce by Lender lO Borrower lhat 1he Opposing Party
 (as defined In the next smteia) off'm to make an -.d to settle a claim for daaiap. Borrower raUs to iespood
111 Lender wllhln 30 days after die date lbe nooce Is glwn, Lendel' Is aulborlml IO collect and apply the
Miscellaneous Proceeds either to mlOl'llloR or repair ofthe Propsty or IO the sums secun,d by this Security
IIISlnlmelll. whether or not dim due. 'Opposlag Pany" Ille.Ill$ die tlaJnl pllty 1h11 owes BorrCJWII' MlscellaMoit$
 Ploc:eeds or the party aplnlt whom Bonower Ills a rtghl of ICUOII ID regard to Mbcd]llN'OIIS Proceeds.
       Bonowv shall be ID dd'lalt U' any .cdon or pma,edblg. whtlher civil or a1mlllll, Is begun !bat, In Lender'i
Judgmenl, could rea11 111 forfeiture of die Property or other ma1ertll lmpalnnent of Leaders Interest In die
 Property or rights uader this Securily IIISINmeat. Borrower can cure Mdt • default and. If aa:eleradoa has
o«umd. relmlate as provided In Section 19, by CIIISlt1g the ldloa or pruceedlog ID be dlsmls,ed with a nillllg
 that, ID Lender'sJ..ign-t. preclude5 forfeitllnl of lhe Pniperty or olhs material lmpalnnenl of Lender's Interest
In the Propesty or djjlllS under dlls Sealrlty lnstrumem. 1he proceeds or my award or clalm for cfamases lhat m
allrlbutable to the Impairment or Lender's Interest lo Ille Property are heRby IS.1lped 111d shill be paid to
 Lender.
        All MiSCellaneous Proceeds dlal are not applied to ffSOradon or repair of Ille Property shall be applffd In
1he order provided ror In Section 2.
        11. Borrow.r N o t ~ Forbelraace By Lauter Not• Wllhrer. Exlenslon oftbe time for payment
 or modlflcalloll of amortization of the sums secured by lhb Security lmnmeat granted by Lender to Borrower
 or any Successo, Ill Interest of Bonower shall not Dpl!l'll(e to release Ille llabtllly of Bonowff or any Suc:asson




WASHINGTIJN..Slnglll F ~ - M N I F..... Mlc UNIFORM INSTRIMJIT l'IIER$I
MERS Deed ol Tf\111,WA
ZOQIA.WA (Ol10II                                      "-gt 7 ol 11
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                                                                          DOC ID#: 000220344064040iO
 In lntereSI or Borrower. Lemler sl:al1 oot be required to commence pmctedlngs agalDSI any Successor In IJlleftst
or Bonower or to rel'use to extend lime for payment or ocherwise modify amortmtlon of the sums 5ee11mJ by
this Sealrtty lllstrument by reason of any demand made by the lll1glnal Bonower or my SIICCe550rS ID Interest of
 Borrower. Arry forbearance by Lender In exercising 11iy rlgh1 or remedy Including. without llmltallon, Lenden
accepcance or paymenis from third persons. enlllles or Successors In Interest of Borrower or In amounts less than
the amoun1 lhtn due, shall Ill)( be a waiver ofor preclude the exercl$e ofany rtgbl or remedy.
        13. Jolllt and Several LlabHlty; eo..Ipcn; SuecaMn aad Alllpl Ba■lld, Borrower amnants and
tgtteS dill Bonowei's obllgauons and liability $hall be joint and smnl. HO\ffl'IJ, lllY Banov.v who aH!gm
this Secwtty IIISlnlmenl bul does 1111t tRCllle the Nole (a "co-slgner1: (I) Is co-signing this Seturlty lmlrwneat
only to ~ grant and COIM)' the to-5lp's 11111!11111 In the Property Wider the terms of this Security
lnslrumeat; (b) Is not pmonally obllpted to pay die :IUIIIS xand by this Secwtly la51nunent: and (c) . -
that Leader and any other 8onoMr can agri,e IO exlend, modify, forbear or make any accommoclallons with
rcganl to the lfflllS of lhls Securlty Instrument or the Nace without the co-signer's cOIISetll.
       Subject to die prow1ms of Section 18. any Sua:es.,or III lnleres( or Bcnower wllo - - Borrower's
obllgadom under lhls Securky IIIIIIUl11enl tn Witting, 111d Is approved by Lender. sball ollcaln all of Borrower's
rights and benefits under this Security lns1J'umenl ~ shall DOI be released from llorrowei's obllpl!ons
and llablllty ll1ldu Ibis Stcurlty lDS1Nlllellt unless Lender apes ID sud! re1eme 1n writing. The covenanl5 and
,areements of thls Security lnsuwnenl shall bllld (excepc as provided ln Section 20) and benefit the succmars
and asslgns of Leader.
       14. LoM O.rps. Lender may th.vae 8orrower fees for Sffllk:es performed In connectJon with
Boaower's defaull. for the purpose of prolectlll8 Leader's llllerest In the Property ud rJghlS under this Security
lmtrumeat, Including, but not 11111111:d to. attorneys' tees. propaty lmpectloll ud VU1111Gn fte&. ID regard to any
olber fees. the absence ofexpress .uthorfty In dlls Security IIIStnallelU to charge a spedfic fee to 8ol1ower sball
11111 be COIISlnlCd as I prohibition oo Ille c.blrglng of std fee. Lender may not charge fees dat arc eiqxessly
prohlblted by dtls Securtty IIISlnanellt or by Applicable Law.
       Ir the Loan Is subject to a law which seb IIIIXimwn loan charges. 1111d that law Is finally ~ so that
Ille lnlaest or olher loan cliqes collected or lo be collected In connettioD with the Lam excad tbe permitted
limits, then: (a) any such loan c:hllge si.11 be reduced by the amount necessary 10 redua! the charge to the
pennltted llmll; and (b) any sums already collec:led frOIII Borrower which exceeded pennllled llm!IS wW be
munded to Borrower. Lender may choose to make lh15 muncl by reducing the principal owed under the Noo: or
by making• dhec:t payment to BorroMr. If a refund muccs principal, the reducllon wW be lreated as a partial
prepayment without any prepaymeat chaage (whelber or not a prepaymeat cblrge Is provided ror wm the
Note). Borrower's ICCCJIIIIICe ofany such refund made by direct payment to Bonuwer will camtltute a waiver of
11iy right of ICIIOn Bonower might ban ldslng out of such overcllarge.
       15. Notices. All AOtlces giwll by Borrows or Lender Ill connectloll wkh this Security lnstrummt must be
In writing. AJJ'j IIOUc:e to Bcnower In COMeCtlon wldl tlm Security lastnuntnt shall be deemed to hml been
glvea to Bonuwer whell lllliled by litst class maO or when ICtllally delJYelld to Borrower's notice addnm If se111
by other mmns. NoUce to any - Bonuwer shall COIBlltule not1c;e to all Bonowers unless Applicable Law
exprasly rcqulm ocberwue. The nollce lddlas shall be the Properly Addras uaJess eon- bas dc:slgnatal •
substllute notice address by IIOdce to Leader. Bonvwer shall promplly imUfy Lmler of ~ s cbange of
address. If Leader spcclOes a procedure Car ~ Borrower's clw&e of addrm. lhen Borrower shall only
report • change or address d1rough Iha! specified pnadure. There may be llll1y one designated notice addras
UDder Ibis Seaaity lnslnlment ll any OIIII lime. Any nollce to Lender sbaO be given by dellwrlng II or by mall~
11 by llnt class mall to Lenden addnm staled limtn unless Lender has deslgaated IIDlllber adcltess by DOda to
Bonower. AJJ'j nodce In comedloD with this Seairlty lnslnllDeal shall DOI be deemed to have been pen to
Lender until actully received by Lender. If any noda: required by Ibis Security Illl1nunent Is also required
UJlller Applkable Law, the Applicable Law requifflnenl wfll sattsry Ille conespondlns 19q11lrement under lltls
Security lnslnuneat.
       16. Gonrwlag Llw; SevenWJ11y; llulea or Coutndlon. This Security Instrumelll shall be governed .
by federal law and the law of the Jurlsdlclloll In wblch the Property Is localed. All rlgbls and obllglllons
contained 1n this Seaarlty 1m1n1ment an: subject 10 any requirements aad 11m11111on1 or AppllcabJe Law.
Applicable Law might explldlJy or lmplldt?y .allow the parties to agiee by COllllact or II mf&ht be silent, but such
silence shall not be c:omtnled a a )llllhlbttloe aplast agieement by C0111111:t. 111 tu ewn dat any pro¥llloo or
clause or this Security lnslrument or die Nole COIIOldS With Applicable Law, such c:onl1ld shall not affect other
provisions of dUs Securlly lnsuument or the Note wflldl can be given eff"ea wlthoa! Ille coaflk:tfng pruvlslan.
       As med Ill this Security lastnlmenl: ~ wonts of lhe IIIIISalllne gender sllal1 111e111 and Include
COITeSpOlldlng aeulf:r" wonts or wonts or die feminine gender: (b) wmds In the si,..iar shall man and Include
the plural and vice 'fflla; 1111d (c) lhe wont "may" gives sole dbcretloa Wldlout ID)' obllgatloa to take any adlolL
       17. llo~■ Cepy. ~ lhall be given- copy of the Note ud mthis s«urlly lnstrumenL
       IL Tran■rtr ottbe Propeny ., ■ Beacfldal IDflftll ID Borrower. AA used In this Sealon 18, "Intaest
In the Propeny" means ID)' lepl or beaeflclal lmnst In the Property. lnc:ludliw, but not limited ID, thme
beneftdal lntaests tr.insfemd In a bond for deed, conlnCt for deed, lnstallmcnt sales contract or escrow
agreement, the Intent of which Is the transfer of !Ille by Borrower at a fu1ure date to a purdiaser.
       If all or ID)' pan of the Propa1y or any Inlfflst la the Property Is sold or lr.lnsfemd (or If Borrower Is not a
nalllral person and I bellef1clal 1n1erest In Bonowcr ii sold or transferred) without Lamr's prior wrlltell consent.
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                                                                          DOC ID#: 00022034406404010
Lender may requlrt lmmedlate payment III fuU or -11 sums secumt by Chis Security Instrument. However, 1111s
opllon shall DIii be eardsed by Leider Ifsuch exerdse Is prohibited by Applicable Law.
      If Lender exercise$ this option, Lender 3ha1l give Borrower nolicl! of acceleralfon. The notice shall provide
a period of not less Ihm 30 days from the dale die notice ls giffll in actonlance wllh Section 15 within which
Bc>nower must pay all SUlllS secw-ed by lhls Security lnslnnneut If Bonower falb to pay these SUIM pdor to the
explrallon of this period, Lender may Invoke any remedies permllld by thb Secur1ty lllSlnlnleDt wltboul further
nollce ordemand on Borrower.
      19. Borrowu'1 Rlpl to Relastate After Aeulentloa. If Borrower meets cefllln c:ondklons. Borrower
shall have the right to have enforcement of tills Secudty lnstniment diMlntllllled at ury time prior to tile earllest
of: (a) five days before sale of the Property pumi,111 10 IRY power ofale COlllalned In this Security lnslnnnerit;
(b) such other period as AppUQble Law ffll&ht specify for the lermlalllon of Bomiwel's rfgbl to retnstallt; or
(c) - , of •Jwlgnlent ailon:!Dg thb Security IIISb'ulllelll. Those candllloas n tbal BomrMr: (a) pays Lender
111 swm which then would be due under 1hls Securky Jmtrument and the Note as Ifno acceleration had ocaimd;
(b) curtS ury default ol any other coveaants or apements; (c} pays all expenses fflt18'll!d In enf'ordng this
Secwily lnstrumenC, Including. but 1llll llmltal to, rssooable attorneys' rees. property Inspection and val111tlon
fees, and Olher fees lncumd for the purpose or prol«tlDg Lender's Interest In the Property and rlghlS under lhts
Security Instrument: and (cl) rakes 1111ch action as Lender may reuooably require to assure 1h11 Lender's lnlaeSt
In lhe Property IIDCI rlghb under this Security lmtrumenl, and 8orrower'$ obligation IO pay the sums secured by
lhts Security lnstnunent, shall conunue unchanged. Leodcr may requve that Borrower pay such mmllltement
sums and expenses In one or more of the follOWlng fonns, as selected by Lender: (a) cash; (b) money order;
(c) certified check. bank check, trwute(s check or cashier's check. provided any such check is drawn upon an
lnStltutloll who$4I deposits are Insured by • fedl!nl agency. lnstrwnentallly or entity; or (d) Eleclronlc Funds
Transfer. Upon relnslalanent by Borrower, lhls Seairily lnstrumenl and obUgatlons secUttd hereby shall remain
fully elTective as If no acceleration llad occurred. However, this right to relnstale shall llOI ,pply In die cue of
acceleration under Section 18.
      20. Sale or Note; Clui•&e of Leaa Scrvlcff; Notice of Grlmulce. The Nole or • partial lnlerest ID the
Note (togaher with tllls Security IIISll'\lmeal) can be sold 011e or more tlnies wltliout prior D011ce to Borrow.-. A
sale might result In • dwlp ID the entlly (known IS the "Loa Servlca") lllal collecss Pfflodlt Payments due
ander lbe NOie 1111d lhls Security lnstrumeRI and perfclnm other mortaaae Joan ~ obllgatioas under the
Note, thlS Securlly lnsll'ISllelll. 11111 Applicable Law. There abo mlglit be one or mare cbanp of the Loan
Servicer wnlaled to a s.ie of the Note. If thae Is a change of the Loan Servicer, Borrow.- will be &I-fen 'Mllten
notice of the change whldl will state the name and ,ddras of the new Loan Serviar, the address to wlllch
p a ~ should be made and any ocher lnformadlln RESPA ~ In cuonectloll with • nauce of lrlllSf'er of
seiv1clf18- If the Nole b ,old aod thetufter the Loan ts RIV!ml by a Lam Servicer odler dlan lhe pwdmer of
the Nace. the marlp8fl loan servicing obllgalllllls to eorr- wlll tellllln with the Loan Savk:er or be
transfened to a sucoes.sor Loan Servicer and are DOI as.mmed by the N«e pwdluer unless otherwise provldtd
by the Note pwdiaser.
      Neither Borrower not Leoder may commence. jola. or be Joined to ury Judicial action (as either an
ladiYldllll llttganl or the member of • elm) Iba& arises from the Oilier party's actlODS purwmt ID this Security
IIISlnlmenl or thal alleges that the other party bas bnadied any provision of, or any d111y owed by -         or. this
Security lnsttumellt. IDl1 such Borrower or Leoder bas DOllfled the Olhcr paty (with such nollce gmn In
compllance wllh the requltemeols of Sectloa 15) of such alleged breach 111d afforded the other party limto a
RaODable period after the glvlslg of IUCb notice to take CCllffdM ac:tlon. If Appllc:able Llw provides I time
period which must elapse before analn ICllon an be taba. that lime period will be deemed to be reasonable for
purposes of this paragraph. n. IQiCe of IICCeleratlon and opportunity to an g1-, to &rrvw..r ~ to
Section 22 and lhe notice ofacceleration given to Borrower punuatt to Section 18 sh■II be dMnied to Slllsfy the
notice and opportuolty to 11b ~ ■tt1on provlslonl oflhls Section 20.
      21. Huardotll Sobseaaces. AJ used In dlls Section 21: (a) "Hmn:lous Substances" n those subslances
deflned as toxlc or haZlldous subslMlces, polluhots. or WIS1eS by Envtronmenra1 Law and lbe following
substances: gasollne, kerosene, otllet flammable or IOldc petroleum pro6.adS, toxic pesllcldes and herbicides,
volallle solvem. 1111tertals ~ asbestos or fonnaldehyde, and ndloactlve materials; {b) "Envtronmeatal
Law" 111e111S federal laws and laws or theJurtsdlcdon where the Property Is loaled that Jelate IO heellh. safety or
e n ~ proltdion: (c) •F.nvlronmental Cleanup" Includes any ~ ICllon. remedial action, or
removal acdon. as deftned In Envinlnrnental Law; and (d) aa "EnvironnlMlal Condition" mems a condition that
can cause. COlltrlbUle to. or ocberwlse trlger III l!avlronniemai Cleaaup.
      Borrower shall nol cause or permit Ille presence. use. disposal, storage, or rdease of any Hazardous
Sllbslanc:es. or tlnalat to Mlew any Haztrdous Substances on or Ill Che Property. BomJwa- shall not do. nor
allow anyone else to do, anytblJlg affecting the Property (I) that Is In violation of any Eavlronmalla1 Law,
(b) which aates an ~ Condition. or (c) wlilcb, 4ue 10 the pmcnce, me, or releue of I Haardolls
Substance. creates a condition that advmsely .n.cis die Ylllff of the Property. The precedlag two selllllllCeS 1111D
001 apply to the in,eoce, 11Se, or Slorage on the Property of small cpnlldes of Hlmnlom Substances tllat n
gonetally recognized to be approprllte to normal residential uses and IO lllllntffllllCe of lbe Property (lncludlng.
but not limited to, hazanloas suiiaa- In CXIIIIWIIII' products).
      Borrower shall plOlllpdy give Lender wrttten IIOlk:II! of (I) sy lnYatlgallon. claim. demand. 1-lt or
other actlOft by any go,iemmental or iqulato1y 1gcncy or private paty Involving the Property and any
Hazanlous SubsUlnce or EnviroNneatal Law of. which Borrower bas ICIIIII kaawledge, (b) any Envtronmental




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                                                                          DOC ID i: 00022034406404010
Condition. lndudlng but not llmlhd to. any splDlng. leakllll, dlscNlge, release or threat of rdease or 1111}'
Hazardous Sub$1ance, and (c) Ill)' condllion c:aU5Cd by the lftSCD(e, use or rdase of • Hazardous Substance
which advenely affedS lb& value of the Propeny. If Bc:noMr leams, or Is notJfled by any goverammtal or
regui.lory 1uthorlly, or any prMte party, that 111y n!moval or oilier renicdlalloa of llllY Hmrdous Substance
affecting the Proper1y ls aeces.my, BoooMr shall promptly lake all necemry iemedlal tdlom fa acoonlaoct
with Envlromnenlll Law. N ~ herein shall create any obu,ation on Lender for an Environmental Cleanup.

       NON-UNIFORM COVENANTS. Bonowcr and Leader liKtberCIJVfflllll and 11J!1! as fDIIOM:
       ll. Aetelt!ntloa; Rmledla. Leader 1llaD pe DOtlce to Borrower prior to ■ccclcradon followbl&
Borrower'• brudl or-■)' cona■■t or acnemeat           ill""    S.Curtay lutrvmcat (but IIOt prior to ■ccclentlon
ulldcr Scct.D II 11alca Applle11ble t.w pro¥kla olllenriH). TIie no$ke lb■D specify: (1) the defl111Jt;
(b) ••• adlOII required to care tile delHlt; (c) • date, aot ,.., tllu 30 daya from da• date t h e ~ la pvea
to Borrowv, by wlllch die dcr■11lt mut be cared; ■ad (cl) tbat fallure to nre tile dcfalllt •• or before tM
date specllled • tilt notice may raalt la accefer■IIGn oftbe 111ms -red by tllls SeCllrfl)' IIIICnl-t aad
sale or tlle r,.,perty It pullllc aacdna at a date aot 1eu t11u uo days In tu ftitwrc. ne llodcc lbaU

111Mrt die --u111-
fllrt•er lafona Borr1lwer or Ille ript to reblstate after accelcndoll, die l1pt to brla& • cot1rt adioa to
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ot.ber ID■tten recplred to be lacladed In the aodce by Appllc■ble t.w. If tbe ddanlt It not mred u or
before tile date specified la the IICl4kc. Leadff at lb epdoa, -■)' require la11111diate pa)'llle■t la rail orau
nma Neared II)' tlllt Sealrlty lutnaatat wltM.t r.rt11cr . , _ d ud ID■)' lnou tu power er uJe
ud/or   ••>'   odler nmedMs perml!Nd by Applleallle Law. Leder sbU ba nulled to collacl all upemn
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       Ir Lader Invokes tlle power of ale, Leader n•D clv• wrlttea aotlcc to Tra- of die occurrence of
■a neat of default ■■d of Leader's decllo• to c■■M the Property to be sold. Trutee . .d Lmdcr sll.U
tllllc IIICII aclloa repnllAg ■Dtke of ale ■nd sball pve 111CII ■odca lo Borrower ■ad to otller penou u
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p■rcela ud la uy order Tnulee Mteraia-. Tnutee . .,, poatpHe ul■ of die Proplr1)' fer a puiDd or
perleda permitted by Applle■ble Law by pablle        -••-t
ale. Leader or Its dnipce _,, parc.bM die Pr9perCy at oey ale.
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or -rra■ty, apreaed or lmpUecL TIie rectt■II la die         Tra-••                                         COY-•·
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1n1t1a or die stateauts aade llHnin. Tnatec lllall ■pp1y t11e ~ ot tlle ..._ ta t1ie ron.wu,1 on1er,
(a) to all eipea1a of tlle sale, lacllldla1, bvt ■ot Umlted to, re■-■b1e Tnlltee'a ■ad ■ttenaeyt' fees;
(b) to all 1ua11 secared b)' tbis Secarlty lutn•eat; ■-d (c) ■ay -                 to tllc pe.- or pcnNI leplly
eolilled to It or to Ille clerk ar tbe ••peri•r C011rt of die coa■t)' la wlilda tlie ale took place.
       U. Rccoavey■11ce. Upon l)ilymenl of 1111 sums securtd by this Security lnsllllment. Lender sball request
Trustee to ~ the Pro(laty ud shall MURac1er 1111s Smarity Insuument and all aotes evldmdng debt
secured by lhls Secunty Insaumen1 IO Tnlslee. Tnuue slla1I reconwy Ille Property without wamnty lo die
pe,son or persons legally eolllled to It. Sudl ~ or ~ smll pay Ill)' nicordalloa CCSls and the Truslee's
fee ror prepwlng the reconnyance.
       24. Salllttt■Ce Tra■tee. In ICCOldance with Applicable Law, Leader aay from time to dine appoint a
successor lnlSlee IO aayTruslee lppOlnted hereunder wbo • cemed IO ICl. Wlthollt amwy■nct of the Property,
die IUCasJor lnulee sball suc;czed ID all die title. paws and dulles confemd upon Tnalee berela and by
AflplkableL&w.
     25. U■e of Property. The Property Is not used pdndpally far agrlcultunl purposes.
     26. Attora.,..• Fees. Lender shall be entitled to reawer 11s reasonable auomeys' fees and COSIS Ill ""I
action or proceedlr1fl ID (OIISIJUe or enforce any lmn of lhJs Security lnslnuneat The leffll "attorneys' fea,"
whenever used In this Security Iastnament, shalt Include without llmllalloo attorney,· fees lllcwred by Leader Ill
viy banknip(cy proceeding or on appeal.




WASHINGTON-Single Fon-ily--F..,... MMIF-,._, UNIFORM INSTRUMENT (l,IERS)                              Fann30U11111
MERS DeeclolTMl•WA
zooeA-WA (OMII)                                     Pig,, 10 of 11
   Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 98 of 121




                                                                   DOC ID #1 00022034406404010
ORAL ACREEMENTs OR ORAL COMMITMENTS TO LOAN MONEY, EXTEND CREDIT, OR TO
FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE NOT ENFORCEABLE UNDER
WASHINGTON LAW.

    BY SIGNING BELOW, Borrower accepts and agrees to the terms and CCMIIIIIIS COlllllned in lhls Security
Jmuument and ID Ill)' Rider eQQl!ed by 8orrowu and recorded wllb IL                            .



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                              ------------------.=-Bmrower
                                                        (Seal)




STATE OF WASHINGTON
                                                                  } ss:
Cou•tyor   ~                                   •

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                                             My Appolnbnent Expns 011        I:>- 1C, -   ..)•O\ ;)--

                   NO Mt C. GARCIA
                   NOTARY PUBLIC
                   STATE OF WI\Slll!iGTON
                   COMMISSION EXPIRES
                    DECEMBER 19, 2012




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20Q&A..WA (08/08)                            Page 11 GI 11
 Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 99 of 121




                                                               STATE OF WASHINGTON }
                                                               County of King

                                                               The Director of Records & l,icensing, King County, Stste of
                                                               Washington and exufficio Recorder of Deeds und other
                       ·.; ·.-~·   . .~- .
                                    '       '.                 instruments, do hereby certify the foregoing copy has b ee!!
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                                                   :·,         compared with the originnl instrument as the same appenrs
         ,,~\.~i'r'            s. .,,, .                       on fl.le and of record in the office :md tbnt the same is a true
                                                               and perfect transcript of said original nnd of the whole thereof.
   ~' O': .. ·.... 4-~..-->.,.
l~rJ_.· :_,·~
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                ~                 • ITT "
                                                                                     Director of Records & Licensing

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             ~U - >
   ...... 'Y,4 •••••• ""~ ~\
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                                                           .
                                                                                        Prtscllla Harper
Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 100 of 121




                                                     Exhibit 6
                                              Case No.: 2:17-cv-00874-JLR

                                  Jerry Hoang et al. v. Bank of America N.A. et al.
, - - - - - - --   - - - - - - --         - - -- -- - --           - -- - - - - - - - - · - · ·· ·······-
              Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 101 of 121




                                     AFFIDAVIT OF
                           JERRY HOANG & LE UYEN THI NGUYEN.

                    Re: Assessor's Property Tax Parcel Number 261320-0153-06.
                         Property address: 13522 43 rd Ave S Tukwila, WA 98168.
                         Bank of America, N.A Mortgage account# 220344064.


                    I, Jerry Hoang and Le Oyen Thi Nguyen, the undersigned, with
              personal knowledge of matters set forth herein, one of the people of the
             State of Washington, in correct public capacity, being of majority in age,
             competent to testify with clean hands, without waiving any rights,
             remedies, or defenses.


                    I, Jerry Hoang and Le Uyen Thi Nguyen declares, verifies and
             affirms that the facts stated herein are true, correct, and complete in all
             material fact, not misrepresented and made under the penalties of
             perjury of the laws of the United States of America and the Laws of the
             State of Washington.


                    We state as follow:


                    1.    On April 30, 2010, Jerry Hoang and Le Uyen Thi Nguyen did
             not received" Notice of right to cancel" from Loan's officer.


                    2.    On April 15, 2013, we have sent a NOTICE OF RESCISSION /
             CANCELLATION of a Mortgage Loan above (See Exhibit A) by Certified


                                             Page 1 of 4
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Mail and Return Receipt through the US Postal Services to the Parties
listed below:


Bank of America, N.A
101 South Tryon St.
Charlotte, North Carolina 28202
Certified Mail# 7007 2560 0000 6131 7416

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
1818 Library Street
Suite 300
Reston, VA 20190-6280
Certified Mail# 7011 2970 0004 4254 8695

BAC Home Loans Servicing, LP
450 American Street
Simi Valley, CA 93065.
Certified Mail# 701129700004 4254 8701

BAC Home Loans Servicing, LP
400 National Way
Simi Valley, CA 93065.
Certified Mail# 7007 2560 0000 6131 7409

Fannie Mae
13100 Worldgate Drive
Herndon, Virginia 20170.
Certified Mail# 7011 2970 0004 4254 8718

      3.    As of this present time, none of the Parties listed above has
taken any legal action required by Law to vacate or terminate the
validity of such Rescission / Cancellation of the Mortgage Loan contract.



      Respectfully Submitted


                                Page 2·of4
  Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 103 of 121




        Dated: This 14th day of August 2015



                           By:
                                 J~Ho
                                          ':r"-7c::::_
                                 PO, Box 98032
                                 Des Moines, WA 98198


                             Notary Statement


        State of Washington}
                             } ss
        County of King       }
        BE IT REMEMBERED, that on the l t(11' day of           /la<f u{I,   2tJtf

  before me, the undersigned, a Notary Public in and for the State of
  Washington, personally appeared, Jeny Hoang who proved to me to be
  the same individual who executed the within instrument, and, affirmed
  that he is personally fully aware of the contents and accuracy of the
  statements made therein, and affirms that the document is, to the very
  best of his knowledge, true and correct.
        IN TESTIMONY WHEREOF, I have hereunto set my hand and
  affixed my Official seal the day and year last above written.


                                    By:
NATALIYA A. KHOCHAY
  NOTARY PUBLIC
                                           /Vv-h4 !r-'.&   /I k'h .:Jc/4tt?..-y
  STATE OF WASHINGTON
    ~OMMISSION EXPIRES
                                           Notary Public for    B£C/./
   ::eeRUARY 28,.2018                      Commission Expires on h'h;ll'P~f/ ~g, U/$


                                     Page 3 of 4
        Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 104 of 121




       Dated: This 14th day of August 2015


                                By.      ls7bcd
                                      Le Uyen Thi Nguyen
                                      13522 43n:1 Ave So
                                      Tukwila, WA 98168.


                                  Notary Statement


              State of Washington}
                                  } ss
              County of King      }
              BE IT REMEMBERED, that on the l t;h1          day of   #t, ptlfl
      before me, the undersigned, a Notary Public in and for the State of
      Washington, personally appeared, Le Uyen Thi Nguyen who proved to
       me to be the same individual who executed the within instrument, and,
       affirmed that he is personally fully aware of the contents and accuracy
       of the statements made therein, and affirms that the document is, to the
      very best of his knowledge, true and correct.
              IN TESTIMONY WHEREOF, I have hereunto set my hand and
       affixed my Official seal the day and year last above written.
                                         By:    ~
                                                /V:7--h/i SI"""   fl frhochc.:?--j/.
NATALIYA A. KHOCHAY
   NOTARY PUBLIC
                                               Notary Public for       .6~?:/
  STATE OF WASHINGTON                          Commission Expires on /;h ...~~Y -Z &,, Zt?1S
   COMMISSION EXPIRES
  FEBRUARY 28,_2018




                                          Page 4 of 4
Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 105 of 121




                                                     Exhibit 7
                                              Case No.: 2:17-cv-00874-JLR

                                  Jerry Hoang et al. v. Bank of America N.A. et al.
      Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 106 of 121




                      Jerry Hoang and Le Uyen 1bi Nguyen
                            13522 43rd Avenue South
                              Tukwila, WA 98168

April 15, 2013

                   IIODCBOI' . -- ~ ,.-.1


RE:    Account Number: 220344064.

     Concerning the loan t:ranaaction, which we have entered into with Bank
of America, NA on April 28, 2010, we hereby exercise our right pursuant to the
Federal Truth in Lending Act, 15 U.S.C. § 1635, Regulation Z § 226.23.

      Federal Truth in Lending Act docs not require us to notify you of any
specific violation(s), howevei, in light of the current circumstances, below are
several violations that trigered. this notice.

On April 30, 2010, the alleged lender violated multiple counts of Truth in
Lending i\.ct.

       (a) Jerry Hoang did not receive the Right to Cancel Notice as
          requin,d by Jaw. All 00D8Wllel"8 with ~ rights must
          receive two copies of notice.

Regulation Z §226 .23(b)(l) '1lotioe of right to rescind. bl a tnmsaction subjet:t to
rescission, a creditor shall deliuer two copies of the notice of the right to resdnd
to each conswner entitled to rescind .•• "

       (b) Failure to deliver Notice of Reacission violated Regulation Z
          §226.23(b)(v) where Jeny Hoang would have had a required
          Notice where a specific date by which he would have had the
          right to Rescind/Cancel the transaction.

Regulation Z §226.23(b)(v): "77ae noCice shall be on a sepa,ute document that
 identifies the uunsadion and shall dearly and conspia,ously disclose the
following:
                   (v) The date the rescission period e.cpbes. "



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    Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 107 of 121




Failure to diacloac the dat.e the reacission period expires on the Notice of the
Right to Reacind left with consumer ext.ends the reacission period up to three
years after 00nmimmation.

      (c) Le Oyen Thi Nguyen did not receive any Material Diacloaures
          and did not receive two Right to Cancel Notices at any time, as
          requjrcd by law.

Any consumer •whoae ownenlhip interest ia or will be subject to the security
interest• baa the right to reecind the tranaaction and to receive the diaclosures.

Regulation Z §226.23 (a)(I), "Consumers right to rescind bl a credit transaction
in which a sealrity interest is or will be retainBd or acqui,ed in a consumer's
principal dwelling, each mnsumer whose ownenmv, interest ~ or will be subject
to the sealrity interest shall have the right to rescind the transaction w.

Regulation Z §226.23(b)(l) "Notice of right to rescind. In a transaction subject to
rescission, a creditor shall deliver two mpies of the notice of the right to rescind
t.o each con.sumer entitled to rescind (one copy t.o each if the notice is deliveted by
eleccnJnic communimdan as p,ouided in seaiori 226.36(b)J. The notice shall be on
a sepanzt.e .doaanent that identijiss the transaction (and shall clearly and
conspicuously disclose the following.
       (i.J The retention ar acquismon of a security interest in the consumer's
             principal dwelling.
       (ii} The consumer's right to rescind the Dansaction.
       {iii} How to exen:ise the right t.o rescind. with a form for that purpose,
              designating the address ofthe creditor's place ofbusiness.
       (iv) The ejfeda ofrescission, as described in pa,ograph (d)_ofthis sedion.
       (u) ffle date the nrscission period eq,b'eS.

ReguJation Z §226.23(3) The consumer may ~ the right to rescind until
midnight of the third business day following ~ delivery ofthe notiee
requited by pa,ograph (b) of this section, or delivery of all material discloswes,
whidlever oca.as last. If the requited notice or material disclosures are not
delivered, the right t.o rescind shall e..q,i,e 3 years after aJf'ISUffl11laD •

Failure to provide two copies of Notice of the Right to Cancel/Reacind to Le
Uyen Thi Nguyen extends the rcacission period up to three years after
con.-.immation. Failure to prov.i.de one copy of material disclosures to Le Oyen


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    Case 2:17-cv-00874-JLR Document 72 Filed 02/18/21 Page 108 of 121




Thi Nguyen extends the resciaaion period up to three years after
COnflDJmmation.

However, please be advieed that this ia not an exhaustive lis~ and we do not
waive unliated violations, aa other violations may be uncoveJed through
discovery. Therefore, we have a continuing right to rescind the April 30, 2010
loan transaction, which we are exercising under the Jaw.

The security interest held by BANK OF AMERICAN.A. and/or BAC HOME
LOANS SERVICING, LP and/or MORTGAGE ELECTRONIC SYSTEMS, INC.,
and/or FANNIE MAE is void upon our reacission. See 15 U.S.C. § 1635;
Regulation Z § 226.23.

Pursuant to the Regulation, you have twenty (20) calendar days after receipt of
this notice of rescission to return all monies paid and to take action necessary
or appropriate to reflect termination of the aecurity interest.

We are prepared to discuss a tender obligation, should it arise, and satisfactmy
ways in which we may meet this obligation upon cn,ditor's performance of its
statutory duties. Please be advised that if you do not cancel the security
interest and return all consideration paid by us within twenty (20) calendar
days of receipt of this letter, you will be responsible for actual and statutory
damages pursuant to 15 U.S.C. § 1640 (a).

'Ibis Notice of Reaciaaion/Cancellation was aent via Certified Mail Returned
Receipt and Regular mail to the following bwunessea and addreaaea:

Bank of Ameri~ N.A
101 South Tryon St.
Charlotte, North Carolina 28202
Certified Mail# 7007 2560 0000 6131 7416

MORTGAGE ELECTRONIC REOl~'nON SYSTEMS, INC.
1818 Library Street
Suite 300
Reaton, VA 20190-6280
Certified Mail# 701129700004 4254 8695




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BAC Home Loans Servicing, LP
450 American Sbect
Simi Valley, CA 93065.
Certified Mail# 70112970 0004 4254 8701

BAC Home Loens 8efficin& LP
400 National Way
Simi Valley, CA 93065.
Certified Mail# 7007 2560 0000 6131 7409

Fannie Mae
13100 Worldgate Drive
Herndon, Vu:ginia 20170.
Certified Mail f 7011 2970 0004 4254 8718



  I WISH TO CANCEL                              I WISH TO CANCEL




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                                                     Exhibit 8
                                              Case No.: 2:17-cv-00874-JLR

                                  Jerry Hoang et al. v. Bank of America N.A. et al.
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                                                     Exhibit 9
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                                  Jerry Hoang et al. v. Bank of America N.A. et al.
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  1. JERRY HOANG
  2. LE UYEN TRI NGUYEN

  Gnmtee(1) Exacd:y as name(s) appear \lll document
    1. BANK OF AMERICA, NIA (BOA).
    2. MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC (MERS).
    3. RAC HOME LOANS SERVICING, LP (BAC).
    4. FANNIEMAL
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  FOS'ITORIA GARDEN TRS, LOT 3 TGW UND INT IN TRACT A OF TUKWILA
  SP# Lll-833 REC# 2004l'J12Jl8003 SD SP DAF-BEING LOT 19 OF SD PLAT
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                               Jerry Hoang and Le Uyen Thi Nguyen
                                     13522 43rd Avenue South
                                       Tukwila, WA 98168

         April 15, 2013
                           ROTICB or RBSCISSIOR/CAIICBLLATIOR


         RE:    Account Number: 220344064.

              Concerning the loan transaction, which we have entered into with Bank
         of America, NA on April 28, 2010, we hereby exercise our right pursuant to the
         Federal Truth in Lending Act, 15 U.S.C. § 1635, Regulation Z § 226.23.

               Federal Truth in Lending Act does not require us to notify you of any
         specific violation(s), however, in light of the current circumstances, below are
         several violations that triggered this notice~

         On April 30, 2010, the alleged lender violated multiple counts of Truth in
         Lending Act.

                (a) Jerry Hoang did not receive the Right to Cancel Notice as
                    required by law. All consumers with rescission rights must
                    receive two copies of notice.

         Regulation Z §226 .23(b)( 1) ,.Notice of right to rescind. In a transaction subject to
         rescission, a creditor shall deliver two copies of the notice of the right to rescind
         to each consumer entitled to rescind •.• "

                (b) Failure to deliver Notice of Rescission violated Regulation Z
                   §226.23(b)(v) where Jeny Hoang would have had a required
                   Notice where a specific date by which he would have had the
                   right to Rescind/Cancel the transaction.

         Regulation Z §226.23(b)(v): 'The notire shall be on a separate document that
         identifies the transacti.on and shall clearly and conspicuously disclose the
         following:
                            (v) The date the rescission period expires. ,.



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             Failure to disclose the date the rescission period expires on the Notice of the
             Right to Rescind left with consumer ext.ends the rescission period up to three
             years after commmmation.

                    (c) Le Uyen Thi Nguyen did not receive any Material Disclosures
                       and did not receive two Right to Cancel Notices at any time, as
                       required by law.

             Any consumer "whose ownership interest is or will be subject to the security
             interest" has the right to rescind the transaction and to receive the disclosures.

             Regulation Z §226.23 (a)(I), "Consumer's right to rescind In a credit transaction
             in which a sea,,rity interest is or will be retained or acquired in a consumer's
             principal dwelling, each consumer whose ownership interest is or will be subject
             to the security interest shall have the right to rescind the transaction ".

             Regulation Z §226.23{b)( 1) "Notice of right to rescind. In a transaction subject to
             rescissio~ a creditor shall deliver two copies of the notice of the right to rescind
             to each consumer entitled to rescind (one copy to each if the notice is delivered by
             electronic communication as provided in section 226.36(b)). The notice shall be on
             a separate . doa,,ment that identifies the transaction (and shall clearly and
             conspicuously disclose the following.
                    (i) The retention or acquisition of a serurity interest in the consumer's
                          principal dwelling.
                    {ii) The consumer's right to rescind the transaction.
                    (iii) Hc,w to exercise the right to rescind, with a fonn for that purpose,
                           designating the address of the creditor's place of business.
                    {iv) The effects of rescissio~ as described in paragraph (d) of this section.
                    (v) The date the rescission period expires.

              Regulation Z §226.23(3) The consumer may exercise the right to rescind until
              midnight of the third business day following consummation, delivery of the notice
              required by paragraph (b) of this section, or delivery of all material disclosures,
              whichever occurs last. If the required notice or material disclosures are not
              delivered, the right to rescind shall expire 3 years after consummation.•

              Failure to provide two copies of Notice of the Right to Cancel/Rescind to Le
              Uyen Thi Nguyen extends the rescission period up to three years after
              conAnmmation. Failure to provide one copy of material disclosures to Le Uyen


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Thi Nguyen extends the rescission period up to three years after
consummation.

However, please be advised that this is not an exhaustive list, and we do not
waive unlisted violations, as other violations may be uncovered through
discovery. Therefore, we have a continuing right to rescind the April 30, 2010
loan transaction, which we are exercising under the law.

The security interest held by BANK OF AMERICA N.A. and/or BAC HOME
WANS SERVICING, LP and/or MORTGAGE ELECTRONIC SYSTEMS, INC.,
and/or FANNIE MAE is void upon our rescission. See 15 U.S.C. § 1635;
Regulation Z § 226.23.

Pursuant to the Regulation, you have twenty (20) calendar days after receipt of
this notice of rescission to return all monies paid and t.o take action necessary
or appropriate to reflect termination of the security interest.

We are prepared to discuss a tender obligation, should it arise, and satisfactory
ways in which we may meet this obligation upon creditor's performance of its
statutory duties. Please be advised that if you do not cancel the security
interest and return all consideration paid by us within twenty (20) calendar
days of receipt of this letter, you will be responsible for actual and statutory
damages pursuant to 15 U.S.C. § 1640 {a).

This Notice of Rescission/Cancellation was sent via Certified Mail Returned
Receipt and Regular mail to the following businesses and addresses:

Bank of America, N.A
101 South Tryon St.
Charlotte, North Carolina 28202
Certified Mail # 7007 2560 0000 6131 7 416

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
1818 Library Street
Suite 300
Reston, VA 20190-6280
Certified Mail# 701129700004 4254 8695




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                                     BAC Home Loans Servicing, LP
                                     450 American Street
                                     Simi Valley, CA 93065.
                                     Certified Mail # 7011 2970 0004 4254 8701

                                     BAC Home Loans Servicing, LP
                                     400 National Way
                                     Simi Valley, CA 93065.
                                     Certified Mail# 7007 2560 0000 6131 7409

                                     Fannie Mae
                                     13100 Worldgate Drive
                                     Herndon, Vu-ginia 20170.
                                     Certified Mail# 701129700004 4254 8718


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